EXHIBIT 2
x




                                                                        CITATION
                                                                        CITATION
                                                                   THE STATE
                                                                       STATE OF TEXAS
                                                                                TEXAS
                                                                                                          Cause No.:
                                                                                                          Cause No.:18-CV-1572
                                                                                                                     18-CV-1572
COUNTY OF GALVESTON
          GALVESTONVS.
                    VS. PURDUE
                        PURDUE PHARMA LP,
                                      LP, ET
                                          ETAL
                                             AL
                                                                                                          212th District
                                                                                                          212th District Court
                                                                                                                         Court of Galveston
                                                                                                                                  Galveston County
                                                                                                                                            County

TO:                  PharmaL.P.
            Purdue Pharma
            Purdue            L.P.
            c/o Prentice-HallCorporation
            c/oPrentice-Hall    CorporationSystem,
                                            System,Inc
                                                    Inc
            251 Little
            251 Little Falls
                       Falls Drive
            Wilmington DE DE 19808
                              19808


    GREETINGS: YOU
    GREETINGS:      YOU HAVE
                          HAVE BEEN SUED.
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                                                            District    Clerk'sOffice,
                                                                     Clerk's    Office,600
                                                                                         600   59th
                                                                                            59th     Street,
                                                                                                  Street,    Suite
                                                                                                          Suite    4001,
                                                                                                                4001,    Galveston,
                                                                                                                      Galveston, TexasTexas  77551-2388.
                                                                                                                                        77551-2388.
    case isis presently
The case      presentlypending
                        pendingbefore
                                   beforethethe 212th
                                              212th    District
                                                     District   Court
                                                              Court   of of Galveston
                                                                         Galveston       County
                                                                                     County       sitting
                                                                                               sitting    in Galveston,
                                                                                                       in Galveston,    Texas,
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                                                                                                                                 the the Original
                                                                                                                                      Original      Petition
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                  November 13,               bearscause
                                                   causenumber
                                                           number    18-CV-1572
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                                                                                                attached      petition/motion
                                                                                                          petition/motion      for named
                                                                                                                          for named         parties
                                                                                                                                       parties to theto the
suit.

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                                                                                                  day day of November,
                                                                                                      of November, 2018. 2018.


       at the
Issued at therequest
              requestof:
                      of:                                                                                     D. Kinard,
                                                                                                         John D. Kinard, District Clerk
                                                                                                                                  Clerk
Mikal CCWatts
Mikal    Watts                                                       ~~cr coU~                           GalvestonCounty,
                                                                                                         Galveston County,Texas
                                                                                                                            Texas
                                                                    y
       Guerra LLP
Watts Guerra
Watts         LLP
                                                                  *            s*
811 BartonSprings
811 Barton  SpringsRd
                    RdSte
                       Ste725
                           725                                    o              a               By:
       TX 78704
Austin TX  78704                                                  9             ~`
                                                                   ~                                      T"                           1
                                                                             ca~`                        Robin Gerhardt, Deputy

    ATTACHED STATUS
SEE ATTACHED STATUS CONFERENCE
                    CONFERENCE FORM
                               FORM
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             Conference set: 02/07/19
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Amount:                                                                                                                       County, Texas
                                                                                                                              County, Texas

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         The District
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                             of Galveston
                                Galveston County,
                                          County,Texas
                                                  TexasStatus
                                                        StatusConference
                                                              Conference Notice
                                      Please calendar
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         Court Name              Status Conference
                                 Status  Conference Time
                                                      Time                   Court Phone Number
10th District Court
10th District Court                         9:00 A.M.
                                        @ 9:00   A.M.          409-766-2230            Fax         409-770-5266
56th District
56th District Court
              Court                         9:30 A.M.
                                        @ 9:30   A.M.          409-766-2226            Fax         409-770-5264
122nd District
122"d District Court
               Court                    @ 9:30
                                        @   9:30 A.M.
                                                 A.M.          409-766-2275            Fax         409-770-6265
212th District
212th District Court                        9:00 A.M.
                                        @ 9:00   A.M.          409- 766-2266           Fax         409-765-2610
405th District Court
405th District                          @ 10:00
                                           10:00 A.M.          409-765-2688            Fax         409-765-2689


                            Date: 02/07/2019 set in the 212th District Court
Case Number: I 18-CV-1572
               18-CV-1572
Case Style: County
            Countyof
                   ofGalveston
                     Galvestonvs.
                               vs.Purdue
                                   PurduePharma
                                          PharmaLP,
                                                 LP,Et
                                                     EtAI
                                                       Al
Helpful Information:
Helpful  Information: Please
                      Please visit
                              visitour
                                    ourwebsite
                                        websiteat at
                                                  http://www.cialvestoncountytx.gov/dc
                                                     http://www.galvestoncountytx.gov/dc

FAQ

Forms
Forms
Fee Schedules
     Schedules
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         Information
E Juror-
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          online juror registration
                   juror  registration
Notice: If this
            this case
                 case is filed as an expedited
                                     expedited action
                                                action pursuant
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                                                                             ofthe
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                                                                                    TexasRules
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                                                            as soon
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                           JOHN D. KINARD, District Clerk, Galveston County, Texas
      District Clerk Personnel proudly serving
                                       serving our
                                               our customers,
                                                   customers,community,
                                                               community, and
                                                                          and supporting the
                                                                                         the Judiciary
                                                                                     Filed: 11/13/2018
                                                                                     Filed:              11:09
                                                                                            11/13/201811:09  AM AM
                                                                                 JOHN D.
                                                                                 JOHN D.KINARD       DistrictClerk
                                                                                          KINARD --District  Clerk
                                                                                        GalvestonCounty,
                                                                                        Galveston           Texas
                                                                                                   County,Texas
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                               CAUSE NO.


COUNTY OF GALVESTON,                                          IN THE DISTRICT COURT


       Plaintiff,                                             OF GALVESTON COUNTY

VS.                                                        Galveston
                                                           GalvestonCounty - 212th
                                                                      County       District
                                                                              - 212th       Court
                                                                                         District Cour
                                                                   JUDICIAL DISTRICT
PURDUE PHARMA LP; PURDUE
PHARMA INC; PURDUE FREDERICK
COMPANY; TEVA PHARMACEUTICAL
INDUSTRIES, LTD;LTD; TEV PHARMACEUTICALS §
             JANSSEN PHARMACEUTICA,
USA, INC.; JANSSEN
INC., n/k/a JANSSEN
PHARMACEUTICALS, INC.; ENDO
HEALTH SOLUTIONS, INC.;
ABBOTT LABORATORIES;
KNOLL PHARIVIACEUTICAL
KNOLL    PHARMACEUTICAL
COMPANY, a wholly-owned subsidiary
Of ABBOTT LABORATORIES;
ALLERGEN PLC, f/k/a ACTAVIS PLC,
f/k/a ALLERGEN FINANCE LLC, f/k/a
                  f/k/a WATSON
ACTAVIS, INC., flk/a
LABORATORIES, INC.; ACTAVIS LLC;
ACTAVIS PHARMA, INC., f/k/a
WATSON PHARIVIA,
WATSON     PHARMA, INC.;INC.; INSYS
THERAPEUTICS, INC.; INSYS
MANUFACTURING LLC, a wholly-owned
Subsidiary of INSYS THERAPEUTICS, INC.;
MALLINCKRODT PLC;
MCKESSON CORPORATION;
CARDINAL HEALTH, INC.; and
AMERISOURCEBERGEN
CORPORATION;

                        Defendants.                                   JURY DEMAND

                    PLAINTIFF'S ORIGINAL
                    PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

      Plaintiff, the County
      Plaintiff,     County of
                            of Galveston,
                               Galveston, Texas,
                                          Texas, by and
                                                    and through
                                                         through the
                                                                  the undersigned
                                                                       undersigned attorneys
                                                                                    attorneys

(hereinafter "Galveston County" or "County") against
                                             against Defendants Purdue Pharma L.P., Purdue
                                                                                    Purdue



S/C
S/C set
     setforfor
            2-7-19
                2-7-19
                                                     Johnson, Janssen Pharmaceuticals, Inc.,
                                                   & Johnson,
Pharma Inc., The Purdue Frederick Company, Johnson &

Janssen
Janssen Pharmaceutica,
        Pharmaceutica, Inc. n/k/a
                             n/k/a Janssen
                                     JanssenPharmaceuticals,
                                             Pharmaceuticals, Inc.,  Ortho-McNeil-Janssen
                                                               Inc.,Ortho-McNeil-Janssen

Pharmaceuticals,  Inc. n/k/a
Pharmaceuticals, Inc.  n/k/a Janssen Pharmaceuticals, Inc.,
                             Janssen Pharmaceuticals,  Inc., Endo Health Solutions
                                                             Endo Health                 Endo
                                                                         Solutions Inc., Endo

                                          Pharmaceutical Company,
Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned subsidiary

                                                                  LLC f/k/a Actavis, Inc. f/k/a
of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC

                        Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a
Watson Pharmaceuticals, Inc.,

Watson
Watson Pharma,
       Pharma, Inc., Insys
                      Insys Therapeutics,       Insys Manufacturing
                            Therapeutics, Inc., Insys               LLC, aa wholly-owned
                                                      Manufacturing LLC,    wholly-owned

subsidiary
subsidiary of Insys
              Insys Therapeutics,
                    Therapeutics, Inc.,
                                  Inc., Mallinckrodt     (the "Manufacturing
                                        Mallinckrodt PLC (the                 Defendants"),
                                                               "Manufacturing Defendants"),

McKesson Corporation, Cardinal Health,           AmerisourceBergen Drug Corporation (`the
                               Health, Inc., and AmerisourceBergen

"Distributor Defendants").

                                   I.      DISCOVERY CONTROL PLAN

1.      Galveston County intends
        Galveston County intends to
                                  to conduct discoveryunder
                                     conduct discovery underLevel
                                                            Level33 of Texas Rule
                                                                    of Texas         Civil
                                                                             Rule of Civil

Procedure
Procedure 190.4 and affirmatively
                    affirmatively pleads
                                  pleads that   this suit
                                          that this  suit is
                                                          is not governed        expedited action
                                                                 governed by the expedited

process in Texas Rule of
                      of Civil Procedure 169 because Galveston County seeks monetary relief
                         Civil Procedure

over $100,000.

                                           II.      INTRODUCTION

2.      The United States is in the midst of an opioid epidemic
                                                       epidemic caused by Defendants'
                                                                caused by Defendants' fraudulent

marketing, sales, and distribution                         ("opioids") that has resulted in addiction,
                      distribution of prescription opioids ("opioids")

criminal activity, and loss of life. The opioid crisis has been described
                                                       has been described as "the AIDS epidemic of
                                                                          as "the

our generation,
    generation, but even worse."' On
                                  On October
                                     October 26, 2017,
                                                 2017, President              "declared a
                                                       President Donald Trump "declared

nationwide public health emergency to combat the opioid crisis."2



 ' David
   David Wright,
          Wright, "Christie
                  "Christie on
                            on Opioids:
                               Opioids: "This
                                        "This is
                                              is the AIDS Epidemic of Our Generation, but even Worse," (Oct. 27,
                                                 the AIDS
        http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
 2017) http://www.cnn.com/2017/10/27/politics/chi•is-christie-opioid-commission-aids-cnntv/index.html.
22 Dan
    Dan Merica,
          Merica, "What
                   "What Trump's
                            Trump's Opioid
                                     Opioid Announcement
                                              Announcement MeansMeans——andandDoesn't
                                                                               Doesn't Mean,"
                                                                                         Mean," (Oct.
                                                                                                  (Oct. 26,  2017)
                                                                                                        26, 2017)
 http://www.cnn.com/2017/10/26/politics/national-health-emergency-national -disaster/index.litml.
 http://wNvw.cnn.com/2017/10/26/politics/national-health-emereency-national -disaster/index.html.



                                                        2
3.      In 2016 alone, health care providers wrote more than 289 million prescriptions for

opioids, enough for
opioids, enough for every
                    every adult
                          adult in the United
                                in the United States
                                              States to  have more
                                                      to have more than
                                                                   than one bottle of pills.3
                                                                        one bottle

Americans "consume 85%
                   85% of                                       "the most medicated country in
                       of all the opioids in the world" and are "the

the world ...."4

4.      Unfortunately,       opioids too often
        Unfortunately, using opioids                    addiction and overdose from opioids. In
                                         often leads to addiction

               million Americans
2014, almost 2 million                            opioids.5 That same
                       Americans were addicted to opioids.5                more people
                                                                 same year more people died

from drug overdoses than in any other
                                other year, and most overdose deaths involved an opioid. The

Texas Legislature                        resulting from
      Legislature has found "that deaths resulting from the                          controlled
                                                        the use of opioids and other controlled

substances constitute
substances                             crisis."6 In
                                health crisis."6
           constitute aa public health           In 2015,
                                                     2015, Texas had the
                                                           Texas had  the second   highest total
                                                                           second highest   total

                      opioid abuse in the nation at $1.96 billion.
healthcare costs from opioid

5.      In fact, accidental drug overdose deaths, of which reportedly at least two-thirds are opioid

overdoses, are the leading cause
overdoses, are                                Americans under
                           cause of death for Americans under the
                                                              the age of 50. Accidental drug
                                                                         50. Accidental

                 predominantly from opioids, exceed the number of deaths cause by cars or guns.
overdose deaths, predominantly

6.      The economic burden                                                               billion,7
                     burden caused by opioid abuse in the United States is at least $78.5 billion,7

including lost productivity and increased social services, health insurance costs, increased criminal
               productivity and

                                                                       treatment and rehabilitation.
justice presence and strain on judicial resources, and substance abuse treatment

7.      This
        This epidemic
             epidemic did
                      did not  occur by
                          not occur   bychance.  Defendants manufacture,
                                         chance.Defendants                promote, market,
                                                            manufacture, promote,  market,

distribute, and/or sell prescription
distribute, and/or      prescription opioids, including but
                                     opioids, including but not limited to brand-name drugs like
                                                            not limited

Oxycontin, Vicodin, Opana, Percocet, Duragesic, Ultram, Ultracet, and Subsys, and generics like




3 Prevalence of Opioid Misuse, BupPractice (Sept. 7, 2017), https://www.buppractice.com/node/15576.
4 Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health, 2014.
5 Id.
   Id.
                                                                                                851Leg., R.S., Ch.
                                  of Texas, KP-0168 (Oct. 4, 2017), citing Act of May 26, 2017, 85`h
6 Opinion of the Attorney General of
                         Law Serv. 1467, 1468.
534, §3, 2017 Tex. Sess. Law
7 See CDC Foundation's
7      CDC Foundation's New
                          NewBusiness
                               Business Pulse
                                         Pulse Focuses on Opioid
                                               Focuses on Opioid Overdose
                                                                   Overdose Epidemic, Centers for Disease Control
and Prevention (Mar. 15, 2017),
                         2017), https://www.cdc.gov/media/releases/2017/a-315-business-pulse-opioids.html.



                                                        3
oxycodone, oxymorphone,
oxycodone, oxymorphone, hydromorphone, hydrocodone,fentanyl,
                        hydromorphone, hydrocodone, fentanyl,and
                                                              and tramadol,
                                                                  tramadol, which
                                                                            which are

powerful narcotics.

8.       Historically, opioids were considered too addictive and
                                                             and debilitating for treating non-cancer

chronic pain
chronic pain—— non-cancer
                non-cancer pain
                           pain that
                                that lasts for three months or longer
                                                               longer —
                                                                      — such
                                                                         suchas
                                                                              asback
                                                                                 backpain,
                                                                                      pain,migraines,
                                                                                           migraines,

                              procedures and
arthritis, or standard dental procedures and were
                                             were used
                                                  used only
                                                       only to
                                                             to treat short-term
                                                                      short-term acute
                                                                                 acute pain
                                                                                       pain or for

palliative or end-of-life care.

9.       By the
             the late
                  late 1990s   orearly
                        1990s or  early2000s,
                                        2000s,however,
                                               however, the
                                                         the Manufacturing
                                                             Manufacturing Defendants
                                                                           Defendants began
                                                                                      began a

marketing scheme
marketing scheme to  persuade doctors
                  to persuade doctors and patientsthat
                                      and patients that opioids
                                                        opioids can
                                                                can and should be
                                                                    and should    used
                                                                               be used

ubiquitously and perpetually
ubiquitously     perpetually to treat
                                treat moderate,
                                      moderate, non-cancer                The Manufacturing
                                                non-cancer chronic pain.8 The Manufacturing

Defendants
Defendants spent
           spent large
                 large sums of money
                       sums of money to promote the benefits
                                                    benefits of
                                                             of opioids for non-cancer,
                                                                            non-cancer, moderate

pain while trivializing, or even denying, their risks. The
                                                       The Manufacturing
                                                           Manufacturing Defendants'
                                                                         Defendants' promotional

messages deviated substantially from any approved labeling
                                                  labeling of
                                                           of the drugs and caused prescribing

physicians and consuming
physicians     consuming patients
                         patients to underappreciate
                                     underappreciate the
                                                      the health
                                                          health risks
                                                                 risks and to overestimate
                                                                              overestimate the

benefits of opioids.

10.      Contrary to the language of their drugs' labels,              marketing and
                                                   labels, Defendants' marketing and promotional
                                                                                     promotional

communications were
communications  werefalse
                     false and
                           and misleadingly     many respects,
                               misleadinglyinin many respects, including
                                                               including that
                                                                          that they:
                                                                               they: (1)

downplayed      serious risk
            the serious
downplayed the                   addiction; (2) promoted
                        risk of addiction;      promoted and
                                                         and exaggerated
                                                             exaggerated the concept of
                                                                         the concept

"pseudoaddiction," thereby
"pseudoaddiction," thereby advocating
                           advocating that
                                       that the
                                            the signs
                                                signs of
                                                      of addiction
                                                         addiction should
                                                                   should be treated
                                                                             treated with more

                                              screening tools
opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4) claimed

that opioid dependence and withdrawal are easily managed;
                                                 managed; (5)
                                                          (5) denied the risks of higher opioid




8 Insys did not enter
                 enter the
                       the opioid
                           opioid market
                                   market until
                                          until 2012, when itit manufactured
                                                2012, when      manufactured and marketed Subsys
                                                                                              Subsys (sublingual fentanyl
intended solely for break-through cancer pain. In a superseding indictment on   on October 24, 2017, 7 Insys employees,
former employees, former CEO and its founder were indictedindicted in
                                                                   in the
                                                                       the United
                                                                           United States
                                                                                  States District
                                                                                         District Court
                                                                                                  Court for
                                                                                                        for the District
                                                                                                                District of
Massachusetts relating
Massachusetts   relating to alleged
                            alleged criminal conduct in the marketing and    promotion of SUBSYS, including allegations
                                                                         and promotion
of commercial bribery in Texas. See U.S.A. v. Michael L. Babich, et al., Cause No. 16-cr-10343-ADB.



                                                            4
                             effectiveness of "abuse-deterrent" opioid formulations
dosages; (6) exaggerated the effectiveness
dosages;                                                               formulations to prevent

                                     case of
abuse and addiction; and, (7) in the case of Insys,
                                              Insys, engaged
                                                     engaged in
                                                             in fraudulent or negligent
                                                                fraudulent or negligent off-label
                                                                                        off-label

promotion, misrepresentation
           misrepresentation of
                             of the
                                the diagnosis
                                    diagnosis of patients on
                                              of patients on Subsys
                                                             Subsys to insurance companies to

obtain insurance coverage for Subsys, and engaged in commercial bribery of physicians.

11.    Defendants disseminated
       Defendants disseminated these
                               these falsehoods
                                     falsehoods through ads and/or their sales representatives
                                                through ads                    representatives

 and physicians who
 and physicians who supported
                     supported Defendants'
                               Defendants' message. Sales representatives,
                                           message. Sales  representatives, working
                                                                            working at

Defendants' behest, promoted
Defendants' behest,          highly addictive opioids through souvenirs and toys including, but
                    promoted highly

not limited to, opioid brand-bearing stuffed
                opioid brand-bearing stuffed plush
                                             plush toys,
                                                   toys, dolls,
                                                         dolls, coffee cups, fanny packs, water

bottles, notepads,
         notepads, pens, refrigerator magnets, clocks,
                         refrigerator magnets, clocks, letter
                                                       letter openers, rulers, daytime planners,
                                                                               daytime planners,

               posters, hand-held
bags, puzzles, posters, hand-held calculators, clipboards, highlighters,
                                  calculators, clipboards, highlighters, flashlights,     chains,
                                                                         flashlights, key chains,

 clothing, reflex mallets, and mock-ups of the United States Constitution.

12.    Defendants also used third parties they controlled by: (1) funding, assisting, encouraging,

and directing
    directing doctors, known as "key opinion
              doctors, known         opinion leaders" ("KOLs"), and (2)
                                             leaders" ("KOLs"),     (2) funding,
                                                                         funding, assisting,
                                                                                  assisting,

directing,
directing, and encouraging seemingly neutral
               encouraging seemingly neutral and credible professional
                                             and credible              societies and patient
                                                          professional societies     patient

advocacy groups (referred to hereinafter as "Front Groups").

13.    Defendants worked with
       Defendants worked      KOLs and
                         with KOLs and Front
                                       Front Groups
                                             Groups to
                                                     to taint     sources that doctors and
                                                        taint the sources

patients
patients relied on for  ostensibly "neutral"
                   for ostensibly  "neutral" guidance,
                                             guidance, such as  treatment guidelines,
                                                            as treatment   guidelines, continuing
                                                                                       continuing

medical education ("CME") programs, medical conferences and seminars, and scientific articles.

After their individual and concerted efforts, Defendants
                                              Defendants convinced doctors that,
                                                         convinced doctors that, instead of being

addictive and unsafe
addictive and            long-term use
              unsafe for long-term use in most circumstances, opioids
                                          most circumstances, opioids were
                                                                      were required
                                                                           required in
                                                                                    in the

compassionate treatment of chronic pain.

14.    The Distributor Defendants were not standing by idly
                                                       idly while
                                                            while the
                                                                   the Manufacturing
                                                                       Manufacturing Defendants

were peddling
     peddling their
              their opioids
                    opioids to
                             to physicians   and consumers.
                                 physicians and   consumers. Cardinal, AmerisourceBergen, and
                                                             Cardinal, AmerisourceBergen,




                                                5
McKesson are
McKesson are three     the largest
             three of the   largest opioid
                                     opioid distributors     the United
                                            distributors in the  United States.
                                                                        States. The
                                                                                The Distributor
                                                                                    Distributor

Defendants purchased
Defendants purchased opioids
                     opioids from
                             from the Manufacturing Defendants
                                  the Manufacturing Defendantsherein
                                                               hereinand
                                                                      and sold
                                                                          sold them
                                                                               them to

pharmacies servicing consumers in Galveston County.

15.      Despite the rise in the ordering of opioids by
                                                     by retailers
                                                        retailers in Galveston County,
                                                                  in Galveston County, The
                                                                                       The Distributor
                                                                                           Distributor

                                                                     Defendants worked hand
Defendants did nothing. The Manufacturing Defendants and Distributor Defendants

and glove to flood the U.S. and, upon information and
                                                  and belief;
                                                      belief, Galveston
                                                              Galveston County, with more
                                                                        County, with more opioids

than would be consumed for therapeutic purposes. Each Defendant
                                                      Defendant disregarded
                                                                disregarded its
                                                                            its legal duty to

                         prescriptions, and each Defendant
report suspicious opioid prescriptions,          Defendant financially benefitted from the other
                                                           financially benefitted

Defendant's
Defendant's (both               and Distributor Defendants) disregarding their individual duties
                  Manufacturing and
            (both Manufacturing

to report and stop suspicious orders.

16.      Essentially each Defendant ignored
                                    ignored science
                                            science and
                                                    and consumer
                                                        consumer health  for profits.
                                                                 health for  profits. Defendant's
                                                                                      Defendant's

efforts were so successful that opioids are now the most prescribed class of drugs generating $11

billion in revenue for drug companies in 2014
                                         2014 alone.
                                              alone. Even afterDefendant
                                                     Even after DefendantPurdue
                                                                         Purduereached
                                                                                reachedaa$600
                                                                                         $600

million federal settlement
                settlement in 2007,
                              2007, the
                                    the settlement failed to
                                        settlement failed  to impact
                                                              impact what
                                                                     what isis aa"$13-billion-a-year
                                                                                 "$13-billion-a-year

opioid industry."9

17.      Upon
         Upon information and belief,
              information and belief, as a direct and foreseeable
                                           direct and  foreseeable consequence    Defendants'
                                                                   consequence of Defendants'

misrepresentations regarding the safety and efficacy of using opioids for chronic pain, Galveston

                                              sums combatting the
County has spent and continues to spend large sums            the public
                                                                  public health
                                                                         health crisis created by

            negligence and
Defendants' negligence and fraudulent
                           fraudulent marketing campaign.

18.                             prescriptions were written
         For example, scores of prescriptions      written for opioids in Galveston County from

2006-2016.10 Many overdoses, deaths, hospital admissions,
                  overdoses, deaths,          admissions, and public safety offenses related to



9 R. L. Haffajee, J.D., Ph.D., M.P.H., and M. Mello, J.D.,
                                                     J.D., Ph.D.,
                                                           Ph.D., Drug
                                                                  Drug Companies'                the Opioid Epidemic,
                                                                        Companies' Liability for the
N.Eng. J. Med. (Dec. 14, 2017) at 2305.
lo https://www.cdc.Qov/drugoverdose/maps/rxi•ate-maps.html;
1° https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html; https://www.cdc.         govinchs/data-yi sualization/drug-
                                                                   https://,Arww.cdc.gov/nchs/data-visualization/druQ-
boisnin-mortality.
poisning-inortality.




                                                          6
                                                          G
opioids occurred in this time period in and about Galveston County. Defendants'
                                                  Galveston County. Defendants' misconduct and

efforts to ensure more prescription opioids than could be consumed therapeutically were available

                             causes of these events in and about Galveston County.
were natural and foreseeable causes

19.    Upon information
       Upon information and belief,        direct and
                            belief, as aa direct   and foreseeable
                                                        foreseeable consequence    Defendants'
                                                                    consequence of Defendants'

conduct described herein regarding prescription opioids,
conduct                                                  Galveston County has committed and
                                                opioids, Galveston

                              to provide and pay for health care, law
                    resources to
continues to commit resources                                     law enforcement,
                                                                      enforcement, social services,

public assistance, pharmaceutical care, and other services necessary for its residents.

                  III. RULE 47 47
                         RULE     STATEMENT
                               STATEMENT  OFOF          RELIEF SOUGHT
                                               MONETARYRELIEF
                                             MONETARY          SOUGHT

20.    Pursuant to
                to Rule
                   Rule 47 of the Texas Rules of Civil Procedure, the County states that, although
                        47 of

the full measure of its damages is still being calculated, its
                                                           its damages
                                                               damages cause
                                                                       cause by Defendants' acts and
                                                                             by Defendants'

omissions exceed $1,000,000, but are believed to be less than $100,000,000. Accordingly, at this

time in this litigation,                              seeking monetary relief for an amount
                             County states that it is seeking
             litigation, the County                                                  amount greater
                                                                                            greater

than $1,000,000 and less than $100,000,000, their rightful
                                                  rightful and
                                                           and just
                                                               just amount to be determined by

the Jury.

                               IV.     VENUE AND JURISDICTION

21.    Venue
       Venue is proper in Galveston County because
                          Galveston County because all
                                                   all or   substantial part
                                                       or a substantial part of the events
                                                                                    events or

omissions giving rise to this claim occurred in Galveston County.
                                                          County. Tex.
                                                                  Tex. Civ. Prac. & Rem. Code

§§15.002(a)(2).
  15.002(a)(2).

22.    This Court has subject-matter jurisdiction over this
                                                       this matter because Plaintiff's
                                                            matter because Plaintiff's damages are

in excess
   excess of the
              the minimal  jurisdictional limits
                  minimal jurisdictional  limits of
                                                 of this Court. Tex.
                                                    this Court. Tex. Civ. Prac. & Rem.
                                                                     Civ. Prac.   Rem. Code
                                                                                       Code

§24.007(b).

23.    This Court has general jurisdiction over Purdue Pharma
                                                       Pharma L.P.
                                                              L.P. as
                                                                   as it is a Texas citizen. This

Court has general jurisdiction over Insys Manufacturing LLC as itit is a Texas citizen. This Court
                                                        LLC as




                                                 7
also has specific jurisdiction over all Defendants as their activities were directed toward Texas,

         injuries complained
and the injuries  complained of
                             of herein
                                herein resulted
                                       resulted from
                                                from their activities. Guardian Royal
                                                           activities. Guardian Royal Exchange
                                                                                      Exchange

                        China Clays,
Assur., Ltd. V. English China Clays, P.L.C., 815 S.W.2d 223, 227 (Tex. 1991). Each Defendant

has a substantial connection with Texas and the requisite
                                                requisite minimum
                                                          minimum contacts with Texas necessary

to constitutionally permit the Court to exercise jurisdiction. See id. at 226.
                    permit the

                                            V.        PARTIES

A. Plaintiff

24.     This action is brought for an on behalf of Galveston County, which provides a wide range

                      of its
of services on behalf of its residents,
                             residents, including services for families and children, public health,
                                        including services

public assistance, law enforcement, and emergency care.

B. Defendants

25.     PURDUE PHARMA L.P. is a limited partnership
        PURDUE                          partnership organized
                                                    organized under
                                                              under the laws of Delaware

and
and may
    may be
        be served   through its
            served through   its registered
                                  registered agent
                                             agent for
                                                    for service
                                                         service of
                                                                  ofprocess,
                                                                     process, The  Prentice-Hall
                                                                               ThePrentice-Hall

Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE PHARMA

         through its
L.P. is, through  its ownership
                      ownership structare,
                                 structure, aaTexas
                                              Texas resident.  PURDUE PHARIVIA
                                                     resident. PURDUE  PHARMA INC.
                                                                               INC. is
                                                                                     is a New

York corporation with its principal place of business in Stamford, Connecticut and may be served

through its registered agent for service of process, Corporation Service Company, 80 State Street,

                                                    Delaware corporation with its
Albany, NY 12207. THE PURDUE FREDERICK COMPANY is a Delaware

principal place
principal                      Stamford, Connecticut
          place of business in Stamford, Connecticut and may be served through its registered
                                                     and may                       registered

                                                Corporation System,
agent for service of process, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive,

Wilmington, DE 19808 (collectively "Purdue").




                                                  8
26.    Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and in Galveston

County. Purdue's opioid drug,
        Purdue's opioid drug, OxyContin,
                              OxyContin, is among                        abused prescription
                                            among the most addictive and abused

drugs in the history of America.

27.    JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its principal

                     Titusville, New Jersey and may be served through its registered agent for
place of business in Titusville,

service
service of process,
           process, CT Corporation System, 1999
                       Corporation System, 1999 Bryan
                                                Bryan Street,
                                                      Street, Suite                 75201.
                                                              Suite 900, Dallas, TX 75201.

JANSSEN PHARMACEUTICALS,INC.
JANSSEN PHARMACEUTICALS,  INC.isisaa wholly owned subsidiary
                                     wholly owned subsidiary of JOHNSON
                                                                JOHNSON &

JOHNSON
JOHNSON (J&J),
        (J&J), aa New Jersey corporation
                  New Jersey                                         business in New Brunswick,
                             corporation with its principal place of business        Brunswick,

New Jersey and may be served through its registered agent for service of process, Attention: Legal
           and may

Deparhnent,
Depa Intent, One Johnson
                 Johnson &
                         & Johnson  Plaza, New
                            Johnson Plaza, New Brunswick,
                                               Brunswick, NJ  08933.ORTHO-MCNEIL-
                                                          NJ 08933.  ORTHO-MCNEIL-

JANSSEN
JANSSEN PHARMACEUTICALS, INC., now known as
        PHARMACEUTICALS, INC.,           as JANSSEN  PHARMACEUTICALS,
                                             JANSSEN PHARMACEUTICALS,

INC., is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey.

JANSSEN PHARMACEUTICA INC., now known as JANSSEN PHARMACEUTICALS, INC.,

is a Pennsylvania corporation with its principal place of business in Titusville, New jersey. J&J is

the only
    only company      owns more
         company that owns more than
                                than 10%
                                     10% of  JANSSEN PHARMACEUTICAL'S
                                         of JANSSEN  PHARMACEUTICAL'S stock and

corresponds with the FDA
                     FDA regarding JANSSENPHARMACEUTICAL'S
                         regarding JANSSEN                  drugs, and
                                           PHARMACEUTICAL'S drugs, and JANSSEN'S
                                                                       JANSSEN'S

profits inure to J&J's
                 J&J's benefit. (collectively "Janssen").
                       benefit. (collectively

28.            manufactures, promotes, sells, and distributes opioids in the U.S. and in Galveston
       Janssen manufactures,

County.

29.                                             corporation with its principal place of
       ENDO HEALTH SOLUTIONS INC. is a Delaware corporation

business in Malvern, Pennsylvania and may be served through its registered
                                             served through     registered agent for service of

process, The Corporation
process, The             Trust Company,
             Corporation Trust          Corporation Trust
                               Company, Corporation Trust Center,
                                                          Center, 1209 Orange St.,
                                                                  1209 Orange St.,

Wilmington,                PHARMACEUTICALS, INC.
Wilmington, DE 19801. ENDO PHARMACEUTICALS,      is a wholly-owned subsidiary of
                                            INC. is




                                                  9
ENDO HEALTH SOLUTIONS
            SOLUTIONS INC.
                      INC. and      Delaware Corporation
                           and is a Delaware Corporation with     principal place of
                                                         with its principal

                                             served through
business in Malvern, Pennsylvania and may be served through its registered agent for service of
                                                            its registered

process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (collectively

"Endo").

30.    Endo develops, markets, and sells opioid drugs in the U.S. and in Galveston County. Endo

also manufactures
     manufactures and       generic opioids in the U.S. and
                  and sells generic                     and Galveston County, directly and through
                                                            Galveston County,

its subsidiary, Qualitest Pharmaceuticals, Inc.

31.                                                                               of business
                                    Delaware corporation with its principal place of
       ABBVIE INC. ("Abbvie") is aa Delaware                                         business

in North Chicago, Illinois and may be served through its registered agent for service of
                                                                                      of process,

CT
CT Corporation System, 208
   Corporation System, 208 S. LaSalle
                              LaSalle Street,
                                      Street, Suite
                                              Suite 814,
                                                    814, Chicago, IL 60604.
                                                         Chicago, IL  60604. KNOLL
                                                                              KNOLL

PHARMACEUTICAL COMPANY("Knoll")
PHARMACEUTICAL COMPANY ("Knoll")has
                                has been   wholly-owned subsidiary
                                    been a wholly-owned               Abbvie
                                                        subsidiary of Abbvie

                            PHARMACEUTICAL COMPANY
from January 1, 2013. KNOLL PHARMACEUTICAL COMPANY is
                                                   is aa New
                                                         New Jersey corporation

with its principal place of business
                            business in Parsippany,
                                        Parsippany, New
                                                    New Jersey and may
                                                        Jersey and may be served through its

registered
registered agent for service of
                             of process,    Corporation System,
                                process, CT Corporation System, 208 LaSalle Street, Suite 814,
                                                                208 LaSalle

Chicago, IL 60604.

32.    Knoll
       Knoll irresponsibly
             irresponsibly marketed
                           marketed narcotics, such as
                                    narcotics, such as Vicodin, through whimsical
                                                       Vicodin, through whimsical toys and

souvenirs and did so to boost the sales of opioids. Taking advantage of the
                                                           advantage of the fact that Vicodin was

not regulated as a Schedule II controlled substance for many years and the
                                                                       the fact
                                                                           fact that physicians and

consumers did not fully appreciate
consumers did           appreciate the highly
                                       highly addictive nature of Vicodin,
                                              addictive nature    Vicodin, Knoll  advertised
                                                                           Knoll advertised

Vicodin with tag lines such as "The Highest Potency Pain Relief
                                                         Relief You Can Still Phone In." This
                                                                You Can

tag line came as part and parcel of souvenirs
                                    souvenirs like
                                               like aa"Vicodin"
                                                      "Vicodin" fanny pack and water bottle, both

bearing the name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a




                                                  10
narcotic drug caused doctors and patients
                                 patients to
                                          to believe
                                             believe Vicodin was safer
                                                     Vicodin was safer than
                                                                        than itit really was, to the

detriment of people in Galveston County.

33.                                developing, promoting,
                    manufacturing, developing,
       Abbvie began manufacturing,             promoting, marketing
                                                          marketing and
                                                                    and selling
                                                                        selling the opioid

drug, Vicodin, in the U.S. and in Galveston County beginning January 1, 2013. On information
                               in Galveston

and belief, it continues to do so at the time of filing this pleading.

34.    ALLERGAN PLC is a public limited company incorporated
       ALLERGAN                                 incorporated in Ireland with its principal

place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan
                                              PLC acquired Allergan PLC
                                                                    PLC in March of 2015,

                 company changed
and the combined company changed its
                                 its name
                                     name to Allergan PLC
                                          to Allergan PLC in January 2013. Before that,

WATSON PHARMACEUTICALS, INC. acquired ACTAVIS,
                                      ACTAVIS, INC. in October of 2012, and the
                                               INC. in

combined company
combined company changed
                 changed its
                         its name    ALLERGAN FINANCE,
                             name to ALLERGAN FINANCE, LLC
                                                       LLC as
                                                           as of October 2013.
                                                                         2013.

ALLERGAN FINANCE,
ALLERGAN FINANCE, LLC,
                  LLC, is
                       is a Nevada
                            Nevada Corporation with its
                                   Corporation with its principal
                                                        principal place
                                                                  place of business in

                                                     registered agent for service of process, The
Parsippany, New Jersey and may be served through its registered

Corporation Trust
Corporation Trust Company
                  Company of Nevada,
                             Nevada, 701
                                     701 S. Carson St.,
                                         S. Carson St., Suite
                                                        Suite 200,
                                                              200, Carson City, NV 89701.

WATSON LABORATORIES, INC.
WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of business
                                      corporation with

in Corona, California and is a wholly-owned subsidiary of Allergan PLC f/k/a Actavis, Inc., f/k/a

Watson Pharmaceuticals, Inc. and
       Pharmaceuticals, Inc.                               registered agent for service
                             and may be served through its registered           service of process,
                                                                                           process,

Corporate Creations
Corporate Creations Network,
                    Network, Inc.,
                              Inc., 8275
                                    8275 South Eastern Ave.,
                                         South Eastern Ave., #200,
                                                             #200, Las
                                                                   Las Vegas,    89123.
                                                                       Vegas, NV 89123.

ACTAVIS PHARMA, INC. f/k/a Actavis, Inc. is a Delaware corporation with its principal place

of business in New Jersey and was formerly known as WATSON PHARMA,
                                                           PHARMA, INC.
                                                                   INC. and may be

served through its registered agent for service of process, CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is aa Delaware
                                                       Delaware limited liability company with

its principal place of business in Parsippany, New
                                               New Jersey and
                                                          and may
                                                              may be
                                                                  be served
                                                                     served through
                                                                            through its registered

agent
agent for service of process, Corporate
                  of process, Corporate Creations
                                        Creations network,
                                                  network, Inc.,      Silverside Rd., Tatnall
                                                           Inc., 3411 Silverside      Tatnall




                                                  11
Building, Suite      Wilmington, DE 19810. Each of these Defendants is owned by Allergan PLC,
          Suite 104, Wilmington,

which uses them to market and sell its drugs in the United
                                                    United States
                                                           States (collectively
                                                                  (collectively "Actavis").
                                                                                "Actavis").

35.                                              exercises control
       Upon information and belief, Allergan PLC exercises control over these marketing and

sales efforts and profits from the sale of Allergan/Actavis products, which ultimately inures to its

benefit. Actavis acquired the rights to Kadian from King Pharmaceuticals, Inc. on December 30,

               marketing Kadian in 2009.
2008 and began marketing

36.            manufactures, promotes, sells, and distributes opioids in the U.S. and in Galveston
       Actavis manufactures,

County.

37.    INSYS THER.APEUTICS,
       INSYS THERAPEUTICS, INC.
                            INC. is   Delaware corporation
                                 is a Delaware corporation with
                                                           with its
                                                                its principal
                                                                    principal place
                                                                              place of

business in Chandler,
business in Chandler, Arizona.  INSYS THERAPEUTICS,
                      Arizona. INSYS  THERAPEUTICS, INC.
                                                     INC. can be served
                                                          can be served by serving its

registered agent as follows: CT
registered agent             CT Corporation
                                Corporation System,
                                            System, 1999 Bryan Street, Suite 900, Dallas, TX

75201.       MANUFACTURINGLLC
       INSYS MANUFACTURING
75201. INSYS               LLCisisaa duly
                                     duly formed
                                          formed Texas entity and
                                                 Texas entity and resident
                                                                  resident and
                                                                           and is a

wholly owned subsidiary of INSYS THERAPEUTICS,
                                 THERAPEUTICS, INC.  INSYSMANUFACTURING
                                                INC.INSYS MANUFACTURING LLC's
                                                                        LLC's

principal place of business is in Round Rock, Texas. INSYS MANUFACTURING LLC can be
                               in Round

served by serving its registered agent as follows: CT Corporation
                                                      Corporation System, 1999 Bryan
                                                                               Bryan Street, Suite

900, Dallas, TX 75201 (collectively "INSYS").

38.    INSYS manufactures,
       INSYS manufactures,promotes,
                           promotes,sells
                                     sellsand/or
                                           and/ordistributes  opioidsininthe
                                                  distributesopioids      the U.S.
                                                                              U.S. and
                                                                                   and in

Galveston County.

39.    MALLINCKRODT PLC
       MALLINCKRODT PLC ("Mallinckrodt")
                         ("Mallinckrodt")isisan
                                              an Irish
                                                  Irish public
                                                        public limited
                                                               limited company
                                                                       company with
                                                                               with its

                                                       United Kingdom and maintains a U.S.
corporate headquarters in Staines-Upon-Thames, Surrey, United

headquarters in St. Louis, Missouri. MALLINCKRODT
headquarters                                      may be
                                     MALLINCKRODT may be served
                                                         served by serving it registered

agent CT Corporation System, 120 South Central Ave., Clayton, Missouri 63105.




                                                12
40.    Mallinckrodt manufactures,
       Mallinckrodt manufactures, promotes,
                                  promotes, sells, and/or distributes
                                            sells, and/or distributes opioids
                                                                      opioids nationally
                                                                              nationally and
                                                                                         and in

                            including medications containing codeine, fentanyl, hydrocodone,
Texas and Galveston County, including

morphine, and oxycodone. These opioid drugs are sold both directly by MALLINCKRODT and

by third party drug distributors.

41.    MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its principal
                CORPORATION ("McKesson")                                    principal

place of business in San Francisco, California and may be served through its registered agent for

                                              Service, 211 E. 71
service of process, CSC-Lawyers Incorporating Service,        7th Street, Suite 620, Austin, TX

78701. McKesson
78701. McKesson does
                does substantial
                     substantial business in Texas,
                                 businessin  Texas,and
                                                    and upon
                                                        upon information
                                                             information and
                                                                          and belief,
                                                                              belief, is
                                                                                      is a

pharmaceutical distributor
pharmaceutical distributor licensed                   Texas. McKesson
                           licensed to do business in Texas. McKesson distributes
                                                                      distributes pharmaceuticals
                                                                                  pharmaceuticals

to retail
   retail pharmacies
          pharmacies and institutional providers in all 50 states, including
                         institutional providers                                       Galveston
                                                                   including Texas and Galveston

County.

42.    CARDINAL HEALTH, INC. ("Cardinal") is an Ohio corporation with its principal place

of business in Dublin, Ohio and may be served through its registered agent for service of process,

   Corporation System, 4400 Eastern Commons, Suite 125, Columbus, OH 43219. Cardinal does
CT Corporation

substantial business
substantial business in                  information and belief, Cardinal
                                   upon information
                     in Texas and, upon                          Cardinal is aa pharmaceutical
                                                                                 pharmaceutical

distributor licensed
distributor licensed to do business
                     to do  business in
                                      in Texas.
                                          Texas. Cardinal   distributes pharmaceuticals
                                                  Cardinal distributes  pharmaceuticals to retail
                                                                                        to retail

pharmacies
pharmacies and
           and institutional providers to
               institutional providers to customers
                                          customers in
                                                    in a1150
                                                       all 50 states,
                                                              states, including
                                                                      including Texas
                                                                                Texas and
                                                                                      and Galveston
                                                                                          Galveston

County.

43.    AMERISOURCEBERGEN DRUG
       AMERISOURCEBERGEN      CORPORATION("Amerisource")
                         DRUG CORPORATION ("Amerisource")isis aa Delaware
                                                                 Delaware

corporation with its principal place of business in Chesterbrook, Pennsylvania and may be served

through its registered agent for service of process, The Corporation Trust Company, Corporation

Trust Center 1209 Orange St., Wilmington, DE 19801. Amerisource does substantial business in

Texas and, upon information and belief, Amerisource is a pharmaceutical distributor licensed to




                                                13
do
do business
   business in
             in Texas.
                 Texas. Amerisource
                         Amerisource distributes
                                      distributes pharmaceuticals
                                                  pharmaceuticals to
                                                                   to retail
                                                                      retail pharmacies and
                                                                             pharmacies and

institutional providers to customers in all 50 states, including Texas and Galveston County.

                                VI.     FACTUAL ALLEGATIONS

44.    As a result of the opioid epidemic, oxycodone, hydrocodone, and fentanyl are among
                                 epidemic, oxycodone,                               ainong the

most commonly diverted opioids
                       opioids in the United
                                      United States.
                                             States. The
                                                     The Federal      Enforcement Agency's
                                                         Federal Drug Enforcement Agency's

                                                       more than 93.7 million prescriptions for
National Drug Threat Assessment for 2017 reported that more

hydrocodone were written in 2016, totaling more than
                                                than 6.2
                                                     6.2 billion hydrocodone dosage units (pills)
                                                         billion hydrocodone

dispensed or sold
dispensed or sold in
                  in the
                     the U.S. More
                              More than
                                    than 60
                                         60 million
                                            million prescriptions     oxycodone were written in
                                                    prescriptions for oxycodone

2016. Fentanyl
      Fentanyl was
               was first synthesized                          of Janssen
                         synthesized in 1959 by Paul Janssen, of Janssen Pharmaceuticals,
                                                                         Pharmaceuticals, and

entered
entered the slow-release
            slow-release dermal
                         dermal patch
                                patch pharmaceutical
                                      pharmaceuticalmarket
                                                     inarketin
                                                             in the  1990s. Fentanyl's
                                                                 the 1990s. Fentanyl's use and

diversion continuesto
diversion continues to grow
                       grow in
                            in the U.S. market,
                                        market, and
                                                and its
                                                    its illicit analogues     responsible for
                                                                analogues are responsible for a

growing number of opioid-related overdoses in the U.S.

45.    The Northern and Southern borders to the
                                            the U.S.
                                                U.S. continue
                                                     continue to
                                                              to be common ports
                                                                           ports of entry for

controlled prescription drugs diverted to the U. S. market. Diversion across the U.S. borders is yet
                                                    market. Diversion

another
another way in which prescription
                     prescription opioids
                                  opioids are
                                          are diverted
                                              diverted into  the U.S. market and counties like
                                                        into the

Galveston County, Texas.

46.    This diversion of prescription opioids into the U.S. market
                                                            market from border countries is a loop-

hole well known to manufacturers and distributors named
                                                  named in this petition. Unlimited distribution

of opioids into border counties means that the opioid
                                               opioid problem
                                                      problem in the U.S. will continue, despite

best efforts to curtail the diversion.                                      potentially meaningless
                            diversion. Any decline in U.S. prescriptions is potentially

without
without curtailing
        curtailing over-promotion
                   over-promotion and
                                  and over-distribution
                                      over-distribution immediately  across the
                                                         immediately across  the U.S.
                                                                                 U.S. borders

where countless prescription
                prescription opiates
                             opiates enter
                                     enter into
                                           into the
                                                the U.S.                available for diversion.
                                                    U.S. undetected and available




                                                14
Countless units of the illicit analogues of fentanyl, derived from the Janssen formula, also continue
                                                              from the

to arrive through the U.S. border ports and are delivered through mail carriers.

47.    Upon information and belief, the manufacturers, distributors, mail carriers, and potentially

the DEA
    DEA through
        through export reports, maintain
                export reports, maintain data and records
                                         data and records that
                                                           that can identify the
                                                                can identify     levels of
                                                                             the levels

prescription opioids that
prescription opioids  that are         regulated U.S. entities
                           are sent by regulated                           counties or
                                                                    border counties
                                                      entities into border          or delivered
                                                                                       delivered

illicitly into the U.S. Failure
illicitly into          Failure to eliminate the flow
                                   eliminate the         opioids into
                                                 flow of opioids into border cities that
                                                                      border cities that are then

potentially
potentially available
            available for
                      for diversion through re-entry is necessary to ensure that the path for diversion
                          diversion through                                                   diversion

of prescription opioids is fully closed.

48.     Currently, no U.S. federal regulatory agency has any responsibility to ensure that diversion
                                                         any responsibility

is not occurring on the U.S. borders for the purpose of creating a market for re-entry into the U.S.

                                                              control of prescription opioids that
                                                          The control
and diversion into counties like Galveston County, Texas. The

flow from
     from the U.S. that are diverted into
                        are diverted               across the
                                     into the U.S. across     border adds
                                                          the border             diversion of
                                                                     adds to the diversion

prescription opioids that is occurring within the U.S.

49.     Before the 1990s, generally accepted standards    inedical practice dictated that opioids
                                             standards of medical

should
should be
       be used
          used only
               onlyfor
                    forshort-term
                        short-termacute
                                   acutepain — pain
                                         pain— pain relating to recovery
                                                    relating to recovery from maj or surgery
                                                                              major  surgery or for

cancer or palliative (end-of-life) care. Using
                     (end-of-life) care.       opioids for
                                         Using opioids for chronic          discouraged or even
                                                           chronic pain was discouraged

prohibited
prohibited because
           because there               evidence that
                   there was a lack of evidence       opioidsimproved
                                                 that opioids          patients' ability to overcome
                                                              improved patients'

pain and function. Instead the evidence demonstrated that patients developed tolerance to opioids

                                    of addiction and other side effects.
over time, which increased the risk of

50.     Defendants dramatically changed doctors' views regarding opioids through a well-funded

                                 Defendant used direct marketing and unbranded advertising
deceptive marketing scheme. Each Defendant

disseminated
disseminated by seemingly independent third
                seemingly independent       parties to
                                      third parties                 and deceptive
                                                    to spread false and           statements
                                                                        deceptive statements

                            of long-term opioid use.
about the risk and benefits of




                                                  15
A.     Defendants Used Multiple Avenues to Disseminate Their False and Deceptive Statements
       About Opioids.

51.    Upon information
            information and                                           deceptive statements by (1)
                        and belief, Defendants spread their false and deceptive

                                                                      residing in Galveston County
marketing their branded opioids directly to doctors treating patients residing

and
and the
    the Galveston
        Galveston County
                  County patients themselves and
                         patients themselves and (2)  deploying so-called
                                                 (2) deploying             unbiased and
                                                                 so-called unbiased and

independent third parties to Galveston County.

       1. Defendants
           Defendants Spread   and Continue
                       Spread and  Continue to   Spread Their
                                             to Spread  Their False
                                                              False and
                                                                     and Deceptive  Statements
                                                                         Deceptive Statements
           Through Direct Marketing of Their Branded Opioids.

52.                                            generally proceeded
                          marketing of opioids generally
       Defendants' direct marketing                                on two tracks. First, each
                                                         proceeded on                    each

Defendant conducted advertising campaigns touting the purported benefits of their branded drugs.

For example, Defendants spent more than $14 million on medical journal advertising on opioids

in 2011, nearly triple what they spent in 2001, including $8.3
                                                          $8.3 million by Purdue, $4
                                                               million by            9 million by
                                                                                  $4.9

Janssen and $1.1. million by Endo.

53.    A number of Defendants'
                   Defendants' branded     deceptively portrayed
                                       ads deceptively
                               branded ads             portrayed the             opioids for
                                                                 the benefits of opioids

                                                                               www.opana.com,
chronic pain. For example, Endo distributed and made available on its website, www.opana.coin,

                                                                  with physically demanding
a pamphlet promoting Opana ER with photographs depicting patients with

jobs like aa construction worker and chef, implying that the drug would provide long-term pain
             construction worker

                      improvement. Purdue
relief and functional improvement. Purdue also
                                          also ran     series of
                                                ran aa series of ads,
                                                                 ads, called "pain vignettes," for

OxyContin  in 2012
OxyContin in  2012 in
                   in medical  journals. These
                      medical journals.        ads featured
                                         These ads  featured chronic pain patients
                                                             chronic pain patients and
                                                                                   and

                          each. One
recommended OxyContin for each. One ad
                                    ad described   "54-year-old-writer with osteoarthritis of
                                       described aa"54-year-old-writer

the hands"                  OxyContin would help the writer work more effectively. Pursuant to
    hands" and implied that OxyContin

a settlement agreement, Endo and Purdue agreed    late 2015
                                        agreed in late 2015 and 2016 to halt these misleading




                                                 16
representations in New York, but they may continue
representations in                                    disseminate them
                                          continue to disseminate them in Texas. Insys used

pharmacy data acquired
pharmacy data acquired from third parties
                       from third parties to
                                          to track
                                             track the success of competitor
                                                   the success    competitor brands
                                                                             brands in their
                                                                                       their

fentanyl spray market and ranked doctors from 1 to 10 according to the number of prescriptions

                         being the highest number of written prescriptions). Insys then targeted the
written in the class (10 being

high prescribing
     prescribing doctors to get
                 doctors to get them
                                them to
                                     to prescribe Insys's opioid.11l
                                                  Insys's opioid.l

54.                                      the use of opioids
         Second, each Defendant promoted the                for chronic pain through "detailers"
                                                    opioids for

—
— sales  representatives who
   salesrepresentatives  who visited
                             visited individual doctors and
                                     individual doctors and medical
                                                            medical staff
                                                                    staffin  theiroffices
                                                                          intheir  offices—
                                                                                          — and
                                                                                            and small-
                                                                                                small-

group
group speaker
      speaker programs. Defendants devoted
              programs. Defendants         massive resources
                                   devoted massive  resources to
                                                               to direct
                                                                  direct sales contacts with

doctors.
doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids to doctors,
                 alone, Defendants

including $108 million by Purdue, $34 million by Janssen,
                                                 Janssen, $10
                                                          $10 million by Endo, and $2 million
                                                              million by

                                                                             2000.12
                        is twice as much as Defendants spent on detailing in 2000.12
by Actavis. This amount is

55.      Defendants also identified doctors to serve, for
                                                      for payment,
                                                          payment, on
                                                                   on their  speakers' bureaus and to
                                                                       their speakers'

attend programs with
attend programs      speakers and
                with speakers     meals paid
                              and meals      for by
                                        paid for by Defendants.
                                                    Defendants. These  speaker programs
                                                                These speaker   programs

provided: (1) an incentive for doctors to prescribe a particular opioid so they might be selected to

promote the drug; (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers gave
                                               speaker to

                     that they were providing unbiased and
the false impression that                              and medically accurate presentations when
                                                           medically accurate

they were, in fact,
              fact, presenting
                    presenting a script prepared by Defendants. On information and belief, these
                                 script prepared

presentations
presentations conveyed                                          information, and failed to correct
              conveyed misleading information, omitted material information,

Defendants'
Defendants' prior misrepresentations about the risks and benefits of opioids.
            prior misrepresentations



11
1I The Federal indictment
               indictment for                                                         the use of speaker fees to bribe high
                                Insys sets out allegations, among others, relating to the
                            for Insys
                                              for Insys's Fentanyl Spray outside the usual course of
                                prescriptions for
prescribing doctors to write prescriptions                                                               their professional
                                                                                                     of their  professional
practice. See supra at note 8.
12 In or about 2012, Insys engaged in speaker programs                           who were
                                                                                       were referred to as "Live   Speaker
                                                                                                            "Live Speaker
12 In or about 2012, Insys engaged in speaker programs with    with physicians
                                                                     physicians who
                      impressed upon representatives by the
Targets," and it was impressed                               the then CEO  that "[t]hey
                                                                      CEO that  "[t]hey do not need to be good speakers,
they need to write a lot of ... [prescriptions for the Fentanyl Spray]." See supra at note 8.



                                                            17
56.      Upon information and
                          and belief, Defendants employed the same marketing plans, strategies,

and
and message
    message in and
               and around
                    around Galveston
                           Galveston County, Texas as they
                                     County, Texas    they did
                                                           did nationwide.
                                                                nationwide. Across
                                                                            Across the

pharmaceutical industry, "core message" development is funded and overseen on a national basis
                         "core message"

by corporate headquarters. This comprehensive approach ensures that
                                              approach ensures  that Defendants'
                                                                     Defendants' messages are

consistently delivered across marketing channels and in each sales territory. Defendants consider

this high level of
                of coordination
                   coordination and
                                and uniformity
                                    uniformity crucial to successfully marketing their drugs.

         2. Defendants
             DefendantsUsed
                        UsedaaDiverse
                                DiverseGroup
                                       GroupofofSeemingly
                                                 Seemingly Independent    Third Parties to Spread
                                                             Independent Third
             False and Deceptive Statements about the Risks and Benefits of Opioids.

57.      Upon information and belief, Defendants also deceptively marketed opioids in and around
              information and

Galveston County through
Galveston County through unbranded advertising, i.e.,
                         unbranded advertising, i.e., advertising
                                                      advertising that
                                                                  that promotes opioid use
                                                                       promotes opioid

generally but does not
generally but      not name
                       name aa specific
                                specific opioid.
                                          opioid. This  advertising was
                                                  This advertising  was ostensibly
                                                                        ostensibly created
                                                                                   created and

disseminated
disseminated by
             by independent
                independent third
                            third parties.     funding, directing,
                                  parties. By funding,  directing, reviewing, editing, and
                                                                   reviewing, editing, and

distributing
distributing this
             this unbranded
                   unbranded advertising,  Defendants controlled
                              advertising, Defendants controlled the deceptive
                                                                      deceptive messages
                                                                                 messages

disseminated by these third parties and acted in concert
disseminated by                                  concert with them to falsely and misleadingly
                                                                      falsely and misleadingly

promote opioids                      pairi. Unbranded advertising also avoided regulatory scrutiny
        opioids for treating chronic pain.

        Defendants did not have to submit it to the FDA; therefore, it was not reviewed by the
because Defendants

FDA.

58.      Defendants' deceptive
                     deceptive unbranded                 contradicted their branded
                               unbranded marketing often contradicted       branded materials
                                                                                    materials

reviewed by the FDA.
                FDA. For
                     For example,
                          example, Endo's
                                   Endo'sunbranded  advertising contradicted
                                          unbranded advertising contradicted its concurrent,
                                                                                 concurrent,

branded advertising for Opana ER:
        Pain: Opioid
        Pain:    Opioid    Therapy
                     Therapy                          Opana ER
                                                      Opana   ERAdvertisement
                                                                  Advertisement
                 (Unbranded)
                 (Unbranded)                                 (Branded)
                                                             (Branded)
                                                  'A11   patients treated
                                                  "All patients           with opioids
                                                                        treated       with opioids
      "People whowho
      "People      take take
                        opioidsopioids
                               as      as         require careful
                                                  require         monitoring
                                                              careful           for signs of for signs of
                                                                            monitoring
                                                  abuse andand
                                                  abuse      addiction,  since use of
                                                                  addiction,           opioid use of opioid
                                                                                     since
      prescribed usually
      prescribed         do not do not
                      usually                     analgesic products
                                                  analgesic                        risk of the risk of
                                                                       carries thecarries
                                                                  products
      become addicted."
      become    addicted."                        addiction even even
                                                  addiction        under appropriate   medical
                                                                          under appropriate         medical
                                                  use."
                                                  use."




                                                18
59.    Defendants spoke
                  spoke through                           who, upon
                        through a small circle of doctors who, upon information and belief, were

selected and funded by Defendants because their public positions supported
                                                                 supported using opioids to treat

                                            "key opinion leaders"
chronic pain. These doctors became known as "key         leaders" or "KOLs."
                                                                     "KOLs."

60.               paid KOLs to serve as consultants or on their advisory boards and to give talks
       Defendants paid

or present CMEs, and their support helped these KOLs become respected
                                                KOLs become respected industry
                                                                      industry experts. As they

        prominence, these KOLs touted
rose to prominence,            touted the benefits    opioids to treat chronic
                                          benefits of opioids          chronic pain, repaying
                                                                                     repaying

Defendants by
Defendants    advancing their marketing
           by advancing       marketing goals. KOLs' professional
                                        goals. KOLs'  professional reputations
                                                                    reputations became
                                                                                 became

             continuing to promote a pro-opioid message,
dependent on continuing                                                          were not directly
                                                message, even in activities that were

funded by Defendants.

61.                       consulted on, edited,
       KOLs have written, consulted     edited, and
                                                and lent
                                                    lent their
                                                         their names
                                                               names to books and articles and

given speeches and CMEs supportive of chronic opioid therapy. Defendants created opportunities

            participate in research
for KOLs to participate                      Defendants suggested
                           research studies. Defendants suggested or
                                                                  or chose
                                                                     chose and
                                                                           and then cited and

promoted           studies or articles by their KOLs.
         favorable studies
promoted favorable                              KOLs. By contrast, Defendants did not support,

acknowledge,    disseminate publications
acknowledge, or disseminate publications of
                                         of doctors unsupportive or
                                            doctors unsupportive or critical
                                                                    critical of chronic opioid

therapy.

62.                     also served
       Defendants' KOLs also served on
                                    on committees       developed treatment guidelines that
                                        committees that developed

                                                  pain and on the boards of pro-opioid advocacy
strongly encourage using opioids to treat chronic pain

                                                            present CMEs. Defendants were able to
groups and professional societies that develop, select, and present

                                   of these activities through their KOLs.
direct and exert control over each of

63.    Pro-opioid doctors are one of the most important avenues
                                                        avenues that
                                                                that Defendants used to spread

their
their false
      false and
            and deceptive
                 deceptive statements about the
                           statements about     risks and
                                            the risks and benefits
                                                          benefits of
                                                                   of long-term
                                                                       long-term opioid
                                                                                 opioid use.
                                                                                        use.

Defendants know      doctors rely
           know that doctors                                     their peers for guidance, and KOLs
                             rely heavily and less critically on their

provide the false appearance of unbiased and reliable support for chronic opioid therapy.




                                                19
                                                LL~
64.        Defendants
           Defendants utilized many KOLs,
                      utilized many KOLs, including manyof
                                           includingmany ofthe
                                                            the same
                                                                same ones. Two of the most
                                                                     ones. Two        most

prominent are described below.



                           (a) Key Opinion Leaders

65.                                                    Departinent of Pain Medicine and Palliative
           Dr. Russel Portenoy, former Chairman of the Department

Care
Care at Beth
        Beth Israel
             Israel Medical Center in New York,
                    Medical Center                     example of aa KOL
                                          York, is one example           who Defendants
                                                                     KOL who Defendants

identified                 further their
identified and promoted to further their marketing
                                         marketing campaign.     Portenoy received
                                                   campaign. Dr. Portenoy received research
                                                                                   research

                                                   Janssen, and Purdue (among others), and was
support, consulting fees, and honoraria from Endo, Janssen,

a paid consultant to Purdue.

66.        Dr. Portenoy was instrumental    opening the
                            instrumental in opening the door
                                                        door for
                                                             for the regular use of opioids to treat
                                                                 the regular

chronic pain. He served on the American Pain Society ("APS") and American Academy of Pain
                                             Society ("APS")

Medicine ("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic
                                               endorsed the

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

                    an advocacy organization almost entirely funded by Defendants.
Foundation ("APF"), an

67.                                              appearances promoting opioids. He appeared on
           Dr. Portenoy also made frequent media appearances

                                                      long-term to treat chronic pain. On this
                                              opioids long-term
Good Morning America in 2010 to discuss using opioids

widely-watched program, broadcast
widely-watched program, broadcastin
                                  in Texas and across
                                     Texas and across the country, Dr. Portenoy
                                                          country, Dr. Portenoy claimed:
                                                                                claimed:

"Addiction,
"Addiction, when treating
                 treating pain,               uncommon.IfIf aa person
                                   distinctly uncommon.
                          pain, is distinctly                  person does
                                                                      does not have a history,
                                                                           not have   history, a

                                                          history in the family of substance abuse,
                  of substance abuse, and does not have a history
personal history, of

and does not have aa very
                     very major                       most doctors can feel very assured that the
                                psychiatric disorder, most
                          major psychiatric

                              addicted."13
person is not going to become addicted."13




13
13   Good Morning America television broadcast, ABC News (Aug. 30, 2010).



                                                      20
68.     Dr. Portenoy later admitted that he "gave innumerable
                                                  innumerable lectures in the late 1980s and 90s
                                                              lectures in

about addiction
      addiction that  weren't true."14 These lectures falsely
                 that weren't                                 claimed that less than 1% of patients
                                                      falsely claimed

would become addicted to opioids. According
                                  According to
                                            to Dr.
                                               Dr. Portenoy,
                                                   Portenoy, because the primary goal was to
                                                             because the

"destigmatize" opioids,
"destigmatize" opioids, he
                        he and other doctors promoting them overstated their benefits and glossed
                           and other

over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids does

                                                         about pain management, specifically about
                           candidly stated, "Did I teach about
not exist."15 Dr. Portenoy candidly

opioid therapy, in a way that reflects misinformation?
                                       misinformation?Well
                                                       Well...            did."16
                                                            ... I guess I did."16

69.     Another KOL,
        Another KOL, Dr. Lynn
                         Lynn Webster,
                              Webster, was
                                       was the co-founder
                                               co-founder and       Medical Director
                                                          and Chief Medical Director of

                            an otherwise unknown pain clinic in Salt Lake City, Utah. Dr. Webster
Lifetree Clinical Research, an

    President in 2013 and is aa current
was President                    current board
                                         board member            Front Group
                                               member of AAPM, a Front Group that ardently
                                                                                  ardently

supports chronic
supports chronic opioid therapy.
                        therapy. He
                                 He is a Senior Editor         Medicine, the same journal that
                                                Editor of Pain Medicine,

published Endo special
published Endo special advertising
                       advertising supplements
                                   supplementstouting  Opana ER.
                                               touting Opana         Webster authored
                                                             ER. Dr. Webster authored

numerous CMEs sponsored by Endo and Purdue while
                                           while he
                                                 he was
                                                    was receiving
                                                        receiving significant funding from

Defendants.

70.        2011, Dr.
        In 2011, Dr. Webster
                     Webster presented
                             presented a program
                                         program via webinar
                                                     webinar sponsored    Purdue titled,
                                                             sponsored by Purdue  titled,

"Managing Patient's Opioid Use: Balancing the
                                          the Need
                                              Need and
                                                   and the
                                                        the Risk." Dr. Webster recommended
                                                            Risk." Dr.

using
using risk screening tools, such
           screening tools, such as urine testing and
                                    urine testing and patient
                                                      patient agreements,
                                                              agreements, as
                                                                          as aa way to prevent
                                                                                       prevent

"overuse    prescriptions" and
"overuse of prescriptions" and "overdose
                               "overdose deaths,"
                                         deaths,"which
                                                  whichwas
                                                       was available
                                                           availableto
                                                                     to and      upon
                                                                            was, upon
                                                                        and was,

                                 to reach doctors treating Galveston County residents.
                        intended to
information and belief, intended

71.     Dr. Webster also was a leading proponent of the
                                                    the concept
                                                        concept of
                                                                of "pseudoaddiction,"
                                                                   "pseudoaddiction," the notion

that addictive behaviors should be seen not as warnings,
               behaviors should                          but as
                                               warnings, but as indications
                                                                indications of undertreated
                                                                               undertreated pain. In



l4
14                                                      Thoughts, Wall Street Journal (Dec. 17, 2012).
   T. Catan & E. Perez, A Pain-Drug Champion Has Second Thoughts,
"
is Id.
16 Id.
   Id.



                                                     21
Dr. Webster's
    Webster's description,
              description, the only way to differentiate the
                           the only                      the two
                                                             two was
                                                                 was to
                                                                     to increase  the patient's
                                                                        increase the  patient's dose

of opioids. As he and his co-author wrote in a book that is still available online, when faced with

signs of aberrant behavior, increasing
         aberrant behavior, increasingthe
                                       thedose
                                          dose"in
                                               "inmost
                                                  mostcases
                                                       cases...  should be
                                                             ... should be the clinician's first

response."      distributed this
           Endo distributed
response." Endo                  book to doctors.
                            this book                          Dr. Webster
                                         doctors. Years later, Dr. Webster reversed
                                                                            reversed himself,
                                                                                     himself,

acknowledging that "[pseudoaddiction] obviously became too much of an excuse to give patients
                                                became too

more medication."

               (a) Front Groups

72.                            arrangements with seemingly unbiased and independent patient
       Defendants entered into arrangements

and professional organizations
                 organizations to promote opioids for
                                  promote opioids for treating chronic pain. Under Defendants'
                                                      treating chronic

direction and control, these "Front Groups" generated treatment guidelines, unbranded materials,

and programs that favored chronic opioid therapy. They also assisted Defendants by responding

                                                                    would limit prescribing opioids
to negative articles, by advocating against regulatory changes that would

in accordance          scientific evidence,
   accordance with the scientific evidence, and by conducting outreach to vulnerable
                                                   conducting outreach    vulnerable patient
                                                                                     patient

populations targeted by Defendants.

73.     These Front Groups depended on Defendants for funding and, in some cases, for survival.

Defendants also exercised
Defendants also exercised control over programs
                          control over programs and
                                                and materials
                                                    materials created
                                                              created by
                                                                      by these groups by
                                                                         these groups

                                                                      their dissemination.
collaborating on, editing, and approving their content and by funding their dissemination. In doing

so, Defendants           these Front
    Defendants made sure these Front Groups
                                     Groups would generate only the
                                            would generate       the messages
                                                                     messages Defendants
                                                                              Defendants

wanted to distribute. Even so, the Front Groups held themselves out as independent and as serving

the needs of
          of their  members —
              their members — whether
                              whether patients
                                      patients suffering
                                               suffering from
                                                          from pain
                                                               pain or
                                                                    or doctors treating those

patients.
pattents.

74.               Endo, Janssen, and Purdue utilized many Front Groups, including many of the
       Defendants Endo,

                   of the most prominent are described below,
same ones. Several of                                  below, but
                                                              but there  are many
                                                                   there are many others,
                                                                                  others, including
                                                                                          including




                                                22
the American Pain Society ("APS"), American Geriatrics Society ("AGS"), the Federation of State

Medical Boards ("FSIVIB"), AmericanChronic
               ("FSMB"), American  ChronicPain
                                           PainAssociation
                                               Association("ACPA"),
                                                           ("ACPA"), American
                                                                     American Society
                                                                              Society of

Pain Education ("ASPE"), National Pain Foundation ("NPF"), and Pain and Policy Studies Group

("PP SG").
("PPSG").

                              (i)     American Pain Foundation ("APF")

               The most prominent of Defendants' Front Groups was APF, which received more

       than $10 million in funding from opioid manufacturers from 2007 until it closed its doors

       in May of 2012. Endo alone provided more than half that funding; Purdue was
                                                     half that                 was next at $1.7

       million.

              In 2009
                 2009 and
                      and 2010,
                           2010, more
                                 more than
                                       than 80%
                                            80% of
                                                of APF's  operating budget
                                                    APF'soperating   budget came
                                                                            came from
                                                                                  from

       pharmaceutical
       pharmaceutical industry
                      industry sources.
                               sources. Including
                                        Including industry
                                                   industry grants
                                                            grants for specific projects,
                                                                   for specific projects, APF
                                                                                          APF

       received about $2.3 million
       received about      million from
                                   from industry
                                        industry sources
                                                 sources out
                                                         out of
                                                             of a total income
                                                                        income of about $2.85

       million in 2009; its budget for 2010 projected receipts of roughly $2.9 million from drug

       companies out of
                     of total income of about $3.5 million.
                                                   million. By
                                                            By 2011,
                                                               2011, APF
                                                                     APF was
                                                                         was entirely
                                                                             entirely dependent
                                                                                      dependent

       on incoming grants from defendants
                               defendants Purdue,
                                          Purdue, Endo,
                                                  Endo, and
                                                        and others
                                                            others to
                                                                    to avoid
                                                                       avoid using
                                                                             using its
                                                                                    its line of

       credit.
       credit. As one of
                      of its
                          its board
                               board members,
                                     members, Russell
                                              Russell Portenoy,
                                                      Portenoy, explained,
                                                                explained, the
                                                                           the lack
                                                                               lack of funding
                                                                                       funding

       diversity was one of
                         of the biggest problems at APF.

              APF issued education
                         education guides for patients, reporters, and policymakers that touted

       the benefits of opioids for chronic
                                   chronic pain and trivialized
                                                    trivialized their
                                                                their risks,
                                                                      risks, particularly
                                                                             particularly the
                                                                                           the risk of

       addiction. APF
       addiction. APF also
                      also engaged
                            engaged in
                                     in aasignificant
                                            significantmultimedia
                                                        multimedia campaign
                                                                    campaign — through radio,
                                                                             — through radio,

       television,
       television, and the internet
                            internet —
                                     — to
                                        to educate
                                           educate patients
                                                   patientsabout   their "right"
                                                            about their  "right" to pain treatment,
                                                                                         treatment,

       namely opioids.
              opioids. All of the
                              the programs
                                  programs and
                                           and materials
                                               materials were available
                                                              available nationally
                                                                        nationally and were,




                                                 23
upon
upon information and belief,
     information and         intended to reach
                     belief, intended    reach patients and
                                                        and consumers
                                                            consumers in Galveston
                                                                         Galveston

County.

                             American
                      (ii) American   AcademyofofPain
                                    Academy            Medicine ("AAPM")
                                                  PainMedicine  ("AAPM")

       The American
       The American Academy
                    Academy of Pain
                               Pain Medicine, with the
                                    Medicine, with  the assistance,
                                                         assistance, prompting,
                                                                      prompting,

involvement,                Defendants, issued
involvement, and funding of Defendants, issued treatment guidelines and sponsored and
                                               treatment guidelines

hosted
hosted medical
       medical education programs essential
               education programs essential to  Defendants' deceptive
                                             to Defendants'           marketing of
                                                            deceptive marketing

chronic opioid therapy.

       AAPM          over $2.2
            received over
       AAPM received      $2.2 million
                               million in  funding since
                                       in funding        2009 from
                                                   since 2009  from opioid
                                                                     opioid

manufacturers. AAPM
manufacturers.      maintained a corporate relations council, whose members
               AAPM maintained                                      members were
                                                                            were paid

$25,000 per year, on top of
                         of other funding, to participate. The benefits included allowing
                            other funding,

                               programs at
members to present educational programs    off-site dinner symposia
                                        at off-site        symposia in connection with

AAPM's marquee event —
       marquee event — its
                        its annual
                            annualmeeting
                                   meetingheld
                                           held in
                                                 in Palm Springs, California
                                                    Palm Springs, California or other

resort locations. AAPM describes
                       describes the
                                  the annual
                                      annual event as an
                                             event as an "exclusive
                                                         "exclusive venue"
                                                                    venue" for offering

education programs to doctors. Membership in the
                                             the corporate
                                                 corporate relations council also
                                                                             also allowed
                                                                                  allowed

             executives and marketing
drug company executives     marketing staff
                                      staff to
                                            to meet with AAPM executive committee

members                    Defendants Endo,
members in small settings. Defendants Endo, Purdue,
                                            Purdue, and
                                                    and Actavis
                                                        Actavis were members of the
                                                                were members

                                                    who attended this annual event.
council and presented deceptive programs to doctors who

       AAPM is viewed internally by Endo as "industry
                                            "industry friendly" with Endo advisors and

speakers among its active members. Endo attended AAPM conferences, funded its CMEs,
                                        attended AAPM

                                                  sponsored by AAPM heavily
and distributed its publications. The conferences sponsored         heavily emphasized
                                                                            emphasized

sessions on opioids —
                    — 37
                       37out
                          outof
                              ofroughly
                                 roughly40     one conference
                                         40atatone conference alone.
                                                              alone. AAPM's
                                                                     AAPM's presidents

have
have included      industry-supported KOLs
     included top industry-supported  KOLs Perry
                                           Perry Fine, Russel Portenoy,
                                                 Fine, Russel Portenoy, and Lynn
                                                                        and Lynn

Webster.     Webster was
         Dr. Webster
Webster. Dr.         was even
                         even elected
                              elected president of AAPM
                                      presidentof  AAPM while
                                                        while under
                                                              under aa DEA
                                                                       DEA




                                       24
        investigation. Another past AAPM president, Dr. Scott Fishman, stated that he would place
                       Another past

        the organization "at the forefront" of teaching
                                               teaching that
                                                         that"the
                                                              "the risks
                                                                    risks of
                                                                          of addiction
                                                                             addictionare
                                                                                       are ...
                                                                                            ... small and

        can be managed."17

                 AAPM's staff understood
                 AAPM's       understood they
                                         they and
                                              and their industry funders
                                                  their industry funders were
                                                                         were engaged
                                                                              engaged in
                                                                                      in a

        common task. Defendants were able to influence AAPM
                                                       AAPM through
                                                            through both their significant and

        regular funding and the leadership of pro-opioid KOLs
                                                         KOLs within
                                                              within the organization.

                    1997, AAPM
                 In 1997, AAPM and
                               and the
                                    the American
                                        American Pain
                                                 Pain Society
                                                      Society jointly
                                                               jointly issued
                                                                        issued aa consensus
                                                                                   consensus

        statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids

        to treat chronic pain and claimed there was a low risk
                                                          risk that
                                                                that patients
                                                                     patients would
                                                                              would become addicted

        to opioids. The co-author of the statement, Dr. Haddox, was at the
                                                        Haddox, was    the time a paid speaker for

        Purdue.     Portenoy was the sole
        Purdue. Dr. Portenoy         sole consultant.
                                           consultant. The
                                                       The consensus
                                                           consensus statement remained on
                                                                     statement remained

        AAPM's
        AAPM's website until 2011 and
               website unti12011  and was taken down from AAPM's         only after a doctor
                                                          AAPM's website only

        complained, though it still lingers on the internet elsewhere.

                 AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

        and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel

        members who drafted the Guidelines (including KOLs
                                                      KOLs Dr.
                                                           Dr. Portenoy
                                                               Portenoy and Dr. Perry Fine of

        the University    Utah) received
            University of Utah) received support
                                         support from          Endo, and Purdue.
                                                      Janssen, Endo,
                                                 from Janssen,           Purdue. The 2009
                                                                                     2009

        Guidelines promote opioids
        Guidelines promote opioids as
                                   as "safe     effective" for treating chronic
                                      "safe and effective"              chronic pain,
                                                                                pain, despite
                                                                                      despite

        acknowledging limited evidence, and conclude that the
                                                          the risk of addiction is manageable for

        patients regardless
        patients regardless of past abuse
                                    abuse histories.
                                          histories. One
                                                     One panel
                                                         panel member,
                                                               member, Dr. Joel Saper, Clinical
                                                                                       Clinical

        Professor of
        Professor    Neurology at
                  of Neurology    Michigan State
                               at Michigan       University and
                                           State University                 the Michigan
                                                                founder of the
                                                            and founder         Michigan

        Headache & Neurological Institute, resigned from the
                                                         the panel because he was concerned the


   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor
17 Interview                                               Professor of
                                                                     of Anesthesiology
                                                                        Anesthesiology and Pain Medicine, Chief of
the Division
    Division of
             ofPain
                Pain Medicine,
                     Medicine, Univ. ofCal.,
                               Univ.of Cal.,Davis
                                             Davis(2005),
                                                   (2005), http://wwryv.mescape.orr/viewarticle/500829.
                                                            http://www.mescape.orgkiewarticle/500829.



                                                       25
       2009
       2009 Guidelines
            Guidelines were
                       were influenced  by contributions
                             influenced by  contributions that
                                                          that drug
                                                                drug companies,   including
                                                                      companies, including

       Defendants, made to the
       Defendants, made     the sponsoring   organizations and
                                 sponsoring organizations  and committee
                                                                committee members. These
                                                                          members. These

       Guidelines have been a particularly effective channel of deception and have influenced not

       only treating             but also the body of scientific evidence on opioids. The Guidelines
                     physicians, but
            treating physicians,

       have been cited
       have      cited 732
                       732 times
                            times in
                                   inacademic
                                      academic literature,
                                                literature, were,
                                                            were, upon
                                                                  upon information  and belief,
                                                                        information and belief,

       disseminated in and around Galveston
       disseminated               Galveston County
                                            County during
                                                   during the
                                                          the relevant
                                                              relevant time period, are still

       available online, and were reprinted in the Journal of Pain.

B. Defendants Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

75.         information and belief, to convince doctors treating residents in Galveston County
       Upon information

and
and Galveston County patients
    Galveston County patients that
                               that opioids
                                    opioids can  and should
                                             can and should be
                                                            be used     treat chronic
                                                               used to treat   chronic pain,
                                                                                       pain,

                                                                           effective. Knowing
Defendants had to convince them that long-term opioid use is both safe and effective.

they could do so only by deceiving those doctors and patients about the risks and benefits of long-

term opioid use, Defendants made
                            made claims
                                 claims that were not supported
                                        that were     supported by,
                                                                by, or were contrary to, the

                                 pronouncements by
scientific evidence. Even though pronouncements by and
                                                   and guidance
                                                       guidance from                 CDC
                                                                from the FDA and the CDC

based on that evidence
              evidence confirm            claims were false and
                       confirm that their claims            and deceptive,
                                                                deceptive, Defendants have not

corrected them or instructed their KOLs or Front Groups to correct them and continue to spread

them today.

C.     Defendants  Falsely Trivialized
       Defendants Falsely              or Failed
                           Trivialized or Failed to Disclose
                                                    Disclose the Known Risks
                                                                       Risks of
                                                                             of Long-Term
                                                                                Long-Term
       Opioid Use.

76.    To convince doctors and patients that opioids are safe, Defendants deceptively trivialized

and failed to disclose the risks of long-term opioid use, particularly the risk of addiction, through
                                 of long-term

a series of misrepresentations that have been conclusively debunked by the FDA and CDC. These

misrepresentations
misrepresentations ——which
                      whichare  describedbelow
                            are described below ——reinforced
                                                   reinforcedeach  other and
                                                              eachother      created the
                                                                         and created

dangerously misleading impression
dangerously misleading impression that:
                                  that: (1) starting patients on opioids was low-risk because most
                                        (1) starting




                                                 26
                   become addicted
patients would not become addicted and because those who were at greatest risk
                                                                          risk of
                                                                               of addiction
                                                                                  addiction could

be readily identified and managed; (2) patients who displayed signs of addiction probably were

                     any event, could easily be weaned from the drugs; (3) the
not addicted and, in any                                                   the use
                                                                               use of
                                                                                   of higher
                                                                                      higher opioid

doses, which many patients need to sustain pain relief as they develop tolerance
                                                                       tolerance to
                                                                                 to the drugs, do

                            (4) abuse-deterrant
not pose special risks; and (4) abuse-deterrant opioids
                                                opioids both prevent overdose
                                                                     overdose and are inherently

less addictive. Defendants have not only failed to correct these misrepresentations,
                                                                 misrepresentations, they continue

        them today.
to make thein

77.    First, Defendants falsely
                         falsely claimed the risk of addiction is low and unlikely to
                                                                                   to develop when

opioids are prescribed,
            prescribed, as opposed to obtained
                                      obtained illicitly,
                                               illicitly, and
                                                          and failed
                                                              failed to
                                                                     to disclose
                                                                        disclose the
                                                                                 the greater
                                                                                     greater risk of

               prolonged use
addiction with prolonged use of
                             of opioids.
                                opioids. For example:

                   Actavis's predecessor
               (1) Actavis's predecessor caused
                                         caused a patient education brochure to be distributed in

                                        addiction is
                   2007 claiming opioid addiction is possible,
                                                     possible, but
                                                               but "less
                                                                   "less likely
                                                                         likely if you have never

                          addiction problem." Upon
                   had an addiction           Upon information
                                                   information and
                                                               and belief,
                                                                   belief, based
                                                                           based on
                                                                                 on Actavis's

                   acquisition of its predecessor's
                   acquisition        predecessor's marketing
                                                    marketing materials
                                                              materials along
                                                                        along with
                                                                              with the
                                                                                   the rights
                                                                                       rights to

                  Kadian, Actavis continued to use this brochure in 2009 and beyond;

               (2) Purdue sponsored APF's Treatment
                                          Treatment Options: A Guide for People Living with

                                which instructed that addiction is rare and limited to extreme cases
                   Pain (2007), which

                     unauthorized dose
                  of unauthorized dose escalations,
                                        escalations, obtaining duplicative
                                                               duplicative opioid prescriptions
                                                                                  prescriptions

                  from multiple sources, or theft. This publication is still available online.;

                        sponsored aa website,
               (3) Endo sponsored    website, Painknowldge.com,
                                              Painknowldge.com, which
                                                                which claimed
                                                                      claimed in 2009 that

                                take opioids
                  "[p]eople who take opioids as prescribed
                                                prescribed usually
                                                           usually do not become
                                                                          become addicted."
                                                                                 addicted."

                          Endo website, PainAction.com,
                  Another Endo          PainAction.com, stated "Did you know? Most chronic




                                                27
   pain
   pain patients
        patients do not
                    not become addicted to the
                        become addicted    the opioid  medications that
                                                opioid medications      are
                                                                   that are

   prescribed for them;"

(4) Endo distributed a pamphlet with the Endo logo entitled Living with Someone

                      which stated
   with Chronic Pain, which stated that:                   providers who treat
                                   that: "Most health care providers

   people with pain agree that most people
                                    people do
                                           do not
                                              not develop an addiction
                                                  develop an addiction problem."
                                                                       problem."

   A similar statement appeared on the Endo website, www.opana.com;

(5) Janssen reviewed, edited, approved,
                              approved, and distributed a patient education guide,

   entitled
   entitled Finding
            Finding Relief
                    Relief Pain Management for
                           Pain Management           Adults (2009), which
                                               Older Adults
                                           for Older                which

                                                  addictive and asserted
   described as "myth" the claim that opioids are addictive
   described                                                    asserted as fact

                                              rarely addictive, when
        "[m]any studies show that opioids are rarely
   that "[m]any                                                 when used
                                                                     used properly
                                                                          properly

   for the management of chronic pain;"

                                      Prescriberesponsibly.com (last updated July
                             website, Prescriberesponsibly.com
(6) Janssen currently runs a website,

   2,
   2, 2015),   which claims
       2015), which   claims that
                              that concerns   about opioid
                                    concerns about   opioid addiction
                                                             addiction are
                                                                       are

   "overestimated;"

(7) Purdue sponsored APF's
           sponsored APF    Policymaker's Guide
                         's Policymaker's          Understanding Pain
                                          Guide to Understanding Pain &
                                                                      & Its

   Management, which claims that less than
   Management, which                  than 1% of children prescribed
                                           1% of          prescribed opioids will

   become addicted and that pain is undertreated due to "misconceptions about

          addiction." This publication is still available online;
   opioid addiction."

                         belief, detailers
(8) Upon information and belief, detailers for
                                           for Purdue,
                                               Purdue, Endo,
                                                       Endo, and Janssen in and
                                                             and Janssen

   around Galveston County minimized
                           minimized or omitted any discussion with
                                     or omitted                with doctors
                                                                    doctors of

   the risk
        risk of  addiction, misrepresented
              ofaddiction,  misrepresented the  potential for
                                            the potential     opioid abuse
                                                          for opioid abuse with
                                                                           with

   purportedly abuse-deterrentformulations,
   purportedly abuse-deterrent formulations,and
                                             androutinely
                                                 routinelydid  not correct
                                                           did not correct the

   misrepresentations noted above;




                                 28
                     Insys's opioid,
                 (9) Insys's opioid, Subsys,
                                     Subsys, was
                                             was only
                                                 only indicated
                                                       indicated for breakthrough cancer pain. Yet

                            systematically misrepresented
                      Insys systeinatically misrepresented or
                                                           or omitted
                                                              omitted material information to agents

                      of insurers and pharmacy benefit managers
                                                       managers in order to get prior
                                                                                prior authorization
                                                                                      authorization

                      for Subsys in patients off-label.

78.      These claims
         These claims contradict
                      contradict longstanding
                                 longstanding scientific
                                               scientificevidence
                                                          evidenceasasthe
                                                                       the FDA
                                                                           FDA and     have
                                                                               and CDC have

conclusively declared.
conclusively declared.As
                       As noted
                          noted in
                                 in the
                                    the 2016 CDC Guideline
                                        2016 CDC Guideline endorsed
                                                           endorsed by
                                                                    by the FDA, there
                                                                       the FDA, there is

"extensive evidence"
"extensive evidence" of
                     of the "possible harms
                        the "possible          opioids (including
                                      harms of opioids (including opioid
                                                                  opioid use disorder
                                                                             disorder [an

alternative term for opioid addiction])."18

79.      The FDA further exposed the falsity of Defendants'
                                                Defendants' claims about the low risk of addiction

when it announced changes to the labels for ER/LA opioids in 2013 and for opioids in 2016. In its

announcements, the
announcements, the FDA discussed
                       discussed the
                                 the risks related
                                           related to
                                                    to opioid
                                                       opioid use
                                                              use and
                                                                  and that instant
                                                                           instant release
                                                                                   release ("IR")

opioids are associated with "persistent abuse, addiction,
                                               addiction, overdose
                                                          overdose mortality,
                                                                   mortality, and risk of NOWS

[neonatal opioid
[neonatal opioid withdrawal
                 withdrawal syndrome,
                            syndrome,now
                                      now also
                                          also referred
                                               referred to as NAS,
                                                        to as NAS, neonatal
                                                                    neonatal abstinence
                                                                              abstinence
         ."19
syndrome]."19

80.      According to the FDA, because of the risks associated with
         According                                             with long-term opioid use, including

             risk of
"the serious risk of addiction, abuse, misuse, overdose,
                                               overdose, and death,"2°
                                                             death,"20 opioids should be "reserved

                enough to require
for pain severe enough    require opioid
                                  opioid treatment
                                         treatment and for which alternative
                                                                 alternative treatment
                                                                             treatment options

(e.g., non-opioid analgesics or opioid combination products, as appropriate) are inadequate or not

tolerated."21
tolerated."zl




18 CDC  Guidelines for Prescribing
        Guidelines     Prescribing Opioids
                                   Opioids for
                                            for Chronic
                                                ChronicPain
                                                        Pain— UnitedStates
                                                            — United States2016,
                                                                           2016, Centers
                                                                                 Centers for Disease Control and
Prevention (Mar. 18, 2016).
19 FDA Announcement of Enhanced Wamings
                                    Warnings for Immediate-Release Opioid
                                                                     Opioid Pain Medications Related to
                                                                                                      to Risks of
Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
20 Id.
zo Id.
Z' Id.
21 Id.




                                                       29
81.      The warnings on Defendants' own FDA-approved drug labels caution that opioids "expose

         risks of
users to risks ofaddiction,
                  addiction, abuse
                              abuse and
                                     and misuse,
                                         misuse, which
                                                 which can
                                                        can lead
                                                             leadtotooverdose
                                                                      overdoseand
                                                                               anddeath"ZZ
                                                                                   death"22 and that

addiction "can occur in patients appropriately prescribed"23 opioids.

82.      Second, Defendants falsely
         Second, Defendants falsely instructed
                                     instructed doctors
                                                doctorsand
                                                        and patients
                                                            patients that
                                                                      that signs
                                                                           signs of addiction
                                                                                    addiction are

               of undertreated pain and should be treated by prescribing more opioids. Defendants
actually signs of

            phenomenon "pseudoaddiction" —
called this phenomenon                   — aaterm
                                              termcoined
                                                   coinedby
                                                          byDr.
                                                            Dr. David
                                                                David Haddox,
                                                                      Haddox, who went to

work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, and Purdue

— and
—  andclaimed
       claimedthat
               thatpseudoaddiction
                    pseudoaddictionisissubstantiated
                                        substantiatedby
                                                     byscientific
                                                        scientific evidence.
                                                                   evidence. For example:

                  (1) Purdue sponsored
                             sponsored Responsible
                                       Responsible Opioid
                                                   Opioid Prescribing
                                                          Prescribing (2007),
                                                                      (2007), which taught that

                       behaviors such
                       behaviors such as "requesting
                                         "requesting drugs
                                                     drugs by name," "demanding or
                                                                                or manipulative
                                                                                   manipulative

                       behavior," seeking
                                  seeking more than one doctor
                                                        doctor to obtain opioids, and hoarding, are

                                 of pseudoaddiction,
                       all signs of pseudoaddiction, rather than true addiction.
                                                                      addiction. Responsible
                                                                                 Responsible Opioid
                                                                                             Opioid

                       Prescribing remains
                       Prescribing remains for
                                           for sale
                                               sale online.
                                                    online. The
                                                            The 2012
                                                                2012 edition continues to teach that

                       pseudoaddiction is real;

                  (2) Janssen
                      Janssen sponsored,
                              sponsored, funded,
                                          funded, and
                                                  and edited
                                                      editedthe
                                                             the Let's
                                                                 Let's Talk Pain website, which in

                            stated: "pseudoaddiction
                       2009 stated: "pseudoaddiction...
                                                     ... refers
                                                         refers to patient behaviors
                                                                           behaviors that may occur
                                                                                              occur

                       when pain is under-treated
                                    under-treated ...
                                                  ... Pseudoaddiction
                                                      Pseudoaddiction is different from true addiction

                       because such behaviors can be
                                                  be resolved
                                                     resolved with
                                                              with effective
                                                                   effective pain management;"

                  (3) Endo sponsored a National Initiative
                                                Initiative on
                                                           on Pain
                                                              Pain Control
                                                                   Control ("NIPC") CME program

                       in 2009, titled Chronic Opioid
                                               Opioid Therapy:
                                                      Therapy: Understanding
                                                               Understanding Risk While Maximizing

                       Analgesia, which
                       Analgesia, which promoted
                                        promoted pseudoaddiction
                                                 pseudoaddictionby
                                                                 byteaching
                                                                    teachingthat
                                                                             that aa patient's
                                                                                     patient's

                       aberrant behavior was the result
                                                 result of
                                                        of untreated
                                                           untreated pain.
                                                                     pain. Endo
                                                                           Endo substantially
                                                                                substantially controlled


2z
22 See, e.g., OxyContin
              OxyContin label and insert   at OxyContin.com.
23 Id.
  Id.




                                                          dl]
                                                          30
                     NIPC
                     NIPC by
                          by funding
                              funding NIPC
                                      NIPC projects;
                                            projects; developing,
                                                       developing, specifying,
                                                                    specifying, and
                                                                                and reviewing
                                                                                     reviewing

                      content; and distributing NIPC materials;

                 (4) Purdue
                     Purdue published
                            published a pamphlet
                                        pamphlet in 2011
                                                    2011 entitled
                                                         entitled Providing
                                                                  Providing Relief, Preventing
                                                                            Relief, Preventing

                      Abuse, which described
                      Abuse,       described pseudoaddiction
                                             pseudoaddictionas
                                                             asaa concept that "emerged
                                                                  concept that "emerged in the

                      literature" to describe the inaccurate interpretation of [drug-seeking behaviors]
                      literature"

                      in patients who have pain that has not been
                                                             been effectively
                                                                  effectively treated;"
                                                                              treated;" and

                 (5) Purdue
                     Purdue sponsored
                            sponsored a CME
                                        CME program,
                                            program, entitled
                                                     entitled Path
                                                              Path of the Patient, Managing
                                                                      the Patient, Managing

                      Chronic Pain in Younger Adults at Risk for Abuse. In a role play, a chronic pain
                      Chronic Pain

                                                    abuse tells
                     patient with a history of drug abuse tells his doctor
                                                                    doctor that he is taking twice as

                     many hydrocodone
                     many hydrocodone pills
                                       pills as
                                             as directed.
                                                directed. The
                                                          The narrator notes that
                                                              narrator notes      because of
                                                                             that because

                     pseudoaddiction, the doctor should not assume the patient is addicted even if he

                     persistently
                     persistently asks
                                  asks for
                                       for a specific
                                             specific drug,
                                                      drug, seems
                                                            seems desperate,
                                                                  desperate, hoards medicine, or
                                                                             hoards medicine,

                     "overindulges in unapproved
                                      unapproved escalating doses." The doctor
                                                 escalating doses."     doctor treats this patient

                     by prescribing a high-dose, long-acting opioid.

83.      The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

To
To the
    the contrary,
         contrary, the
                    the Guideline
                         Guideline explains
                                    explains that
                                             that "[p]atients
                                                  "[p]atients who do
                                                                  do not  experience clinically
                                                                      notexperience   clinically

meaningful pain relief
                relief early in treatment ...
                                          ... are
                                              are unlikely to experience pain relief with longer-term

use"24 and
       andthat
           thatphysicians
                physiciansshould
                           should"reassess
                                 "reassess pain
                                           pain and function
                                                    function within 1 month" in order to decide

                           of long-term opioid use by discontinuing opioids" because the patient
whether to "minimize risks of

is "not
   "not receiving
        receivingaaclear
                    clearbenefit."ZS
                          benefit."25




24 CDC Guidelines
14     Guidelines for Prescribing
                      Prescribing Opioids
                                  Opioids for Chronic Pain,   supra.
zs
25 Id.
   Id.



                                                       31
84.           Defendants falsely instructed doctors and patients that addiction
       Third, Defendants                                              addiction risk screening
                                                                                     screening tools,

patient contracts,            screens, and similar
        contracts, urine drug screens,     similar strategies
                                                   strategies allow them to reliably identify and
                                                              allow them

safely prescribe opioids to
safely prescribe         to patients
                            patients predisposed to addiction.
                                     predisposed to  addiction. These
                                                                These misrepresentations
                                                                      misrepresentations were

                             Defendants aimed
especially insidious because Defendants aimed them
                                              them at general practitioners
                                                              practitioners and family doctors

who  lack the
who lack   the time
                 timeand
                      andexpertise
                           expertisetotoclosely    managehigher-risk
                                           closelymanage   higher-riskpatients.   Defendants'
                                                                       patients. Defendants'

misrepresentations made these doctors feel more comfortable prescribing opioids to their patients

and patients more comfortable starting opioid therapy for chronic pain. For example:

                                        supplement in the Journal
               (1) Endo paid for a 2007 supplement                   Family Prac written by a
                                                          Journal of Family

                   doctor who
                   doctor who became
                              became aa member
                                        member of
                                               of Endo's speaker's bureau
                                                  Endo's speaker's bureau in 2010.
                                                                             2010. The
                                                                                   The

                   supplement, entitled Pain
                   supplement, entitled Pain Management
                                             ManagementDilemmas      Primary Care:
                                                        Dilemmasinin Primary Care: Use
                                                                                   Use of

                                                                      tools, claiming that patients
                   Opioids, emphasized the effectiveness of screening tools,

                   at high risk
                           risk of
                                of addiction
                                   addiction could                chronic opioid therapy using a
                                             could safely receive chronic

                              structure approach" involving toxicology screens and pill control;
                   "maximally stracture

               (2) Purdue sponsored a 2011 webinar, Managing Patient's
                                           webinar, Managing Patient's Opioid Use: Balancing

                   the Need and Risk, which claimed that screening tools, urine tests, and patient

                                      "overuse of prescriptions" and
                   agreements prevent "overuse                   and "overdose
                                                                     "overdose deaths;" and

                                                                             conferences that "bad
               (3) As recently as 2015, Purdue has represented in scientific conferences

                   apple" patients—
                   apple"patients — and
                                     andnot
                                        not opioids
                                            opioids ——are
                                                       arethe
                                                            thesource      theaddiction
                                                                sourceofofthe  addiction crisis
                                                                                         crisis and
                                                                                                and that

                   once those "bad apples"      identified, doctors
                                   apples" are identified,  doctors can safely
                                                                        safely prescribe
                                                                               prescribe opioids
                                                                                         opioids

                   without causing addiction.

85.    Once
       Once again,
            again, the 2016
                       2016 CDC Guideline confirms
                            CDC Guideline confirms these representations are
                                                   these representations     false. The
                                                                         are false. The

Guideline notes that there are
                that there are not
                               not studies
                                   studies assessing
                                           assessing the
                                                      the effectiveness ofrisk
                                                          effectivenessof  riskmitigation
                                                                               mitigationstrategies
                                                                                          strategies—
                                                                                                    —

such as screening tools,
                  tools, patient
                         patient contracts,
                                 contracts, urine drug testing,
                                            urine drug  testing, or
                                                                 orpill
                                                                    pillcounts — widely
                                                                         counts— widely believed by




                                                 32
doctors to detect and deter outcomes related to addiction
                                                addiction and
                                                          and overdose.26 As aa result, the Guideline
                                                              overdose?6 As

recognizes that doctors should not overestimate the risk screening tools for classifying patients as

high or low risk for opioid addiction because they are insufficient to rule
                                                                       rule out the
                                                                                the risks of long-term

opioid therapy.27
       therapy?`

86.        Fourth, to underplay
           Fourth,    underplay the risk and impact
                                the risk                addiction and
                                              impact of addiction and make
                                                                      make doctors
                                                                           doctors feel
                                                                                   feel more
                                                                                        more

comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

          addressed by tapering and that opioid withdrawal
easily be addressed
easily                                          withdrawal is
                                                           is not
                                                              not a problem thereby failing to

disclose the increased difficulty of
                                  of stopping opioids after long-term use.

87.        For example,
               example, a CME sponsored by Endo, entitled
                          CME sponsored          entitled Persistent
                                                          Persistent Pain        Older Adults,
                                                                     Pain in the Older Adults,

claimed      withdrawal symptoms
claimed that withdrawal symptoms can
                                 can be avoided by
                                     be avoided by tapering
                                                    tapering aa patient's
                                                                patient's opioid dose by 10%-

        10 days.
20% for 10 days. Purdue
                 Purdue sponsored
                        sponsored APF's A Policymaker's Guide
                                        A Policymaker's Guide to Understanding
                                                                 Understanding Pain &

Management, which claimed that "[s]ymptoms of physical dependence
                                                       dependence can
                                                                  can often be ameliorated

by gradually decreasing the dose of medication
                                    inedication during discontinuation."

88.                   deceptively minimized the significant symptoms of opioid withdrawal, which,
           Defendants deceptively

                the 2016
as explained in the 2016 CDC
                         CDC Guideline,
                             Guideline, include
                                         include drug cravings, anxiety,
                                                 drug cravings, anxiety, insomnia,
                                                                         insomnia, abdominal
                                                                                   abdominal

                diarrhea, sweating, tremor, tachycardia (rapid heartbeat), spontaneous abortion,
pain, vomiting, diarrhea,

and premature labor in pregnant women and the unmasking of anxiety, depression, and addiction

—  andgrossly
— and          understatedthe
       grosslyunderstated  thedifficulty
                               difficultyof
                                          oftapering,
                                             tapering,particularly
                                                      particularly after  long-term opioid use.
                                                                   after long-term

89.        Yet the 2016 CDC Guideline recognizes that the duration of opioid use
                                                                             use and the dosage of

opioids prescribed should be limited to "minimize the need to taper opioids to prevent distressing

or unpleasant withdrawal symptoms" because "physical
                         symptoms" because "physical dependence
                                                     dependence on
                                                                on opioids
                                                                   opioids is an expected
                                                                                 expected

physiologic          in patients
            response in
physiologic response    patients exposed
                                 exposed to
                                          to opioids
                                             opioids for
                                                     for more than aa few days." The Guideline
                                                         more than                   Guideline


26
26   CDC Guidelines for Prescribing
                        Prescribing Opioids
                                    Opioids for Chronic Pain, supra.
2'
27   Id.



                                                         33
further states
further states that "tapering opioids
                              opioids can be especially
                                             especially challenging
                                                        challenging after
                                                                    after years         dosages
                                                                          years on high dosages

because of physical and psychological dependence" and highlights the difficulties, including the

need to carefully
need    carefully identify "a taper
                               taper slow
                                     slow enough
                                          enough to
                                                 to minimize
                                                    minimize symptoms
                                                             symptoms and
                                                                      and signs    opioid
                                                                          signs of opioid

withdrawal" and pausing and restarting tapers depending
                                              depending on
                                                        on the
                                                           the patient's
                                                               patient's response.

90.        The CDC
           The CDC also
                   also acknowledges
                         acknowledges the lack of
                                      the lack of any
                                                   any "high-quality
                                                        "high-quality studies
                                                                       studies comparing
                                                                                comparing the
                                                                                          the

effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

discontinued."28

91.        Fifth, Defendants falsely claimed that doctors and patients could increase opioid dosages

             without added
indefinitely without added risk
                           risk and failed to disclose the greater risks to patients at higher
                                                                                        higher dosages.

The ability to escalate dosages was critical
                                    critical to
                                             to Defendants'
                                                Defendants' efforts to market opioids for long-term

             chronic pain
use to treat chronic pain because,
                          because, absent
                                   absent this
                                          this misrepresentation,
                                               misrepresentation, doctors would have abandoned

treatment when
treatment when patients
               patients built
                        built up tolerance
                                 tolerance and
                                           and lower
                                               lower dosages
                                                     dosages did
                                                             did not provide pain relief.
                                                                 not provide      relief For

example:

                      Actavis's predecessor
                  (1) Actavis's predecessor created
                                            created aa patient brochure for Kadian in 2007 that stated,

                                                become tolerant
                      "Over time, your body may become tolerant of your current
                                                                        current dose. You may

                      require dose
                      require dose adjustment
                                   adjustmenttoto get
                                                  get the
                                                       the right
                                                           right amount
                                                                 amount of
                                                                        of pain
                                                                           pain relief
                                                                                relief. This
                                                                                        This is not

                      addiction." Upon information
                                       information and
                                                   and belief,
                                                       belief, based
                                                               based on
                                                                     on Actavis's
                                                                        Actavis's acquisition of its

                      predecessor's market
                      predecessor's market materials
                                           materialsalong
                                                     alongwith
                                                          with the  rights to Kadian,
                                                                the rights    Kadian, Actavis
                                                                                      Actavis

                      continued to use these materials in 2009 and beyond;

                  (2) Purdue sponsored APF's Treatment Options:
                                                       Options: A Guide for People Living with

                      Pain (2007), which claims that
                                                that some
                                                     some patients
                                                          patients "need"
                                                                   "need" a larger dose of an opioid

                      regardless of the dose currently prescribed.
                                                       prescribed. The guide stated that opioids have



28
28   Id.



                                                   34
       ceiling dose"
   "no ceiling dose" and
                     and are
                         are therefore
                             therefore the most appropriate
                                                appropriate treatment for severe

   pain. This guide is still available for sale online;

         sponsored aa website,
(3) Endo sponsored    website, painknowledge.com,
                               painknowledge.com, which claimed
                                                        claimed in 2009 that

   opioid dosages may be increased until "you
                                         "you are on the right dose of medication
                                                                       inedication

   for your pain;"

         distributed a pamphlet
(4) Endo distributed   pamphlet edited
                                edited by a KOL
                                            KOL entitled
                                                 entitled Understanding
                                                          Understanding Your
                                                                        Your

                            Analgesics, which
   Pain: Taking Oral Opioid Analgesics, which was
                                              was available
                                                  available during
                                                            during the time

   period of this Compliant on
                            on Endo's
                               Endo's website. In
                                               In Q
                                                  Q&& A format, it asked "If
                                                                         "If I take

   the opioid now, will it work later when II really
                                              really need
                                                     need it?"
                                                          it?" The response is, "The

   dose can be
            be increased
               increased....
                         .... You won't
                                  won't 'run
                                        `run out'
                                             out' of pain relief;"

    Janssen sponsored
(5) Janssen sponsored aa patient
                         patient education
                                 education guide entitled Finding
                                           guide entitled Finding Relief: Pain
                                                                          Pain

   Management for Older Adults (2009), which was distributed by its sales forces.

   This guide listed dosage limitations as
                                        as "disadvantages"
                                            "disadvantages" of other pain medicines,

   but omitted any discussions of risks of increased opioid dosages;

                    Face of Pain
(6) Purdue's In the Face    Pain website
                                 website promotes
                                         promotes the
                                                   the notion
                                                       notion that
                                                               that if
                                                                    if a patient's

   doctor does not prescribe
                   prescribe what,
                             what, in
                                    in the
                                        the patient's
                                            patient's view,
                                                      view, is a sufficient dosage of

   opioids, he or she should find another doctor who will;

(7) Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its
           sponsored APF's

   Management, which taught that
                            that dosage
                                 dosage escalations
                                        escalations are
                                                    are "sometimes
                                                        "sometimes necessary,"
                                                                   necessary,"

   even unlimited ones,
                  ones, but did not disclose
                                    disclose the risks from high opioid dosages.

   This publication is still available online;




                                 35
               (8) Purdue sponsored a CME, entitled Overview of Management
                                                                Management Options,
                                                                           Options, that is

                   still available for CME credit. The CME was edited by a KOL and taught that

                   NSAIDs and other drugs, but not opioids, are unsafe at high dosages; and

               (9) Purdue
                   Purdue presented
                          presentedaa 2015
                                      2015 paper
                                           paper at
                                                 at the College on
                                                    the College        Problems of Drug
                                                                on the Problems    Drug

                   Dependence, the
                   Dependence,  the "oldest
                                    "oldest and
                                            and largest organizationin
                                                largest organization in the
                                                                         the US dedicated to
                                                                             US dedicated

                   advancing a scientific
                   advancing   scientific approach
                                          approach to substance         addictive disorders,"
                                                      substance use and addictive disorders,"

                   challenging the correlation between opioid dosage and overdose.

92.    These claims conflict with the scientific evidence, as confirmed by the FDA and CDC. As

the CDC explains in its 2016 Guideline, the "[b]enefits of high-dose opioids for chronic pain are

not established" while                serious harms related to opioid therapy increase at higher
                 while the "risks for serious

opioid dosage."

93.    More specifically,
            specifically, the CDC explains
                                  explains that
                                           that "there           established body of scientific
                                                "there is now an established

                                                    higher opioid dosages." Similarly, there is an
evidence showing that overdose risk is increased at higher

"increased risk for opioid use disorder, respiratory depression, and death at higher doses." That is
                    opioid use

why
why the CDC
        CDC advises
             advises doctors
                      doctors to
                               to avoid
                                   avoidincreasing
                                         increasing dosages
                                                     dosages above  90 morphine
                                                             above 90  morphine milligram
                                                                                milligram

equivalents per day.

94.                                              fmdings announced
       The 2016 CDC Guideline reinforces earlier findings announced by
                                                                    by the
                                                                       the FDA.
                                                                           FDA. In 2013, the

FDA acknowledged that available
    acknowledged that available data
                                data suggested
                                     suggested that
                                               that increasing
                                                    increasing the opioid
                                                                   opioid dosage
                                                                          dosage likewise
                                                                                  likewise

increased with certain advertisements. For example, the FDA noted that studies suggest
                                                                               suggest a positive

association between high-dose opioid use and overdoses.

95.                         deceptive marketing
       Finally, Defendants' deceptive
       Finally,                       marketing of the so-called abuse-deterrent properties of
                                                                 abuse-deterrent properties

some of
     of their opioids created false impressions that these opioids can curb addiction and abuse.




                                                36
96.        More specifically, Defendants made misleading
                                              misleading claims about the ability of their so-called

abuse-deterrent opioid
abuse-deterrent  opioid formulations
                         formulationstoto deter
                                          deter addiction
                                                addiction and
                                                          and overdose.
                                                              overdose. For example, Endo's
                                                                        For example,

advertisements for the 2012 reformulation of Opana
                                             Opana ER
                                                   ER claimed
                                                      claimed that
                                                              that it was designed to be crush

resistant in a way that suggested it was more difficult to
                                                        to misuse
                                                           misuse the product. This claim was false.

97.        The FDA warned in a 2013 letter that
                                           that there
                                                there was
                                                      was no
                                                          no evidence
                                                             evidence Endo's
                                                                      Endo's design would provide

a reduction in oral, intranasal or intravenous use.29 Moreover, Endo's
                                               use29 Moreover,  Endo'sown
                                                                       own studies,
                                                                           studies, which it failed

to disclose, showed that Opana ER could still be ground and chewed.

98.        In a 2016 settlement with the State of New York, Endo agreed not to make statements in

New York that Opana ER
                    ER was designed to be or
                                          or is
                                              is crush
                                                 crushresistant.
                                                       resistant. The
                                                                  The State
                                                                      State found
                                                                            found those
                                                                                  those statements
                                                                                        statements

false and deceptive because there was no difference in the
                                                       the ability
                                                           ability to
                                                                   to extract
                                                                      extract the
                                                                               the narcotic
                                                                                   narcotic from
                                                                                            from Opana
                                                                                                 Opana

ER.

99.        Similarly, the 2016 CDC Guideline states
           Similarly,                        states that
                                                    that no
                                                         no studies
                                                            studies support
                                                                    support the notion that "abuse-

deterrent technologies
          technologies [are]
                       [are] a risk mitigation strategy
                                               strategy for
                                                        for deterring or preventing abuse," noting

         technologies —
that the technologies — even
                         evenwhen
                             when they
                                   theywork
                                       work ——"do
                                              "do not
                                                   notprevent
                                                       preventopioid
                                                              opioid abuse
                                                                     abuse through
                                                                            through oral intake,

the most common route of opioid abuse, and can still
                                               still be
                                                     be abused
                                                        abused by non-oral routes."
                                            1
       These numerous,
100. These   numerous, long-standing
                       long-standing misrepresentations
                                       misrepresentationsof ofthe
                                                               the risks
                                                                   risks of long-term
                                                                            long-term opioid use

spread by Defendants successfully convinced doctors and patients to discount these risks.

D.         Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

101.       To convince
           To convince doctors
                       doctors and patients that
                               and patients that opioids
                                                 opioids should
                                                          should be
                                                                 be used
                                                                    used to treat
                                                                            treat chronic
                                                                                  chronic pain,
                                                                                          pain,

Defendants had to persuade them that there was a significant benefit to long-term opioid use. But,

as the 2016 CDC Guideline makes clear, there is
                                             is "insufficient
                                                "insufficient evidence to determine the
                                                                                    the long-term

benefits of opioid therapy for chronic pain."



29   See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).



                                                       37
102.    In fact, the CDC found no evidence showing "a long-term
                                                      long-term benefit of opioids in pain and

function versus
function versus no
                no opioids for chronic
                               chronic pain
                                       pain with
                                            with outcomes
                                                 outcomes examined
                                                          examined at
                                                                   at least
                                                                      least 1 year later (with

most placebo-controlled randomized trials ...
                                          ... 66 weeks in duration)"
                                                          duration)" and that other treatments were

more or equally
more    equally beneficial
                beneficial and
                           and less
                               less harmful
                                    harmful than
                                            than long-term
                                                 long-term opioid
                                                           opioid use.
                                                                  use. The
                                                                       The FDA,
                                                                           FDA, too,
                                                                                too, has

recognized the lack of
                    of evidence to support long-term opioid use.

103.    In 2013, the FDA stated that it was unaware of any studies demonstrating the safety and

efficacy of opioids for long-term
efficacy                 long-term use.30
                                   use.30 Despite this  lack of
                                                  this lack  of studies,
                                                                 studies, Defendants
                                                                          Defendants falsely
                                                                                     falsely and
                                                                                             and

misleadingly touted the benefits of long-term use and suggested that
                                                                that these
                                                                     these benefits were supported

by scientific evidence. Not only have Defendants failed to
                                                        to correct these false and deceptive claims,

they continue to make them today. For example:

                 (1) Actavis
                     Actavis distributed
                             distributed an
                                         an advertisement
                                            advertisementthat
                                                          that claimed
                                                               claimedthe
                                                                       the use
                                                                           use of Kadian
                                                                                  Kadian to treat

                     chronic pain would allow patients to return
                     chronic                              return to
                                                                 to work,
                                                                    work, relieve
                                                                          relieve "stress
                                                                                  "stress on your body

                     and your mental health," and help patients enjoy their lives;

                 (2) Endo distributed
                          distributed advertisements
                                      advertisementsthat
                                                     thatclaimed
                                                          claimedthat
                                                                  thatthe
                                                                       the use
                                                                           use of
                                                                               of Opana
                                                                                  Opana ER for

                     chronic pain would allow patients to
                                                       to perform
                                                          perform demanding
                                                                  demanding tasks
                                                                            tasks like construction

                     work or work as a chef and portrayed seemingly healthy, unimpaired subjects;

                 (3) Janssen sponsored and edited a patient
                                                    patient education
                                                            education guide entitled Finding Relief:

                     Pain Management for Older Adults (2009),
                                                      (2009), which
                                                              which states
                                                                    states as "a
                                                                              "a fact" that opioids

                     may make it easier
                                 easier for
                                        for people
                                            people to
                                                   to live
                                                       live "normally."
                                                            "normally." The
                                                                        The guide
                                                                            guide lists
                                                                                   lists expected
                                                                                         expected

                     functional improvements from opioid use, including sleeping through the night,

                     returning to work, recreation, sex, walking, and climbing stairs;




31 Letter from Janet Woodcock, M.D, Dir., Ctr. For Drug Eval. &
3°                                                            & Res.,
                                                                Res., to
                                                                      to Andrew
                                                                         Andrew Kolodny, M.D., President,
Physicians for Responsible Opioid Prescribing, Re: Docket No.
                                                          No. FDA-2012-P-0818 (Sept. 10, 2013).



                                                      38
(4) Purdue ran aa series of advertisements
    Purdue ran                                 OxyContin in
                            advertisements for OxyContin in 2012
                                                            2012 in medicaljjournals
                                                                 in medical  ournals

   entitled "pain vignettes," which were case studies featuring patients with pain

              persisting over several months and recommending OxyContin for
   conditions persisting

   them. The ads implied that OxyContin
                              OxyContin improves patients' function;
                                        improves patients'

(5) Responsible Opioid Prescribing (2007), sponsored and distributed by Endo and

   Purdue, taught that
   Purdue, taught that relief         by opioids,
                                 pain by
                       relief of pain    opioids, by
                                                  by itself,   improved patients'
                                                      itself, improved  patients'

   function. The book remains for sale online;

(6) Purdue sponsored APF's Treatment Options: A Guide for People Living with
                     APF's Treatment

   Pain (2007),
        (2007), which counseled patients
                which counseled           that opioids
                                patients that  opioids "give       patients] a
                                                       "give [pain patients]

   quality of life we deserve." The guide was available online until APF shut its

   doors in 2012.;

(7) Endo's
    Endo'sNIPC           painknowledge.com, claimed in 2009 that, with opioids,
                website, painknowledge.com,
           NIPC website,

   "your level
         level of
               of function        improve; you
                  function should improve;     may find
                                           you may find you
                                                        you are now able to

   participate
   participate in activities of                       work and hobbies, that you were
                             of daily living, such as work

   not able to
            to enjoy when your
               enjoy when your pain
                               pain was worse." Elsewhere,
                                    was worse."                website touted
                                                Elsewhere, the website

                                                                          opioid
   improved quality of life as well as "improved function" as benefits of opioid

   therapy.
   therapy. The grant request      Endo approved
                      request that Endo approved for this   project specifically
                                                      this project   specifically

   indicated NIPC's intent to make
                    intent to make misleading
                                   misleading claims about function, and Endo

    closely tracked visits to the site;

(8) Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

                Older Patient, which claimed that chronic opioid therapy has been
    Pain in the Older

   "shown
   "shown to reduce   pain and
              reduce pain   andimprove   depressive symptoms
                                improve depressive   symptoms and  cognitive
                                                              and cognitive

    functioning." The CME was disseminated via webcast;
    functioning."




                                   39
               (9) Janssen sponsored,
                           sponsored, funded,
                                      funded, and
                                              and edited
                                                  edited aa website,
                                                            website, Let's
                                                                     Let's Talk Pain in the Older

                   Patient, which claimed that chronic opioid therapy
                                                              therapy has
                                                                      has been "shown
                                                                               "shown to reduce

                   pain and improve depressive symptoms and cognitive
                                                            cognitive functioning." This video

                   is still available today on YouTube;

               (10)    Purdue sponsored
                       Purdue sponsoredthe
                                        the development
                                            development and
                                                         and distribution
                                                             distributionofof APF's
                                                                              APF's A
                                                                                    A

                   Policymaker'sGuide
                   Policymaker's Guide to
                                       to Understanding Pain & its Management, which claimed

                   that "multiple
                   that "multiple clinical
                                  clinical studies"
                                           studies" have
                                                    have shown
                                                         shown that
                                                               that opioids are effective
                                                                    opioids are effective in

                   improving daily function,
                                   function, psychological
                                             psychological health,
                                                           health, and
                                                                   and health-related
                                                                       health-related quality
                                                                                      quality of

                   life for
                   life for chronic
                             chronic pain
                                     pain patients."
                                           patients." The
                                                      The Policymaker's
                                                           Policymaker's Guide
                                                                         Guide was
                                                                               was originally
                                                                                    originally

                   published in 2011 and is still available online today; and

               (11)              Endo's, and
                       Purdue's, Endo's, and Janssen's
                                              Janssen's sales
                                                         sales representatives
                                                                representatives have conveyed
                                                                                     conveyed and

                   continue to convey the message that opioids will improve patient function.

104. These
104.  Theseclaims
             claimsfind
                     findnonosupport
                               supportininthe
                                            thescientific
                                                 scientificliterature.
                                                             literature. Most
                                                                         Most recently,
                                                                               recently, the
                                                                                         the 2016
                                                                                             2016 CDC
                                                                                                  CDC

Guideline, approved
Guideline, approved by the FDA, concluded,
                                concluded, "There
                                           "There is no good evidence that opioids improve
                                                                                   improve

pain or function with long-term
        fumtion with  long-term use"
                                use" and "complete relief
                                                   relief of pain is unlikely."
                                                                     unlikely." The CDC reinforced

this conclusion throughout its 2016 Guideline by stating that: (a) no evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with
                                                                           with outcomes at least 1

year later; (b) although opioids can reduce pain during short-term
                                                        short-term use,
                                                                   use, the
                                                                        the clinical
                                                                            clinical evidence review

found insufficient evidence to determine whether pain
                                                 pain relief is sustained and whether function or

quality of life improves with long-term opioid therapy; and (c) evidence is limited or insufficient

for improved pain or function with long-term use of opioids for severe chronic pain conditions for

which opioids are commonly prescribed, such as low back pain, headache, and fibromyalgia.




                                                40
                                                m
105.                                                             "can cause distress and inability
        The CDC also noted that the risks of addiction and death "can

                                                of common sense and medical evidence, drugs that
to fulfill major role obligations." As a matter of

can kill patients or commit them to a life of
                                           of addiction
                                              addiction or recovery do not improve their function

and quality of life.

106.    The 2016 CDC Guideline was not the first time a federal agency repudiated Defendants'

                                                     life. In 2010, the FDA warned Actavis that
claims that opioids improved function and quality of life.

      are not
"[w]e are not aware
              aware of
                    ofsubstantial
                       substantial evidence
                                   evidence or substantial clinical experience demonstrating that
                                            or substantial

                     effect of
the magnitude of the effect        drug [Kadian] has in alleviating pain, taken together with any
                            of the drug

drug-related side effects
drug-related side         patients may
                  effects patients may experience
                                       experience ...                                  impact on a
                                                       results in any overall positive impact
                                                   ... results

patient's work,
patient's work, physical
                physical and
                         and mental
                             mental functioning, daily activities, or enjoyment of life."31
                                                       activities, or

107.    Defendants also falsely emphasized
                                emphasized or exaggerated the risks of competing products like
                                              exaggerated the

               doctors and
NSAIDs so that doctors and patients would look to opioids first for treating chronic pain. Once

again, Defendants' misrepresentations contravene
       Defendants' misrepresentations            pronouncements by
                                      contravene pronouncements by and
                                                                   and guidance from the FDA

and CDC based on the scientific evidence.

108.    Consequently, the FDA changed
                              changed the
                                      the labels for ER/LA opioids in 2013 and IR opioids in
                                                     ER/LA opioids

2016 to state that                                              when alternative treatments like non-
                   opioids should be used only as a last resort when
              that opioids

       drugs are
opioid drugs     inadequate. And the 2016 CDC Guideline states that
             are inadequate.                                   that NSAIDs,
                                                                    NSAIDs, not opioids, should

be the first-line treatment for chronic pain, particularly arthritis and lower back pain.

109.    In addition, Purdue misleadingly
           addition, Purdue misleadingly promoted
                                         promoted OxyContin
                                                  OxyContinas
                                                            as unique
                                                               unique among opioids in
                                                                      among opioids

providing 12 continuous
providing 12 continuous hours
                        hours of
                              of pain
                                 pain relief with one dose. In fact, OxyContin does not last for 12
                                      relief with

hours —
      — aafact  thatPurdue
           factthat Purdue has
                           has known
                               known at
                                     at all
                                        all times  relevant to
                                             times relevant to this
                                                               this action.


31
31 Warning letter from Thomas Abrams, Dir., FDA Div. of Mktg.,
                                                         Mktg., Adver.,
                                                                Adver., & Comm's, to Doug Boothe, CEO,
                                                                        & Comm's,
Actavis LLC (Feb. 18, 2010),
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryinformation/EnforcementActivitiesbyFDA/WarningLett
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryinformation/EnforcementActivitiesbyFDA/WarningLett
                                                  u
erandNoticeofviolationLetterstoPharmaceuticalCompanies/ucm259240.html.
erandNoticeofviol ationLetterstoPharmaceuticalCompanies/ucm25 9240. html.



                                                  41
110.   According
       According to Purdue's own research,
                    Purdue'sown  research, OxyContin wears off
                                           OxyContin wears     in under six hours in one quarter
                                                           off in

of patients and in under 10 hours in more than half. The reason is that OxyContin tablets release

                                                              which release tapers.
                  of their active medicine immediately, after which
approximately 40% of                                                        tapers. Although the

patient
patient experiences    powerful initial
        experiences aa powerful  initial response,
                                          response,there
                                                    thereisislittle
                                                              littleor  no pain
                                                                     or no pain relief
                                                                                relief at
                                                                                       at the
                                                                                          the end
                                                                                              end of the

dosing period because less medicine is released.

111.        phenomenon is known
       This phenomenon    known as "end of dose" failure,
                                as "end          failure, and
                                                          and the FDA found
                                                              the FDA found in 2008 that a

                   of chronic pain patients taking OxyContin experience it.
substantial number of

112.                dose" failure not only renders Purdue's promise of 12 hours of relief false and
       This "end of dose"

deceptive,                              dangerous because
                         OxyContin more dangerous
deceptive, it also makes OxyContin                because the declining pain relief patients
                                                          the declining

                                                       them to take more OxyContin before the
experience toward the end of each dosing period drives them

                                   increasing the
                           quickly increasing
next dosing period begins, quickly             the amount
                                                   amount of drug they are taking and spurring
                                                          of drug                     spurring

growing dependence.

113.   Purdue's
       Purdue's competitors
                competitors were aware of
                            were aware of this problem. For example, Endo ran advertisements

for
for Opana
    Opana ER
          ER referring   to"real"
              referring to  "real"12-hour
                                   12-hourdosing.   Nevertheless, Purdue
                                           dosing. Nevertheless,  Purdue falsely   promoted
                                                                          falsely promoted

OxyContin as if it were effective for a full 12 hours. Upon
                                             12 hours. Upon information
                                                            information and belief, Purdue's
                                                                        and belief, Purdue's sales

                continue to tell doctors in and around Galveston County that OxyContin lasts a full
representatives continue

12 hours.

E. Defendants also Engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

114.   Defendants herein participated in illicit and unlawful prescribing of opioids. For example,

Purdue did not report illegal prescribing of OxyContin until years after law enforcement
                                                             years after     enforcement shut down

a Los Angeles clinic that prescribed more than 1.1 million OxyContin tablets.
                                               1.1 million           tablets. In doing so, Purdue

                  profits at the expense of public health and safety.
protected its own profits




                                                  42
115.                     York found
        The State of New York found that Endo failed to require sales representatives
                                                                      representatives to report

signs of addiction, diversion, and inappropriate prescribing; paid
                                                              paid bonuses to sales representatives

for detailing prescribers who were subsequently arrested
                                                arrested or
                                                         or convicted for illegal prescribing; and

          prevent sales
failed to prevent sales representative
                         representative from
                                        from visiting
                                             visiting prescribers
                                                      prescribers whose
                                                                  whose suspicious
                                                                        suspicious conduct
                                                                                   conduct had

caused them to be place on a no-call list.

F. Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

116.   As part
          part of
                oftheir
                    theirdeceptive
                           deceptivemarketing   scheme, Defendants
                                     marketing scheme,   Defendants identified
                                                                     identified and
                                                                                and targeted
                                                                                     targeted

susceptible prescribers and vulnerable patient
                                       patient populations
                                               populations in  the U.S. and, upon information and
                                                            in the

belief, in
belief, in and
            and around
                 around Galveston
                         Galveston County.
                                   County. For
                                           For example,
                                                example, Defendants
                                                         Defendants focused
                                                                    focused their
                                                                            their deceptive
                                                                                   deceptive

marketing    primary care
          on primary
marketing on              doctors, who
                     care doctors, who were
                                       were more
                                            more likely
                                                 likely to       chronic pain patients and
                                                        to treat chronic

prescribe opioids, but were less likely to be educated about treating
                                                             treating pain and the
                                                                               the risks
                                                                                   risks and benefits

of opioids.

117.   Defendants also targeted vulnerable patient populations
                                                   populations like the elderly and veterans who

tend to suffer from chronic pain. Defendants targeted these vulnerable patients even though their

      of long-term opioid use were significantly greater.
risks of

118.   For example, the 2016 CDC Guideline observes
                                           observes that
                                                    that existing evidence
                                                                  evidence shows
                                                                           shows that
                                                                                 that elderly

patients taking opioids suffer from elevated fall and fracture risks, greater risk of hospitalization,

    increased vulnerability
and increased vulnerability to adverse
                               adverse drug effects
                                            effects and interactions.
                                                         interactions. The Guideline
                                                                           Guideline therefore
                                                                                      therefore

concludes that
concludes  that there
                there are "special risks
                      are "special risks of long-term
                                             long-term opioid
                                                       opioid use for elderly
                                                              use for  elderly patients" and
                                                                               patients" and

recommends that doctors use "additional caution and increased monitoring" to minimize the risks

of opioid use in elderly patient."

119.   The same
       The same is true
                    true for
                          forveterans,
                              veterans, who
                                        who are
                                             are more
                                                  more likely
                                                         likely totouse
                                                                     useanti-anxiety
                                                                          anti-anxiety drugs
                                                                                        drugs

(benzodiazepines) for post-traumatic stress disorder, which interact dangerously with opioids.




                                                 43
G.       Although Defendants Knew that their Marketing of Opioids was False and Deceptive, and
         they Fraudulently
              Fraudulently Concealed
                           Concealed their Misconduct.

120.     Defendants, both individually and collectively,
                                           collectively, made, promoted, and
                                                         made, promoted, and profited from their

                                                           for chronic pain even though they knew
misrepresentations about the risks and benefits of opioids for

their misrepresentations were false and deceptive. The history of opioids, as well as research and
                                                   The history

clinical experience over
clinical experience over the
                         the last 20 years,
                                     years, established
                                            established that opioids             addictive and
                                                             opioids were highly addictive

responsible for a long list
                       list of
                            of very
                               very serious adverse outcomes.

121.        only did the FDA and other regulators warn Defendants, but Defendants had access to
        Not only

scientific studies, detailed prescription
scientific studies,          prescription data,
                                          data, and
                                                and reports
                                                    reports of adverse events,
                                                            of adverse events, including
                                                                               including reports
                                                                                         reports of

addiction, hospitalization, and
                            and deaths
                                deaths —
                                       — all
                                          allof
                                              ofwhich
                                                whichmade
                                                      madeclear
                                                           clearthe
                                                                 the harms  from long-term opioid
                                                                     harms from

use, including the suffering from addiction, overdoses, and death in alarming numbers in patients
                                             overdoses, and

using opioids.

122.     More recently,
         More recently, the FDA and
                                and CDC
                                    CDC have
                                        have issued  pronouncements based
                                              issued pronouncements based on the medical
                                                                                 medical

evidence that conclusively expose the known
                                      known falsity ofDefendants'
                                            falsity of Defendants' misrepresentations, and Endo

and Purdue have recently entered agreements
                                 agreements prohibiting
                                            prohibiting them
                                                         them from
                                                              from making
                                                                   making some
                                                                          some of the same

misrepresentations described herein in New York.

123.     Specifically,  three current
         Specifically, three  current and
                                      and former
                                          former executives
                                                 executivesfrom
                                                            from Purdue
                                                                 Purdue plead
                                                                        plead guilty
                                                                              guilty in
                                                                                     in 2007
                                                                                        2007 to

criminal charges that
criminal charges that they misled
                           misled regulators,
                                  regulators, doctors,
                                              doctors, and
                                                       and patients
                                                           patients about
                                                                    about OxyContin's
                                                                          OxyContin's risk
                                                                                      risk of

addiction.32 In
              Inpleading
                   pleading
                          guilty
                            guilty
                                 to to
                                     misbranding
                                       misbrandingcharges,  Purdue admitted
                                                   charges,Purdue   admitted itit had
                                                                                   had fraudulently
                                                                                        fraudulently

                                                     and as having fewer side effects than other
marketed OxyContin as a drug less-prone to addiction and

opioids.33 In reality, unlike other opioids, OxyContin contained pure oxycodone without any other


32
32 See Barry Meier, "In Guilty Plea, OxyContin Maker to Pay $600 $600 Million," (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/1
http://,"Rv,A,.iivtimes.com/2007/05/1 0/business/I 1ldrug-web.html.
                                                     drug-web.html.
33
33 See Id.




                                                         44
ingredients, which made it a powerful narcotic despite its time-release design that Purdue touted

   ameliorating its
as ameliorating  its addictive
                     addictivepotentia1. 34
                               potentia1.34

124.     Moreover, Defendants
                   Defendants took
                              took steps          detection of and to fraudulently
                                   steps to avoid detection           fraudulently conceal their

deceptive marketing
deceptive marketing and unlawful,
                        unlawful, unfair,      fraudulent conduct. For
                                  unfair, and fraudulent           For example,  Defendants
                                                                        example, Defendants

disguised their
disguised their own
                own role in the
                            the deceptive
                                deceptive marketing    chronic opioid therapy by funding and
                                          marketing of chronic

        through third
working through third parties
                      parties like
                              like Front
                                   Front Groups
                                         Groups and KOLs.

125.     Finally, Defendants manipulated their promotional materials and the scientific literature to

make it appear that these items were accurate, truthful, and supported by objective evidence when

they were not.

126.     Thus, Defendants successfully concealed from the medical community and patients facts

                               of the claims Galveston County now asserts. Galveston County did
sufficient to arouse suspicion of

not know of the existence or scope
                             scope of Defendants' industry-wide fraud and could not have acquired
                                   of Defendants'

                       through the exercise of reasonable diligence.
such knowledge earlier through

H.       By Increasing Opioid Prescriptions and Use Defendants' Deceptive Marketing Scheme has
                                                Use Defendants'
         fueled the Opioid Epidemic and Devastated Galveston County Communities.

127.                 misrepresentations deceived doctors and patients about the risks and benefits
         Defendants' misrepresentations

of long-term opioid use. Studies reveal that many doctors and patients
                                                  doctors and patients are unaware of or do not

                                                                    report that they were not warned
understand the risks or benefits of opioids. Indeed, patients often report

                                                    them. As reported in January 2016, a 2015
they might become addicted to opioids prescribed to them.

survey                    opioid patients
survey of more than 1,000 opioid patients found
                                          found that     out of 10 were not
                                                 that 44 out            not told
                                                                             told opioids
                                                                                  opioids were
                                                                                          were

            addictive.35
potentially addictive.35



31
34 See Id.
35 Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities. (Jan. 27, 2016), available at
31
http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-missing-questions-that-could-
http://www.hazeldenbettyford. org/about-us/news-and-media/pressrelease/doctors-missing=questions-that-could-
preyent-opioid-addiction.
prevent-op i oi d-addictio n.



                                                      45
128.   Upon
       Upon information and belief,
            information and         Defendants' deceptive
                            belief, Defendants' deceptive marketing
                                                          marketing scheme caused and
                                                                    scheme caused and

continues to cause doctors in and around Galveston County to prescribe opioids for chronic pain
                                                   County to

                        pain, headaches,
conditions such as back pain, headaches, arthritis,
                                         arthritis, and fibromyalgia.Absent
                                                    andfibromyalgia. AbsentDefendants'
                                                                            Defendants' deceptive

marketing scheme, these doctors would
                                would not have been able to
                                               been able to over prescribe opioids or become

embroiled in pill mills that negatively impacted residents of Galveston County.

129.   For example,
           example, upon  information and
                    upon information  and belief,
                                          belief, Defendants'  deceptive marketing
                                                  Defendants' deceptive  marketing scheme
                                                                                   scheme

allowed
allowed doctors located in or
        doctors located    or near
                              near Galveston
                                   Galveston County,
                                             County, Texas to  promote, overprescribe,
                                                           to promote,  overprescribe, and

financially                          opioids. Indeed,
financially benefit from prescribing opioids.         some doctors "knowingly or intentionally
                                              Indeed, some

              distributed, dispensed,
manufactured, distributed, dispensed, or possessed with
                                      or possessed with the
                                                         the intent to manufacture, distribute, or

dispense a controlled substance, including opioids such
                                                   such as OxyContin, Hydrocodone, Vicodin, or
                                                        as OxyContin,

Fentanyl
Fentanyl in violation of the Texas Controlled Substances
                             Texas Controlled SubstancesAct
                                                         Act in  Tex. Health
                                                              in Tex. Health &
                                                                             & Safety
                                                                               Safety Code §

481.001 et seq.

130.   If the manufacturing     distributing Defendants
              manufacturing and distributing            were not over-supplying opioids, then
                                             Defendants were

physicians could not devise schemes to prescribe opioids without a legitimate purpose as a means
                                                 opioids without

to flood the open market with opioids, such as OxyContin, Hydrocodone, Vicodin, and Fentanyl.
                                               OxyContin, Hydrocodone,

131.   While Defendants may
       While Defendants may claim             government authorized
                            claim the federal government            the amount
                                                         authorized the amount of annual

prescription opioids sold, they know in truth that several Defendants have successfully used their
                                                   several Defendants

organized money and influence to render the
                                        the federal government's enforcement agency, the Drug
                                            federal government's

Enforcement                 virtually powerless
            Administration, virtually
Enforcement Administration,           powerlesstoto interrupt
                                                     interrupt the                prescription
                                                                   over-supply of prescription
                                                               the over-supply

opioid drugs.

132.   Defendants' deceptive marketing scheme
                                       scheme also
                                              also caused
                                                   caused and continues to
                                                          and continues to cause
                                                                           cause patients to

purchase and use opioids for their
purchase and                 their chronic      believing they are safe
                                   chronic pain believing          safe and effective. Absent
                                                                        and effective. Absent




                                               46
Defendants' deceptive
Defendants' deceptive marketing
                      marketingscheme,
                                scheme, fewer
                                        fewer patients would be using opioids long-term to treat

chronic pain, and those patients using opioids would be using less of them.

133.    Defendants' deceptive marketing has caused
                                            caused and
                                                   and continues
                                                       continues to cause the prescribing and

use of
use of opioids
        opioids to
                 to explode.
                     explode. Indeed,
                               Indeed, this
                                        this dramatic
                                              dramatic increase
                                                        increase in
                                                                 in opioid
                                                                     opioid prescriptions
                                                                             prescriptions and
                                                                                           and use
                                                                                               use

corresponds with
corresponds with the
                 the dramatic
                     dramatic increase
                              increase in Defendants'
                                          Defendants' spending on their
                                                                  their deceptive
                                                                        deceptive marketing
                                                                                  marketing

scheme. Defendants'
        Defendants' spending
                    spending on
                             on opioid
                                opioid marketing totaled approximately $91 million in 2000. By

2011, that spending had tripled to $288 million.

134.    The escalating number of opioid prescriptions
                                        prescriptions written
                                                      written by
                                                              by doctors
                                                                 doctors who
                                                                         who were deceived by

Defendants' deceptive
            deceptive marketing scheme is the cause of a correspondingly
                                                         correspondingly dramatic increase in

opioid addiction, overdoses, or death through the U.S. and Galveston County.

135.    Scientific evidence
        Scientific evidence demonstrates
                            demonstrates aa strong
                                            strong correlation
                                                   correlation between
                                                               between opioid prescriptions and

becoming addicted
         addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids has

quadrupled since 1999, which
                       which has
                             has resulted in a parallel increase in opioid overdose.36 Indeed, there

has been aa two-third
             two-third increase
                        increase in
                                 in overdose
                                     overdose deaths
                                              deaths from using opioids
                                                                opioids since
                                                                        since 2000.37
                                                                              2000.37 For these
                                                                                           these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

critical "to reverse
critical     reverse the cycle
                         cycle of
                               of opioid
                                   opioid pain
                                          pain medication
                                               medication misuse
                                                          misuse that contributes
                                                                      contributes to the opioid
                                                                                         opioid

overdose epidemic."38

136.    Due to the increase in opioid overdoses, first responders such as police officers have been

and will continue to be in the position to assist people experiencing opioid-related overdoses.39 In




36
36 CDC,
   CDC, national
         national Vital
                  Vital Statistics
                        Statistics System,
                                   System, Mortality, CDCWONDER, (2016), https://wonder.cdc.gov/; Rudd, RA, Seth
P, David F, Scholl
             Scholl L,
                    L, Increases
                        Increases In
                                   InDrug
                                      Drugand
                                            andOpioid-Involved
                                                 Opioid-Involved Overdose
                                                                 Overdose Deaths-United States 2010-2015, MMWR
Rep. (16 Dec. 2016).
37 MMWR (1 Jan., 2016), Increases
                            Increases in Drug
                                          Drug and Opioid Deaths - United States 2000-2014.
38 CDC Guidelines for Prescribing
                        Prescribing Opioids
                                     Opioids for Chronic Pain, supra; see also supra at note 34.
39
39 Opinion of
           of the Attorney General
                             General of
                                      of Texas, KP-0168 (Oct. 4, 2017).



                                                      47
2016, "over
2016,             law enforcement
      "over 1,200 law  enforcement departments
                                   departments nationwide
                                               nationwide carried
                                                           carriednaloxone
                                                                   naloxonein
                                                                            in an effort to
                                                                               an effort
                                40
prevent opioid-related deaths." 4o

137.    Upon information
        Upon information and belief, Defendants'
                         and belief, Defendants' deceptive
                                                 deceptive marketing
                                                           marketing scheme
                                                                     scheme has also
                                                                            has also

detrimentally impacted
detrimentally impacted children
                       children in Galveston
                                   Galveston County.
                                             County. Overprescribing
                                                     Overprescribing opioids
                                                                     opioids for
                                                                             for chronic pain

has made the drugs more accessible to school-aged children, who come into contact with opioids

after they have been prescribed to friends or relatives in the same household.

138.    Upon information
        Upon information and belief,
                             belief, Defendants'
                                     Defendants' conduct
                                                 conduct has
                                                         has adversely
                                                              adversely affected
                                                                        affected Galveston
                                                                                 Galveston

County's child
County's child protection
               protection agencies
                          agencies in the number of children in foster care driven by parental drug

addiction. Children with parents addicted to drugs tend to stay in foster care longer, and they often

enter the system having experienced significant trauma, which makes these cases more expensive

for counties like Galveston County.

139.         information and
        Upon information and belief, opioid addiction is a significant
                                                           significant reason
                                                                       reason that
                                                                               that Galveston
                                                                                    Galveston County

residents seek treatment for substance
residents                    substance dependence.
                                       dependence. A
                                                   A significant
                                                     significant number
                                                                 number of admissions for drug

addiction were associated with a primary diagnosis of opiate addiction or dependence.

140.         information and belief, Defendants' creation, through false and deceptive advertising
        Upon information

                              conduct, of a virtually
and other unlawful and unfair conduct,      virtually limitless
                                                      limitless opioid market has significantly
                                                                                  significantly

harmed communities
harmed communities in
                    in Galveston
                       Galveston County.
                                 County. Defendants'
                                         Defendants' success
                                                     success in
                                                              in extending
                                                                 extending the market for
                                                                           the market

opioids to new patients and chronic pain conditions has created an abundance
opioids                                                            abundance of drugs available

    non-medical and
for non-medical and criminal
                    criminal use
                             use and
                                 and fueled
                                     fueled aa new
                                               new wave
                                                   wave of addiction
                                                           addiction and
                                                                     and injury.
                                                                         injury. It has been

estimated that 60%-80% of the opioids to which people are addicted come, directly or indirectly,

through doctors' prescriptions.




4° Id.
ao      (citinghttp://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/)
    Id.(citing http://www.nchrc.org/law-enforcement/us-law-enforcement-wlio-carry-naloxonen



                                                      48
141.     Law enforcement agencies have increasingly associated
                                                    associated prescription
                                                               prescription drug addiction with

violent and
violent     property crimes. Despite
        and property         Despite strict
                                     strict federal
                                            federal regulation
                                                    regulation of prescription
                                                                  prescription drugs,
                                                                               drugs, local
                                                                                      local law

enforcement agencies
enforcement agencies are
                     are faced      increasing diversion
                         faced with increasing diversion from legitimate sources
                                                         from legitimate sources for illicit
                                                                                     illicit

purposes, including
purposes,           doctor shopping,
          including doctor shopping, forged
                                     forged prescriptions,
                                            prescriptions, falsified
                                                           falsified pharmacy records, and
                                                                     pharmacy records,

employees who
employees who steal
              steal from                employment. The
                    from their place of employment.            epidemic has prompted
                                                        opioid epidemic
                                                    The opioid              prompted a

growing trend
growing          crimes against
        trend of crimes  against pharmacies
                                 pharmacies including
                                            including robbery     burglary. This
                                                      robbery and burglary. This ongoing
                                                                                 ongoing

diversion of prescription narcotics creates a lucrative marketplace.

142.     The rise in opioid addiction caused by Defendants' deceptive marketing schemes has also

resulted in an explosion in heroin use. For example, heroin use has more than doubled in the past

decade among
decade among adults
             adults aged
                    aged 18 to 25 years.41
                                  years.41 Moreover, heroin-related
                                                     heroin-related overdoses
                                                                    overdoses in the United

States has more than
                than quadrupled
                     quadrupledsince
                                since2010.42
                                      2010.42

143.     The costs and consequences of opioid addiction are staggering. For example, in 2007, the

cost of healthcare due to opioid addiction and dependence was
                                                          was estimated at $25 billion, the cost of

criminal justice
criminal justice was
                 was estimated
                     estimated at $5.1 billion,
                                       billion, and the cost of
                                                             of lost
                                                                 lost workplace
                                                                      workplace productivity
                                                                                productivity was

estimated at $25.6 billion.

144.                  prescription opioid addiction and overdose have an enormous impact on the
        Consequently, prescription

health and safety of individuals, as well as communities at large, because the consequences of this

epidemic reach far beyond the addicted individual.

145.    Upon information and belief, some of the repercussions for residents of Galveston County

include job loss, loss of
                       of custody of
                                  of children, physical and mental health problems, homelessness,

and incarceration, which results in instability in communities often already in economic crisis and




     CDC, Vital
a41' CDC, Vital Signs:
                Signs: Today's
                       Today'sHeroin
                               HeroinEpidemic
                                      Epidemic—
                                              — More
                                                More People
                                                     People at
                                                            at Risk,
                                                               Risk, Multiple
                                                                     Multiple Drugs
                                                                              Drugs Abused;
https://www.cdc.gov/vitalsigns/heroinfindex.html.
https://www.cdc.gov/vitalsigns/heroin/index.litml.
42 Id.
az Id.



                                                      49
contributes to increased demand on community services such as hospitals, courts, child services,
                                             services such

treatment centers, and law enforcement.

146.               knew and should have known about these
        Defendants knew                              these harms
                                                           harms that
                                                                 that their
                                                                      their deceptive
                                                                            deceptive marketing
                                                                                      marketing

has caused and continues to cause and will cause in
                                                 in the
                                                    the future.
                                                        future. Defendants
                                                                Defendants closely monitored
                                                                                   monitored their

sales and the habits of
                     of prescribing doctors. Their sales representatives,
                        prescribing doctors.             representatives, who
                                                                          who visited
                                                                              visited doctors and

attended CMEs, knew which doctors were receiving their messages
                                                       messages and
                                                                and how
                                                                    how they
                                                                         they were
                                                                              were responding.
                                                                                    responding.

147.    Defendants also
        Defendants also had
                        had access
                            access to and
                                      and carefully watched government
                                          carefully watched government and
                                                                       and other
                                                                           other data
                                                                                 data that

                                                     injury, and death. Defendants
tracked the explosive rise in opioid use, addiction, injury,            Defendants not
                                                                                   not only knew,

but intended, that their
                   their misrepresentations
                         misrepresentations would
                                            would persuade
                                                  persuade doctors
                                                           doctors to prescribe     encourage
                                                                      prescribe and encourage

patients to use their opioids for chronic pain.

148.    Defendants' actions
        Defendants' actionsare
                            are neither
                                neither permitted nor excused by the fact that their drug labels may
                                        permitted nor                                            may

have allowed, or did not exclude, the use of opioids for chronic pain.
                                                     for chronic pain. FDA approval of opioids for

certain
certain uses did not give
                     give Defendants
                          Defendants license
                                     license to misrepresent
                                                misrepresent the
                                                             the risks
                                                                 risks and benefits
                                                                           benefits of opioids.

Indeed, Defendants'
Indeed, Defendants' misrepresentations
                    misrepresentations were
                                       were directly
                                            directly contrary
                                                     contrary to  pronouncements by,
                                                               to pronouncements by, and

guidance from, the FDA based on the medical evidence and their own labels.

149.    Nor is
        Nor is Defendants'
               Defendants' causal
                            causal role
                                   role broken
                                        broken by
                                               by the
                                                   the involvement
                                                        involvement of  doctors. Defendants'
                                                                    of doctors.  Defendants'

marketing efforts were ubiquitous
marketing efforts      ubiquitous and highly
                                      highly persuasive.
                                             persuasive. Their deceptive
                                                               deceptive messages
                                                                         messages tainted
                                                                                  tainted

virtually every source doctors
                       doctors could
                               could rely on for information
                                                 information and prevented
                                                                 prevented them from making

informed treatment
informed treatment decisions.
                   decisions. Defendants
                              Defendantsalso
                                         alsohijacked
                                             hijacked what
                                                      whatdoctors
                                                           doctorswanted
                                                                  wantedtotobelieve
                                                                             believe—
                                                                                    — namely,
                                                                                      namely,

that opioids represented a means of relieving their
                                              their patients' suffering and of practicing medicine

more compassionately. Moreover,
                      Moreover, opioids
                                opioids are
                                        are among
                                            among the
                                                   the drugs
                                                       drugs that require a Medication Guide

be provided directly to the patient that sets out in plain English the risks. It is the obligation of the

manufacturers and those in the chain of distribution to ensure that the Medication Guide sets out




                                                   50
          of the opioid
the risks of     opioid use
                        use in
                            in aa way
                                  way that
                                      that the
                                           the patient
                                               patient understands, regardless of what warnings the

                     or may
medical provider may or may not give. This obligation is non-delegable.

150.         information and belief, Defendants' actions
        Upon information                         actions and omissions were each a cause-in-fact

   Galveston County's
of Galveston County's past
                      past and
                            and future
                                 future damages.
                                         damages. Upon
                                                  Upon information
                                                        information and
                                                                    and belief,
                                                                        belief, Defendants'
                                                                                Defendants'

wrongful conduct caused injuries to Galveston County
                                              County in the past, continues to cause injuries to

Galveston County,
Galveston County, and will continue
                           continue to cause
                                       cause injuries
                                             injuries to
                                                      to Galveston
                                                         Galveston County in the future. Such

future darnages
future damages include,
                include, but
                         but are      limited to,
                             are not limited  to, additional
                                                   additional resources
                                                              resources for getting
                                                                            getting people
                                                                                    people into
                                                                                           into

appropriate treatment detoxification, counseling and medication assisted treatment of addicts, and

continuing care in recovery
continuing         recovery programs related to substance
                                                substance use
                                                          use disorder, medical treatment for

overdoses, life skills training for adolescents, increased law enforcement, and additional resources

   treat the
to treat  the psychological
               psychological effects
                             effects of
                                     of opioids
                                        opioids and
                                                and the
                                                     the underlying
                                                          underlying conditions
                                                                     conditions that make
                                                                                     make people
                                                                                          people

susceptible to opioid addiction.

   Defendants' Fraudulent
I. Defendants' FraudulentMarketing
                          Marketing Has
                                    Has Led
                                        Led to Record Profits.

151.   While using opioids has taken a toll
                                       toll on
                                            on Galveston
                                               Galveston County and its
                                                                    its residents,
                                                                         residents, Defendants
                                                                                    Defendants

have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in revenue for drug

companies like
companies      Defendants. Indeed,
          like Defendants. Indeed, financial
                                   financial information indicates that
                                             information indicates that each
                                                                         each Defendant
                                                                               Defendant

experienced aa material
experienced    material increase
                        increase in
                                  in sales,
                                     sales, revenue,
                                            revenue, and
                                                     and profits
                                                         profits from
                                                                 from the false
                                                                           false and
                                                                                  and deceptive
                                                                                       deceptive

                      unlawful and
advertising and other unlawful and unfair conduct described above.

               WI. FIRST
               VII.  FIRST CAUSE
                         CAUSE OFOFACTION
                                    ACTIONAGAINST
                                           AGAINSTALL
                                                   ALL DEFENDANTS:
                                                       DEFENDANTS:
                                     PUBLIC NUISANCE

152.   Galveston County
       Galveston County re-alleges
                        re-alleges and
                                   and incorporates
                                       incorporatesby
                                                    by reference
                                                       reference each
                                                                 each of the
                                                                          the allegations
                                                                               allegations

contained in the preceding paragraphs of this Petition as though fully set forth herein.




                                                51
153.                                           knowingly encouraged
                            belief, Defendants knowingly
       Upon information and belief,                      encouraged doctors
                                                                    doctors in
                                                                            in and around

Galveston County to prescribe, and residents to use, highly addictive opioids for chronic pain, even

though Defendants knew using opioids had a high risk of addiction and reduced quality of life.

154.   Upon information
       Upon information and
                        and belief,
                            belief, by
                                    by doing
                                        doing so,
                                               so, Defendants
                                                    Defendants purposefully   interfered with
                                                                purposefully interfered  with

Galveston County's
Galveston County's public health, public
                   public health, public safety, public peace,
                                         safety, public peace, public
                                                               public comfort,
                                                                      comfort, and public
                                                                                   public

convenience.

155.        information and
       Upon information and belief, Defendants, individually and in concert with each other, have

contributed to and/or assisted in creating and maintaining a condition that is harmful to the health

and safety of
and        of Galveston
              Galveston County
                        County residents
                               residents and/or unreasonably
                                                unreasonably interferes with the
                                                             interferes with the peace and

                      of life
comfortable enjoyment of life in violation of
                                           of Texas law.

156.       public nuisance
       The public nuisance created
                           created by
                                   by Defendants'
                                      Defendants'actions
                                                  actionsisissubstantial
                                                              substantialand
                                                                          andunreasonable
                                                                              unreasonable—
                                                                                          — it has

caused and continues
caused and               cause significant
           continues to cause  significant harm to
                                                to the
                                                    the community
                                                         community —
                                                                   — and
                                                                     and the harm
                                                                             harm inflicted
                                                                                   inflicted

outweighs offsetting
outweighs  offsettingbenefit.
                      benefit.The
                               Thestaggering
                                    staggeringfact
                                                factofof opioid
                                                         opioid use resulting from Defendants'
                                                                use resulting      Defendants'

marketing efforts have caused, and continues to cause, harm to the community including, but not

limited to:

               (a) Upwards of 30% of all adults use opioids. These
                                                             These high
                                                                   high rates
                                                                        rates of use have led to

                   unnecessary opioid addiction, overdose, injuries, and deaths;

               (b) Children have been exposed to opioids prescribed to family members or others

                   resulting in injury,
                   resulting    injury, addiction,
                                        addiction, and death. Upon information
                                                                   information and belief, easy

                             prescription opioids
                   access to prescription opioids has made opioids
                                                           opioids a recreational drug of choice

                   among teenagers; opioid
                                    opioid use among teenagers
                                                     teenagers is only outpaced by marijuana

                        Even infants have been born addicted to opioids due to prenatal exposure
                   use. Even

                   causing severe withdrawal symptoms and lasting developmental impacts;




                                                52
(c) Upon information and belief, residents
                                 residents of Galveston
                                              Galveston County who have never

   taken opioids have endured both the emotional and financial costs of caring for

              addicted to or injured by opioids and the loss
   loved ones addicted                                  loss of
                                                             of companionship,
                                                                 companionship,

   wages, or other support from family members
                                       members who
                                               who have
                                                   have used,
                                                        used, become addicted

   to, overdose on, or been killed by opioids;

    Upon information
(d) Upon information and belief, more broadly, opioid use
                                                      use and
                                                          and addiction has driven

   Galveston County residents' health care costs higher;

(e) Employers have lost the value of productive and healthy employees who have

   suffered from adverse consequences from opioid use;

                success in extending
(f) Defendants' success    extending the
                                     the market
                                         market for
                                                for opioids
                                                    opioids to new patients and

   chronic conditions has created an abundance of drugs available for criminal use

                         of addiction
   and fueled a new wave of addiction and injury. Defendants' scheme
                                                              scheme created
                                                                     created

   both the supply of narcotics to sell and the demand of addicts to buy them;

         demand has created
(g) This demand     created additional
                            additional illicit markets
                                               markets in
                                                       in prescription
                                                           prescription opiates,
                                                                        opiates,

   including those that return to the U.S. and communities like Galveston County,

   and other opiates, particularly heroin. The low cost of these drugs has led some

                initially become addicted
   of those who initially        addicted to prescription
                                             prescription opioids
                                                          opioids to migrate to

   cheaper opiates, fueling a new epidemic in the process;

    Upon information
(h) Upon information and belief, diverting
                     and belief, diverting opioids
                                           opioids into
                                                    into secondary,
                                                          secondary, criminal
                                                                      criminal

   markets and increasing the number of individuals who
                                                    who are addicted to opioids

       increased the demands
   has increased     demands on emergency
                                emergency services
                                          services and law enforcement
                                                           enforcement in

   Galveston County;




                                53
                      of Defendants'
              (i) All of Defendants'actions
                                     actionshave
                                             havecaused
                                                  causedsignificant
                                                         significantharm
                                                                     harmtotothe
                                                                              thecommunity
                                                                                  community—
                                                                                           — in

                  lives lost; addictions endured; the
                                                  the creation
                                                      creation of an illicit drug market; and all its

                  concomitant crime
                  concomitant crime and costs; unrealized economic
                                                          economic productivity;
                                                                   productivity; and broken

                  families and homes;

                       information and
              (j) Upon information and belief,
                                       belief, these
                                               these harms                human, medical,
                                                     harms have taxed the human, medical,

                  public health, law enforcement, and financial resources of Galveston County;

                  and

                  Defendants'interference
              (k) Defendants' interferencewith
                                          withthe
                                               thecomfortable
                                                  comfortableenj oyment of life of a substantial
                                                              enjoyment

                         of people is entirely unreasonable because there is limited social utility
                  number of

                     opioid use, and
                  to opioid      and any
                                     any potential
                                         potential value    outweighed by the gravity of harm
                                                   value is outweighed

                  inflicted by Defendants' actions.

      Defendants
158. Defendants   knew,
                knew, oror shouldhave
                         should   haveknown,
                                       known,that
                                              thatpromoting
                                                   promotingopioid
                                                             opioiduse
                                                                   use would
                                                                       would create
                                                                             create a public

nuisance in the following ways:

              (a) Upon information and belief, Defendants have engaged in massive production,

                  promotion, and
                  promotion, and distribution
                                 distributionof
                                              of opioids
                                                 opioids for
                                                          for use
                                                              use by the citizen
                                                                         citizen of
                                                                                 of Galveston
                                                                                    Galveston

                  County;

                  Defendants' actions
              (b) Defendants' actions created
                                      created and expanded the market for opioids, promoting its

                  wide use for pain management;

                  Defendants knew
              (c) Defendants knew or should
                                     should have
                                            have known
                                                 known that their promotion
                                                                  promotion would
                                                                            would lead to

                  addiction and other adverse consequences
                  addiction                   consequences that
                                                           that the larger
                                                                    larger community
                                                                           community would

                  suffer as a result.




                                                54
159.   Upon information and belief, Defendants' actions were, at the least, a substantial factor in

doctors and patients not accurately assessing
                                    assessing and weighing
                                                  weighing the
                                                           the risks
                                                               risks and benefits of opioids for

chronic pain therapy causing opioids to become widely available and used in Galveston County.

160.   Without Defendants' actions,
                           actions, opioid use would not have become so widespread, and the

enormous public health hazard of opioid addiction would
                                                  would not have existed and could have been
                                                        not have

averted.

161.   Upon information and belief, the health and safety of the citizens of
                                                                          of Galveston
                                                                             Galveston County,
                                                                                       County,

including those who use, have used, or will use opioids, as well as those affected by opioid users,

is aa matter
      matter of
             of great
                 great public
                       public interest
                               interest and
                                        and legitimate
                                             legitimate concern
                                                        concern to Galveston          citizens and
                                                                   Galveston County's citizens

residents.

162.   The public nuisance created, perpetuated, and maintained by Defendants can be abated and

further reoccurrence of
                     of such harm and inconvenience can be prevented.

163.   Upon information and belief,
                            belief, Defendants' conduct
                                                conduct has affected and continues to affect a

considerable number
considerable number of
                    of people
                       people within
                              within Galveston
                                     GalvestonCounty
                                               Countyand
                                                      andisis likely
                                                              likely to
                                                                     to continue    cause
                                                                        continue to cause

significant harm to patients who take opioids, their families, and the community at large.

164.   Each Defendant created or assisted in creating the opioid epidemic, and each Defendant is

jointly and severally
            severally liable for
                             for its
                                  its abatement.
                                      abatement. Furthermore,
                                                 Furthermore, each Defendant should be enjoined
                                                                                       enjoined

from continuing to create, perpetuate, or maintain said public nuisance in Galveston County.

             VIII. SECOND
                    SECONDCAUSE
                           CAUSEOF
                                 OFACTION
                                    ACTIONAGAINST
                                          AGAINST ALL
                                                  ALL DEFENDANTS:
                             COMMON LAW FRAUD

165.   Galveston County
       Galveston County re-alleges
                        re-alleges and
                                   and incorporates
                                       incorporatesby
                                                    by reference
                                                        reference each
                                                                  each of
                                                                       of the allegations
                                                                              allegations in

contained in the preceding paragraphs of this Petition as if fully set forth herein.

166.   At all relevant and
                       and material times, Defendants expressly and/or impliedly warranted that
                           material times,

opioids were safe, of
                   of inerchantable
                      merchantable quality, and fit for use.




                                                 55
167.               superior knowledge
       Defendants' superior knowledge and expertise,
                                          expertise, their relationship of trust and confidence

with doctors and the public, their specific knowledge regarding the risks and dangers of opioids,

                                                   marketing information about opioids, and the
their intentional dissemination of promotional and marketing

purpose of maximizing sales each gave rise to the affirmative duty to meaningfully disclose and

provide all material information about the risks and harms associated with opioids.

168.                                                           and acting through their
       At all times herein mentioned, Defendants, individually and                their employees

and agents and in concert with each other, fraudulently represented
                                                        represented to physicians, who Defendants

                                           representations, that opioids were safe and effective
knew would justifiably rely on Defendants' representations,

for treating chronic pain.

169.                                                  representations were fraudulently
                                                false representations
       Upon information and belief, Defendants' false                      fraudulently made

                of purpose that healthcare providers and patients would justifiably rely upon them
with the intent of

leading to the
leading    the prescription,
               prescription, administration,
                             administration, filling,
                                             filling, purchasing, and consumptions
                                                      purchasing, and consumptions of opioids
                                                                                      opioids in

Galveston County.

170.   Defendants' deliberate
       Defendants' deliberate misrepresentations
                              misrepresentations and/or concealment, suppression, and omission

of material facts as alleged herein include, but are not limited to:

               (a) Making false and misleading claims regarding the known risks of the addictive

                   nature of opioids and suppressing, failing to
                                                              to disclose, and mischaracterizing the

                                    of opioids and in concomitant costs, such as overdoses, deaths,
                   addictive nature of

                   and heroin addictions;

               (b) Making false and misleading written and oral statements that opioids are more

                    effective than traditional pain killers for
                                                            for chronic pain or effective at all and/or

                    omitting material information showing that opioids are not more effective than

                    other non-addictive drugs for chronic pain;




                                                  56
                            false and misleading warnings and/or
                (c) Issuing false                         andJor failure
                                                                 failure to
                                                                         to issue
                                                                            issue adequate
                                                                                  adequate warnings
                                                                                           warnings

                      concerning the risks and dangers of using opioids;

                                     misleading claims
                (d) Making false and misleading claims downplaying
                                                       downplaying the
                                                                   the risk
                                                                       risk of addiction when

                            opioids and/or
                      using opioids and/or setting
                                           setting forth guidelines that would purportedly identify

                      addictive behavior; and

                    Making false
                (e) Making false and
                                  and misleading
                                       misleading misrepresentations
                                                  misrepresentations concerning
                                                                     concerning the
                                                                                the safety,
                                                                                     safety,

                      efficacy, and benefits of opioids
                      efficacy,                 opioids without
                                                        without full     adequate disclosure
                                                                full and adequate disclosure of the

                      underlying facts
                      underlying facts that rendered such statements false and misleading.

171.    Defendants willfully, wantonly,
        Defendants            wantonly, and recklessly
                                            recklessly disregarded
                                                       disregarded their
                                                                   their duty
                                                                         duty to provide truthful

representations regarding the
                          the safety
                              safety and
                                     and risks of opioids.

172.    Defendants made these misrepresentations
                              misrepresentations with
                                                 with the
                                                      the intent that the healthcare community

and patients located wherever these opioid drugs were sold
                                                      sold or consumed would rely upon them.

173.    Defendants' misrepresentations
        Defendants' misrepresentations were
                                       were made with the intent of defrauding and deceiving the

        community to prescribe and
medical cominunity             and consumers to take opioids.

174.    Upon information
        Upon information and belief,
                             belief, Defendants'
                                     Defendants' fraudulent
                                                  fraudulent representations
                                                              representations evidence
                                                                              evidence their
                                                                                       their

callous, reckless, willful, and
                            and depraved indifference to the health,
                                                             health, safety,
                                                                     safety, and welfare
                                                                                 welfare of consumers

living in Galveston County.

175.    Defendants omitted, inisrepresented,
                            misrepresented, suppressed,
                                             suppressed, and
                                                         and concealed material facts concerning

the dangers and risk of injuries associated with the use of opioids as well
                        injuries associated                            well as the
                                                                               the fact
                                                                                   fact that
                                                                                        that the
                                                                                             the product
                                                                                                 product

was unreasonably dangerous.

176.   Upon information
       Upon information and belief, Defendants'
                        and belief, Defendants' purpose
                                                purpose was willfully blind
                                                        was willfully blind to,
                                                                            to, ignored,
                                                                                 ignored,

downplayed, avoided, and/or otherwise understated the serious
                                                      serious nature of the risks associated with

the use of opioids.




                                                  57
177.   Upon information
       Upon information and
                        and belief,
                            belief, the
                                    the treating
                                        treating medical community
                                                         community and
                                                                   and consuxners
                                                                       consumers in Galveston

County did not know that Defendants' representations were false and/or misleading and justifiably

relied on them.

178.   Defendants had
       Defendants     sole access to material facts concerning the dangers and unreasonable
                  had sole                                                     unreasonable risks

of opioids, which they
                  they intentionally concealed.

179.   Upon information and belief,
                            belief, as a direct and proximate
                                                    proximate result                fraudulent
                                                              result of Defendants' fraudulent

                                   concealment of facts upon which the medical community and
misrepresentations and intentional concealment

consumers in Galveston County reasonably relied, Galveston County suffered actual and punitive

damages.

               IX.                                   ALL DEFENDANTS:
                       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS:
                                        NEGLIGENCE

180.   Galveston County
       Galveston County re-alleges
                        re-allegesand
                                   and incorporates
                                       incorporatesby
                                                    by reference
                                                       reference each
                                                                 each of the
                                                                          the allegations
                                                                               allegations

contained in the preceding paragraphs of this Petition as if sully set forth herein.

181.   Manufacturing Defendants
       Manufacturing Defendantshave
                                have aa duty
                                        duty to exercise reasonable care
                                                exercise reasonable         marketing their
                                                                    care in marketing

opioids to physicians
opioids    physicians treating residents
                               residents of Galveston            Galveston County
                                            Galveston County and Galveston County residents.
                                                                                  residents.

Manufacturing Defendants
Manufacturing  Defendantshave
                          havebreached  their duty
                               breachedtheir       by knowingly
                                              duty by  knowingly and
                                                                  and fraudulently
                                                                        fraudulently

misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

182.   Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front Groups, and
       Manufacturing

other schemes to
other schemes    increase profits
              to increase profits at     cost of
                                  at the cost of public
                                                  public health
                                                          health causing
                                                                  causing an
                                                                           an opioid
                                                                               opioid epidemic.
                                                                                       epidemic.

Manufacturing Defendants have acted willfully, wantonly, and maliciously.

183.   Likewise, Distributor
       Likewise, Distributor Defendants
                             Defendantshave
                                        have aa duty
                                                duty to exercise
                                                        exercise ordinary
                                                                 ordinary care in distributing
                                                                                  distributing

opioids. Distributor
opioids. Distributor Defendants
                     Defendantshave
                                havebreached
                                     breachedtheir
                                              theirduty
                                                    dutyby
                                                         by failing
                                                             failing to
                                                                      to prevent
                                                                         prevent or reduce the
                                                                                 or reduce

             of opioids or to report the increase in the distribution and/or sale of opioids.
distribution of




                                                  58
184.   Distributor Defendants intentionally failed to prevent or reduce the distribution of opioids

or to report any
             any increases
                  increases in the
                               the sale of opioids
                                   sale of opioids so
                                                   so that
                                                      that they
                                                            they could
                                                                 could increase
                                                                        increase profits and
                                                                                         and receive
                                                                                             receive

rebates or kick-backs
rebates     kick-backs from
                        from Manufacturing
                             Manufacturing Defendants.
                                           Defendants. Distributor
                                                       Distributor Defendants
                                                                   Defendants have
                                                                              have acted
                                                                                   acted

willfully, wantonly, and maliciously.

185.   Upon information
       Upon information and
                        and belief,
                            belief, as
                                    as aaproximate
                                          proximate result,
                                                     result, Manufacturing
                                                             Manufacturing and
                                                                            and Distributor
                                                                                 Distributor

Defendants and their agents have caused Galveston
Defendants                              Galveston County
                                                  County to
                                                         to incur
                                                            incur excessive
                                                                  excessive costs
                                                                            costs to treat the

opioid epidemic
opioid epidemic in its County,
                       County, including,
                               including, but not limited
                                                  limited to, increased costs of social
                                                                                 social services,
                                                                                        services,

health systems, law enforcement, judicial system, and treatment and recovery facilities.

186.   Galveston County and its residents are therefore entitled to actual and punitive damages.

             X.      FOURTH CAUSE OF ACTION AGAINST ALL
                                                    ALL DEFENDANTS:
                                                        DEFENDANTS:
                                   GROSS NEGLIGENCE

187.   Galveston
       Galveston County re-alleges and
                 County re-alleges  and incorporates
                                        incorporatesby
                                                     by reference
                                                        reference each
                                                                  each of the
                                                                           the allegations
                                                                                allegations

contained in the preceding paragraphs of this Petition as though fully set forth herein.

188.               marketing scheme
       Defendants' marketing scheme to optimize
                                       optimize profits by misrepresenting and falsely touting

opioids as the panacea to chronic
                          chronic pain was done intentionally.

189.   Defendants' hiring of
       Defendants' hiring ofKOLs,
                             KOLs, Front
                                   Front Groups,
                                         Groups, and
                                                 and others to spread their fraudulent message

                         and beneficial
that opioids were useful and beneficial for chronic
                                            chronic pain was grossly negligent
                                                                     negligent and done with

conscious indifference toward or reckless disregard for the safety of others.

190.   Each Defendant's
            Defendant's actions and omissions as described herein, singularly or in combination
                        actions and

                 was malicious
with each other, was malicious resulting
                               resulting in damages
                                            damages and
                                                    and injuries
                                                        injuries to Galveston
                                                                    Galveston County
                                                                              County and its

residents.

191.   Upon information and belief, at every stage, Defendants knew or should have known that

their conduct would create an unreasonable risk of physical harm to others, including Galveston




                                                59
County and its residents, and
                          and should be held liable in
                                                    in punitive
                                                       punitive and
                                                                and exemplary
                                                                    exemplary damages
                                                                              damages to
                                                                                      to Galveston
                                                                                         Galveston

County.

    XI.                  OF ACTION AGAINST DISTRIBUTOR DEFENDANTS: TEXAS
             FIFTH CAUSE OF
                          CONTROLLED SUBSTANCES
                          CONTROLLED  SUBSTANCES ACT
                                                  ACT ("TSCA')
                                                       ("TSCA')

192.   Galveston County
       Galveston County re-alleges
                        re-alleges and
                                   and incorporates
                                       incorporatesby
                                                    by reference
                                                       reference each
                                                                 each of the
                                                                          the allegations
                                                                               allegations

contained in the preceding paragraphs of this Petition as if fully set forth herein.

193.   Distributor Defendants have knowingly distributed, delivered, administered, or dispensed

                          violation of
a controlled substance in violation of the
                                        the Texas
                                            Texas Controlled
                                                  Controlled Substances
                                                             Substances Act §§ 481.128(a)(1)
                                                                               481.128(a)(1) by

deceiving practitioners
deceiving practitioners into prescribing,
                             prescribing, dispensing,
                                          dispensing, delivering,
                                                      delivering, or
                                                                  or administering
                                                                     administering a controlled
                                                                                     controlled

substance or
substance or causing
             causing a controlled substance
                                  substance to     administered when
                                             to be administered when there
                                                                     there is no valid medical

                       Safety Code § 481.071.
purpose. Tex. Health & Safety

194.   As alleged herein, each Distributor Defendant, at all times relevant
                  herein, each                                     relevant to
                                                                            to this
                                                                               this Petition,
                                                                                    Petition, violated

the Texas Controlled Substances Act by making deceptive
                                              deceptive representations
                                                        representations about
                                                                        about using
                                                                              using opioids to

treat chronic pain. Each Distributor Defendant also omitted or concealed material facts and failed

                 misrepresentations and
to correct prior misrepresentations and omissions
                                        omissions about
                                                  about the
                                                         the risks
                                                             risks and
                                                                   and benefits
                                                                       benefits of opioids. Each

Distributor Defendant's omissions rendered
            Defendant's omissions rendered even
                                           even their seemingly truthful statements about opioids

deceptive.

195.   Upon information
       Upon information and
                        and belief,
                            belief, Distributor
                                    Distributor Defendants'
                                                Defendants' deceptive
                                                            deceptive representations
                                                                       representations and

concealments were
concealments      reasonably calculated
             were reasonably calculated to deceive
                                           deceive practitioners
                                                   practitioners treating Galveston County
                                                                 treating Galveston County

residents into prescribing opioids without any valid medical purpose, and Distributor Defendants

continue to do so to this day.

196.   As a direct and proximate cause of Distributor Defendants' deceptive conduct, Galveston

County should be awarded civil penalties pursuant to the Texas Controlled Substances Act.




                                                 60
                XII. SIXTH
                       SIXTH
                           CAUSE
                             CAUSE
                                 OFOFACTION
                                      ACTIONAGAINST
                                             AGAINSTALL
                                                    ALLDEFENDANTS:
                                                        DEFENDANTS:
                                     UNJUST ENRICHMENT

197.    Galveston County
        Galveston County re-alleges
                         re-alleges and
                                    and incorporates
                                        incorporatesby
                                                     by reference
                                                        reference each
                                                                  each of the
                                                                           the allegations
                                                                                allegations

contained in the preceding paragraphs of this Petition as if set forth fully herein.

198.    Upon information
        Upon information and
                         and belief,
                             belief, as
                                     as an expected
                                           expected and intended
                                                         intended result
                                                                  result of
                                                                         of their
                                                                             their conscious
                                                                                    conscious

wrongdoing
wrongdoing as
           as set forth in
                        in this
                            this Petition,
                                  Petition, Defendants
                                            Defendants have
                                                       have profited and benefited
                                                                         benefited from opioid
                                                                                        opioid

purchases made by Galveston County
                            County and its residents.

199.    Upon information and belief, when Galveston County and its residents purchased opioids,

they expected
     expected that Defendants
                   Defendants had provided
                                  provided necessary
                                           necessary and accurate information regarding the

material facts regarding the risks and benefits
                                       benefits of
                                                of opioids.
                                                   opioids. Instead, Defendants had misrepresented

those risks.

200.    Upon information
             information and belief, Defendants
                                     Defendants have
                                                have been
                                                     been unjustly
                                                          unjustly enriched
                                                                   enriched at
                                                                            at the expense
                                                                                   expense of

Galveston County and Galveston County is therefore entitled to damages to be determined by the

jury.

               XIII. SEVENTH
                      SEVENTHCAUSE
                              CAUSEOF
                                    OFACTION
                                       ACTIONAGAINST
                                              AGAINSTALL
                                                     ALL DEFENDANTS:
                                                         DEFENDANTS:
                                 CIVIL CONSPIRACY
201.    Galveston County
        Galveston County re-alleges
                         re-alleges and
                                    and incorporates
                                        incorporatesby
                                                     by reference
                                                        reference each
                                                                  each of the
                                                                           the allegations
                                                                                allegations

contained in the preceding paragraphs of this Petition as if set forth fully herein.

202.    The conduct of all Defendants as described above was
                                                         was done in furtherance of a conspiracy.

The joined Defendants had knowledge of, agreed to, and intended a common objective or course

of action to be accomplished by unlawful means or for an unlawful
                                                         unlawful purpose and committed one or

more unlawful, overt acts in furtherance of the same that resulted in the damages that Plaintiff has

sustained and
sustained and continues
              continues to
                         to sustain
                            sustain on
                                    on aa regular
                                          regular basis.
                                                  basis. All
                                                         All of
                                                             of the
                                                                 the Defendants
                                                                     Defendants performed
                                                                                performed acts to

further the conspiracy and are jointly and severally liable
                                                     liable for the damages,
                                                                    damages, costs and expenses
                                                                                       expenses

associated with their conduct.



                                                 61
203.     More specifically,     Defendants coordinated
              specifically, the Defendants coordinatedtheir
                                                       their efforts
                                                             efforts to
                                                                      to create    market for their
                                                                         create aa market

opioid medications based on an industry-created misperception by the medical community and the

public of the benefits and risks of these drugs. The specific actions taken by the Defendants have
                                    these drugs.

                                               include the support and dissemination of medical
been described elsewhere in this pleading, but include                                  inedical

                information calculated
and promotional information calculated to
                                        to assure
                                           assure prescribers
                                                  prescribers and
                                                              and patients
                                                                  patients of the safety
                                                                           of the safety of these

drugs. This
       Thiscommon  behavior was
            common behavior was illegal and tortious in many respects and was aa direct cause of
                                illegal and

                of both legal and illegal opioid drug use.
the propagation of

204.   The conduct of the Defendants demonstrates the manner in which the objective of the civil
                                                  the manner

conspiracy was
conspiracy was accomplished. The healthcare
               accomplished. The            providers and clinics
                                 healthcare providers     clinics prescribed
                                                                  prescribed and dispensed
                                                                                 dispensed

millions             opioids under the auspices
millions of doses of opioids           auspices of a distribution system that
                                                     distribution system that purported
                                                                              purported to
                                                                                        to be

"closed"
"closed" and carefully monitored.
         and carefully             Thefact
                       monitored. The  factthat
                                            thatthe
                                                 thehealthcare
                                                     healthcare providers  and clinics
                                                                 providers and clinics were
                                                                                       were

empowered to make available to the public inconceivable quantities of these dangerous drugs can
                                          inconceivable quantities

                                                     makers and distributors knew and
be explained only by concluding that the opioid drug makers                       and supported
                                                                                      supported

the behavior
    behavior of
             of these
                 these healthcare
                       healthcareproviders  andclinics.
                                  providersand  clinics.With
                                                         Withawareness
                                                              awareness——actual
                                                                          actualor
                                                                                 orconstructive
                                                                                    constructive—
                                                                                                —

of the conduct
       conduct of
               of the   healthcare providers
                   the healthcare  providers and clinics
                                                 clinics and their ilk,
                                                                    ilk, reasonable        would
                                                                          reasonable minds would

necessarily conclude that
necessarily conclude          corporate Defendants
                     that the corporate Defendants were
                                                   were aware
                                                        aware of and supported
                                                                     supported the wrongful

conduct and accompanying harm attributable to the
                                              the prescribing     dispensing by
                                                  prescribing and dispensing by the healthcare

providers and clinics.

205.          medical community
          The medical community and
                                and the
                                    the public
                                        public rely
                                               rely upon                  prescription drug
                                                    upon the integrity of prescription

companies to advertise, promote, and market their products
                                                  products in
                                                           in conformity with both common
                                                                         with both common law

and statutory obligations. There is
              obligations. There  is an
                                     an overriding
                                         overriding responsibility    promote these
                                                    responsibility to promote these products
                                                                                    products in a

manner that
manner         truthful and that
       that is truthful     that disclose important safety
                                 disclose important safety information. Similarly, when drug
                                                           information. Similarly,

companies engage in
companies engage                      communication, they
                 in indirect forms of communication,  they have   concomitant obligation
                                                           have a concomitant obligation to




                                                62
disseminate only accurate
disseminate only accurate and
                          and honest
                              honest product
                                     product information.       responsibility applies
                                              information. This responsibility applies to the

myriad vehicles by which drug makers influence product
                                               product use:
                                                       use: marketing brochures for physicians

and patients, TV commercials, FAQ'S, continuing medical education programs, web sites, and on
                              FAQ'S, continuing

and on. In
         Inall
            allof
               ofthese
                  theseinstances,
                        instances, the
                                    the members
                                        members of the opioid drug industry have both common law
                                                of the

and regulatory restraints
               restraints that
                          that govern
                               govern their
                                      their behavior.    is alleged
                                            behavior. It is alleged that
                                                                    that the
                                                                          the corporate
                                                                              corporate Defendants
                                                                                        Defendants

violated these rules and disseminated untrue, misleading, and erroneous
                                                              erroneous information about opioids.

206.    The joined Defendants are also guilty of acting in concert to profit from the opioid crisis.

The drug manufacturers and distributors, as alleged herein, were responsible for maintaining and

environment in which
environment in which opioid drugs were
                     opioid drugs were available
                                       available in
                                                 in massive quantities and
                                                    massive quantities and were subject to
                                                                           were subject

significant rates of diversion to illicit uses.
                                          uses. Plaintiff contends that the vast majority of healthcare
                                                Plaintiff contends

providers who prescribed opioids, and clinics or pharmacies that dispenses them, were legitimate

businesses.

207.    It is alleged
              alleged that
                      that one
                           one or
                               or more
                                  more of
                                       of the
                                           the corporate
                                                corporate Defendants            knowledge of the
                                                          Defendants had actual knowledge

business operations of clinics and passively supported
business operations                          supported the
                                                       the clinics               monitor, detect,
                                                           clinics by failing to monitor,

investigate, and report suspicious
investigate, and        suspicious orders
                                   orders of prescription opiates, in
                                             prescription opiates,               the corporate
                                                                   in which case the corporate

Defendants remain liable for the conduct of the clinics and their operators.

                                     XIV. RULE
                                           RULE193.7
                                                193.7NOTICE
                                                     NOTICE

208.   Pursuant to Rule 193.7 of the Texas Rule of Civil Procedure, Plaintiff hereby gives actual

notice to Defendants that any and all documents produced by any Defendants may be used at any

pretrial
pretrial proceeding
         proceeding and/or
                    and/or at
                           at trial
                              trial of this
                                        this matter
                                             matter without the necessity
                                                    without the necessity of
                                                                          of authenticating
                                                                              authenticating the

documents.




                                                  63
                                    PRAYER FOR RELIEF

                         Galveston County, respectfully prays:
   WHEREFORE, Plaintiff, Galveston

                                                 adjudged and
                          acts alleged herein be adjudged
             (a) That the acts                            and decreed
                                                              decreed to
                                                                      to be unlawful and that

                          enter a judgment declaring them to be so;
                the Court enter

                          Defendants be enjoined
             (b) That the Defendants                               indirectly, through KOLs,
                                        enjoined from, directly or indirectly,

                                                      continuing to
                Front Groups, or other third parties, continuing to misrepresent
                                                                    misrepresent the
                                                                                 the risk and

                benefits
                benefits of the use
                                use of
                                    of opioids for cbronic
                                       opioids for chronic pain
                                                           pain or off-label          from
                                                                   off-label uses and from

                continuing to violate Texas law;

             (c) That
                 That Plaintiff
                      Plaintiff recover all measure
                                recover all measure of
                                                    of damages,   including punitive
                                                        damages, including  punitive and
                                                                                     and

                exemplary
                exemplary damages, allowableunder
                          damages, allowable underthe
                                                   the law
                                                        law and
                                                            and that             entered
                                                                     judgment be entered
                                                                that judgment

                against Defendants in favor of Plaintiff;

                                                       behalf of Galveston
                      Plaintiff recover restitution on behalf
             (d) That Plaintiff                                  Galveston County
                                                                           County consumers who

                paid for opioids for chronic pain;

                                 recover the costs and expenses of suit, pre-and post
             (e) That Plaintiffs recover                                         post-judgment
                                                                                      judgment

                interest, and reasonable attorneys' fees as provided by law; and

                      Defendants be
             (f) That Defendants be order
                                    order to                  nuisance that
                                             abate the public nuisance
                                          to abate                               created in
                                                                       that they created

                          of Texas common law.
                violation of

Dated: November 13, 2018




                                             z
                                             64
      Respectfully submitted,
      Respectfully  submitted,

By:   /s/ Jack D. Roady
      /s/JackD.   Roady
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      Jack  D.Roady
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        65
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COUNSEL
COUNSEL FOR PLAINTIFF
        FORPLAINTIFF
GALVESTON COUNTY,
GALVESTON COUNTY,TEXAS
                   TEXAS




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           The District Courts of Galveston County, Texas Status Conference Notice 
           The District Courts of Galveston County, Texas Status Conference Notice

                                       Please calendar this event
                                       Please calendar this event  

            All Status Conferences will be set for
            All                                    Thursdays (subject to exceptions for county holidays)
                Status Conferences will be set for Thursdays (subject to exceptions for county holidays)

          Court Name 
          Court Name               Status Conference Time 
                                   Status Conference Time                        Court Phone Number 
                                                                                 Court Phone Number
    th
10
10th District Court     
      District Court                     @  9:00 A.M. 
                                         @ 9:00 A.M.            409‐766‐2230                Fax               409‐770‐5266 
                                                                409-766-2230                Fax               409-770-5266
   th
56
56th  District Court     
      District Court                     @  9:30 A.M. 
                                         @ 9:30 A.M.            409‐766‐2226                Fax               409‐770‐5264 
                                                                409-766-2226                Fax               409-770-5264
     nd
122
122nd District Court   
        District Court                   @  9:30 A.M. 
                                         @ 9:30 A.M.            409‐766‐2275                Fax               409‐770‐6265 
                                                                409-766-2275                Fax               409-770-6265
     th
212
212th   District Court   
        District Court                   @  9:00 A.M. 
                                         @ 9:00 A.M.            409‐ 766‐2266               Fax               409‐765‐2610 
                                                                409- 766-2266               Fax               409-765-2610
     th
405
405th   District Court 
        District Court                  @ 10:00 A.M. 
                                         @ 10:00 A.M.           409‐765‐2688                Fax               409‐765‐2689 
                                                                409-765-2688                Fax               409-765-2689
                                                          


                             Date: 02/07/2019  set in the 212th District Court 
                             Date: 02/07/2019 set in the 212th District Court

Case Number: 
Case Number: 18‐CV‐1572 
              18-CV-1572

Case Style:  County of Galveston vs. Purdue Pharma LP, Et Al 
Case Style: County of Galveston vs. Purdue Pharma LP, Et Al

Helpful Information: 
Helpful               Please visit our website at 
         Information: Please visit our website at
http://www.galvestoncountytx.gov/dc/Pages/default.aspx 
http://www.galvestoncountytx.gov/dc/Pages/defaultaspx

FAQ 
FAQ


Forms 
Forms

Fee Schedules 
Fee Schedules

Remote Access to on‐line case record searches 
Remote Access to on-line case record searches

Contact and Mailing information 
Contact and Mailing information

Passport Services 
Passport Services

E Filing Information 
E Filing Information

Helpful Links to Legal Resources and sites  
Helpful Links to Legal Resources and sites

Notice: If this case is filed as an expedited action pursuant to Rule 169 of the Texas Rules of Civil Procedure, 
Notice: If this case is filed as an expedited action pursuant to Rule 169 of the Texas Rules of Civil Procedure,
please contact the Court to inform them of the same as soon as possible. 
please contact the Court to inform them of the same as soon as possible.

 

 



                              JOHN	D.	KINARD,	District	Clerk,	Galveston	County,	Texas	
                              JOHN  11 KINARD, District Clerk, Galveston County, Texas
         District	Clerk	Personnel	proudly	serving	our	customers,	community,	and	supporting	the	Judiciary 
         District Clerk Personnel proudly serving our customers, community, and supporting the Judiciary



 
                                                                                         Filed: 12/7/2018 8:18 PM
                                                                                   JOHN D. KINARD - District Clerk
                                                                                         Galveston County, Texas
                                                                                          Envelope No. 29601062
                                                                                                   By: Shailja Dixit
                                                                                              12/10/2018 1:51 PM

                              TRIAL CAUSE NO.
                              TRIAL CAUSE NO. 18-CV-1572
                                              18-CV-1572

COUNTY OF
COUNTY OF GALVESTON
          GALVESTON                            §        IN THE DISTRICT
                                                        IN THE DISTRICT COURT
                                                                        COURT
                                               §
       Plaintiff,
       Plaintiff,                              §
                                               §
vs.
vs.                                            §        212TH JUDICIAL DISTRICT
                                                        212TH JUDICIAL DISTRICT
                                               §
PURDUE PHARMA
PURDUE        LP, et
       PHARMA LP, et al.
                     al.                       §
                                               §
       Defendants.
       Defendants.                             §        GALVESTON COUNTY,
                                                        GALVESTON COUNTY, TEXAS
                                                                          TEXAS


          *************************************************************
          *************************************************************



                        MDL PRETRIAL
                        MDL PRETRIAL CAUSE NO. ___________
                                     CAUSE NO.
                        (MDL MASTER CAUSE
                        (MDL MASTER        NO. 2018-63587)
                                     CAUSE NO. 2018-63587)

                                               §        IN THE DISTRICT
                                                        IN THE DISTRICT COURT
                                                                        COURT
                                               §
                                               §
                                               §
IN RE TEXAS
IN RE TEXAS OPIOID
            OPIOID LITIGATION
                   LITIGATION                  §        152ND JUDICIAL
                                                        152ND          DISTRICT
                                                              JUDICIAL DISTRICT
                                               §
                                               §
                                               §
                                               §        HARRIS COUNTY,
                                                        HARRIS COUNTY, TEXAS
                                                                       TEXAS


          *************************************************************
          *************************************************************



                     NOTICE OF
                     NOTICE OF TRANSFER
                               TRANSFER OF
                                        OF TAG-ALONG
                                           TAG-ALONG CASE
                                                     CASE

       To the Honorable
       To the Honorable Court:
                        Court:

       As required
       As required by
                   by Rule
                      Rule 13.5(e)
                           13.5(e) and
                                   and Rule
                                       Rule 13.5(a),
                                            13.5(a), Rules
                                                     Rules of
                                                           of Judicial Administration, this
                                                              Judicial Administration, this

notice is
notice    to inform
       is to        the Court
             inform the Court that
                              that this
                                   this case
                                        case is transferred as
                                             is transferred as aa tag-along
                                                                  tag-along action
                                                                            action to
                                                                                   to the
                                                                                      the 152nd
                                                                                          152nd

District Court
District Court of
               of Harris
                  Harris County,
                         County, Texas before Judge
                                 Texas before Judge Schaffer.
                                                    Schaffer.
         On April
         On April 20,
                  20, 2018,
                      2018, Manufacturer Defendants1 filed
                            Manufacturer Defendants)  filed aa Motion
                                                               Motion to
                                                                      to Transfer six opioid-
                                                                         Transfer six opioid-

related Texas
related       cases and
        Texas cases and all
                        all future
                            future related
                                   related Texas
                                           Texas cases to aa pretrial
                                                 cases to    pretrial court
                                                                      court under
                                                                            under Rule
                                                                                  Rule 13
                                                                                       13 of
                                                                                          of the
                                                                                             the

Texas Rules of
Texas Rules of Judicial Administration. On
               Judicial Administration. On May
                                           May 1,
                                               1, 2018,
                                                  2018, Distributor Defendants2 joined
                                                        Distributor Defendants2  joined the
                                                                                        the

Rule 13
Rule 13 Motion
        Motion with
               with respect
                    respect to
                            to these
                               these cases
                                     cases and
                                           and identified
                                               identified two
                                                          two additional,
                                                              additional, related
                                                                          related Texas cases for
                                                                                  Texas cases for

transfer. On
transfer. On May
             May 10,
                 10, 2018, Manufacturer Defendants
                     2018, Manufacturer Defendants and
                                                   and Distributor
                                                       Distributor Defendants
                                                                   Defendants filed
                                                                              filed aa joint
                                                                                       joint

supplement to
supplement to the
              the Motion
                  Motion to
                         to Transfer, identifying ten
                            Transfer, identifying ten additional,
                                                      additional, related
                                                                  related cases
                                                                          cases for transfer.
                                                                                for transfer.

         On June
         On      13, 2018,
            June 13, 2018, the
                           the Texas MDL Panel
                               Texas MDL Panel granted the Motions
                                               granted the Motions to
                                                                   to Transfer in Docket
                                                                      Transfer in Docket No.
                                                                                         No.

18-0358, styled
18-0358, styled In
                In re
                   re Texas
                      Texas Opioid Litigation. (Order
                            Opioid Litigation. (Order Granting
                                                      Granting Motions
                                                               Motions to
                                                                       to Transfer,
                                                                          Transfer, attached
                                                                                    attached at
                                                                                             at

Appendix C.)
Appendix C.) On
             On June 18, 2018,
                June 18, 2018, the
                               the Texas
                                   Texas MDL
                                         MDL Panel
                                             Panel appointed
                                                   appointed the
                                                             the Honorable
                                                                 Honorable David
                                                                           David Peeples,
                                                                                 Peeples,

senior judge
senior judge of
             of the
                the 224th
                    224th District
                          District Court
                                   Court of Bexar County,
                                         of Bexar County, as
                                                          as the
                                                             the pretrial
                                                                 pretrial judge
                                                                          judge for
                                                                                for the
                                                                                    the Texas
                                                                                        Texas

Opioid Litigation MDL
Opioid Litigation MDL and
                      and transferred
                          transferred "all
                                      “all pending
                                           pending cases, together with
                                                   cases, together with any
                                                                        any tagalong
                                                                            tagalong cases,
                                                                                     cases, to
                                                                                            to

him.” (Appointment
him."              of Pretrial
      (Appointment of Pretrial Judge, attached at
                               Judge, attached at Appendix
                                                  Appendix D.)
                                                           D.)

         On August
         On August 25,
                   25, 2018,
                       2018, Judge Peeples recused
                             Judge Peeples recused himself. (Order of
                                                   himself. (Order of Voluntary
                                                                      Voluntary Recusal,
                                                                                Recusal,

attached at
attached at Appendix
            Appendix E.)
                     E.)              On September
                                      On September 5, 2018, the
                                                   5, 2018, the MDL
                                                                MDL Panel
                                                                    Panel reassigned
                                                                          reassigned the
                                                                                     the MDL
                                                                                         MDL

proceeding to
proceeding to Judge
              Judge Schaffer, ordering that
                    Schaffer, ordering that "the
                                            "the cases
                                                 cases listed
                                                       listed in
                                                              in the
                                                                 the Appendices
                                                                     Appendices of
                                                                                of the
                                                                                   the Motions
                                                                                       Motions
                                                                                        nd
for
for Transfer and all
    Transfer and all tag-along
                     tag-along cases
                               cases are
                                     are transferred
                                         transferred to
                                                     to Judge Robert Schaffer
                                                        Judge Robert          of the
                                                                     Schaffer of the 152
                                                                                     152nd District
                                                                                           District

Court of
Court of Harris
         Harris County."
                County." (Order
                         (Order Appointing
                                Appointing Pretrial
                                           Pretrial Court,
                                                    Court, attached
                                                           attached at
                                                                    at Appendix
                                                                       Appendix F.)
                                                                                F.) This case is
                                                                                    This case is

aa tag-along
   tag-along action
             action within
                    within the
                           the meaning
                               meaning of
                                       of the
                                          the Texas Rule of
                                              Texas Rule of Judicial Administration 13.2(g).
                                                            Judicial Administration 13.2(g).


11   The   Manufacturer Defendants
     The Manufacturer    Defendants that
                                      that filed
                                           filed the
                                                 the April
                                                      April 20
                                                            20 motion
                                                                motion were
                                                                         were Purdue
                                                                               Purdue Pharma
                                                                                       Pharma L.P.;
                                                                                                L.P.; Purdue
                                                                                                      Purdue Pharma
                                                                                                              Pharma Inc.;
                                                                                                                       Inc.;
     The   Purdue Frederick
     The Purdue    Frederick Company
                             Company Inc.;
                                        Inc.; Allergan
                                              Allergan Finance,
                                                       Finance, LLCLLC f/k/a
                                                                        f/k/a Actavis,
                                                                              Actavis, Inc.
                                                                                       Inc. f/k/a Watson Pharmaceuticals,
                                                                                            f/k/a Watson  Pharmaceuticals,
     Inc.;
     Inc.; Johnson
            Johnson & & Johnson;
                        Johnson; Janssen    Pharmaceuticals, Inc.;
                                  Janssen Pharmaceuticals,     Inc.; Ortho-McNeil-Janssen      Pharmaceuticals, Inc.
                                                                      Ortho-McNeil-Janssen Pharmaceuticals,            n/k/a
                                                                                                                  Inc. n/k/a
     Janssen Pharmaceuticals,
     Janssen   Pharmaceuticals, Inc.;
                                Inc.; Janssen   Pharmaceutica, Inc.
                                       Janssen Pharmaceutica,          n/k/a Janssen
                                                                  Inc. n/k/a Janssen Pharmaceuticals,
                                                                                      Pharmaceuticals, Inc.;   Endo Health
                                                                                                        Inc.; Endo   Health
     Solutions   Inc.; Endo
     Solutions Inc.;         Pharmaceuticals Inc.;
                       Endo Pharmaceuticals           Knoll Pharmaceutical
                                                Inc.; Knoll  Pharmaceutical Company,
                                                                               Company, aa wholly-owned
                                                                                              wholly-owned subsidiary
                                                                                                              subsidiary of
                                                                                                                          of
     AbbVie Inc.;
     AbbVie    Inc.; AbbVie
                     AbbVie Inc.;  Watson Laboratories,
                             Inc.; Watson   Laboratories, Inc.;   Actavis LLC;
                                                            Inc.; Actavis  LLC; and
                                                                                 and Actavis
                                                                                       Actavis Pharma,
                                                                                                Pharma, Inc.
                                                                                                         Inc. f/k/a
                                                                                                              f/k/a Watson
                                                                                                                    Watson
     Pharma, Inc.
     Pharma,   Inc.
2
2
     The Distributor Defendants
     The Distributor Defendants that
                                that filed the May
                                     filed the May 11 motion
                                                      motion were
                                                             were AmerisourceBergen
                                                                  AmerisourceBergen Drug
                                                                                    Drug Corporation,
                                                                                         Corporation, McKesson
                                                                                                      McKesson
     Corporation, and
     Corporation, and Cardinal
                      Cardinal Health,
                               Health, Inc.
                                        Inc.




                                                             22
       Upon filing
       Upon        this notice
            filing this notice of transfer with
                               of transfer with the
                                                the Transfer Order, this
                                                    Transfer Order, this case is deemed
                                                                         case is        transferred
                                                                                 deemed transferred

from the trial
from the trial court to the
               court to the MDL
                            MDL Pretrial
                                Pretrial Court
                                         Court pursuant
                                               pursuant to
                                                        to Rule
                                                           Rule of
                                                                of Judicial Administration
                                                                   Judicial Administration

13.5(e). The
13.5(e).     effect on
         The effect on aa trial
                          trial court
                                court of
                                      of filing this Notice
                                         filing this Notice of
                                                            of Transfer
                                                               Transfer is
                                                                        is further discussed in
                                                                           further discussed    Rule
                                                                                             in Rule

13.5(b).
13.5(b).

       As required
       As required by
                   by Rule
                      Rule 13.5(a),
                           13.5(a), attached
                                    attached at
                                             at Appendix
                                                Appendix A
                                                         A to
                                                           to this
                                                              this notice
                                                                   notice is
                                                                          is aa list of all
                                                                                list of all parties
                                                                                            parties

who have
who have appeared
         appeared and
                  and remain
                      remain in
                             in the
                                the case,
                                    case, and
                                          and the
                                              the names, addresses, phone
                                                  names, addresses, phone numbers,
                                                                          numbers, and
                                                                                   and bar
                                                                                       bar

numbers of
numbers of their
           their attorneys.
                 attorneys.

       Attached at
       Attached at Appendix
                   Appendix B
                            B to
                              to this
                                 this notice
                                      notice is
                                             is aa list
                                                   list of
                                                        of all
                                                           all parties
                                                               parties who
                                                                       who have
                                                                           have not
                                                                                not yet
                                                                                    yet appeared
                                                                                        appeared in
                                                                                                 in

the case.
the case.




                                                 33
Dated: December
Dated: December 7,
                7, 2018
                   2018   Respectfully submitted,
                          Respectfully  submitted,
                          /s/ Hannah
                          /s/ Hannah Sibiski
                                      Sibiski
                          Hannah Sibiski
                          Hannah   Sibiski
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                          State Bar No. 24041373
                                         24041373
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                          ARNOLD    & PORTER
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                          Tel: 713-576-2400
                          Fax: 713-576-2499
                          Fax:  713-576-2499

                          Counsel  for Defendants
                          Counsel for  Defendants Endo
                                                  Endo Health
                                                       Health Solutions
                                                              Solutions
                          Inc. and
                          Inc.     Endo Pharmaceuticals
                               and Endo Pharmaceuticals Inc.
                                                        Inc.




                          4
                          4
                                 CERTIFICATE OF
                                 CERTIFICATE OF SERVICE
                                                SERVICE

        II certify
           certify that
                   that aa true
                           true and
                                and correct
                                    correct copy
                                            copy of
                                                  of the
                                                     the foregoing
                                                         foregoing instrument
                                                                   instrument was
                                                                              was served
                                                                                  served via
                                                                                         via email
                                                                                             email on
                                                                                                   on
the following
the following counsel
                 counsel onon December
                              December 7,   2018:
                                         7, 2018:

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                                      6
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                                                            acarter@sgpblaw.com;
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       rmartin@martinwalkerlaw.com;    rwaii@armstrong-firm.com

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Texas
Texas Opioid  Litigation MDL
      Opioid Litigation  MDL cases
                               cases on
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                                                  Institution
               4001 Leopard
               4001         Drive
                    Leopard Drive
               Texarkana, Texas 75505
               Texarkana, Texas 75505

               Dr. Nicolas
               Dr. Nicolas Padron
                           Padron
                        44575-177
               Reg. No. 44575-177
               FPC Camp
               FPC  Camp Unit
                           Unit GB
                                GB
               P.O. Box
               P.O. Box 26010
                        26010
               Beaumont, Texas
               Beaumont,   Texas 77720
                                 77720

                                                     /s/ Hannah
                                                     /s/ Hannah Sibiski
                                                                 Sibiski
                                                     Hannah Sibiski
                                                     Hannah Sibiski




                                                12
                                                12
                      APPENDIX A
                      APPENDIX A

LIST OF
LIST OF PARTIES
        PARTIES WHO
                WHO HAVE APPEARED AND
                    HAVE APPEARED AND REMAIN
                                      REMAIN IN THE CASE
                                             IN THE CASE
                   Parties Who
                   Parties Who Have Appeared and
                               Have Appeared     Remain in
                                             and Remain in the
                                                           the Case
                                                               Case

County of
County of Galveston:
          Galveston:

 Counsel:
 Counsel:

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               Texas 77551
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                                               2905  Sackett Street
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                                                           222-8080
   Fax: (409)
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                770-5560                       Fax: (713)
                                               Fax:   (713) 222-0066
                                                            222-0066

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                                               Tommy     Fibich
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                                                        LEEBRON,  COPELAND &
                                                                           & BRIGGS
                                                                             BRIGGS
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                479-0502
Endo Health Solutions
Endo Health Solutions Inc. and Endo
                      Inc. and      Pharmaceuticals Inc.
                               Endo Pharmaceuticals Inc.

 Counsel:
 Counsel:

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                    77002
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        713-576-2400
   Fax: 713-576-2499
   Fax:  713-576-2499
                       APPENDIX B
                       APPENDIX B

LIST OF
LIST OF ALL
        ALL PARTIES WHO HAVE
            PARTIES WHO      NOT YET
                        HAVE NOT YET APPEARED
                                     APPEARED IN THE CASE
                                              IN THE CASE
                                   Parties Who
                                   Parties Who Have Not Yet
                                               Have Not Yet Appeared
                                                            Appeared

      AbbVie Inc.
      AbbVie   Inc.
      Abbott Laboratories
      Abbott  Laboratories
      Actavis LLC
      Actavis LLC
      Actavis Pharma, Inc.,
      Actavis Pharma,          f/k/a Watson
                        Inc., f/k/a   Watson Pharma,
                                              Pharma, Inc.Inc.
      Allergan Finance
      Allergan  Finance LLC,
                         LLC, f/k/a
                                 f/k/a Actavis,
                                       Actavis, Inc.,
                                                  Inc., f/k/a Watson Pharmaceuticals,
                                                        f/k/a Watson  Pharmaceuticals, Inc.
                                                                                       Inc.
      Allergan PLC,
      Allergan  PLC, f/k/a  Actavis PLC,
                      f/k/a Actavis    PLC,
      AmerisourceBergen Corporation
      AmerisourceBergen      Corporation
      AmerisourceBergen Drug
      AmerisourceBergen      Drug Corporation
                                     Corporation
      Cardinal Health,
      Cardinal  Health, Inc.
                        Inc.
      Insys Therapeutics, Inc.
      Insys Therapeutics,   Inc.
      Insys Manufacturing LLC
      Insys Manufacturing    LLC
      Janssen Pharmaceutica, Inc.
      Janssen Pharmaceutica,           n/k/a Janssen
                                  Inc. n/k/a           Pharmaceuticals, Inc.
                                             Janssen Pharmaceuticals,     Inc.
      Janssen Pharmaceuticals, Inc.
      Janssen Pharmaceuticals,      Inc.
      Johnson
      Johnson && Johnson
                  Johnson
      Knoll Pharmaceutical
      Knoll  Pharmaceutical Company
                               Company
                    PLC
      Mallinckrodt PLC
      McKesson Corporation
      McKesson    Corporation
      Ortho-McNeil-Janssen Pharmaceuticals,
      Ortho-McNeil-Janssen       Pharmaceuticals, Inc.     n/k/a Janssen
                                                     Inc. n/k/a          Pharmaceuticals, Inc.
                                                                 Janssen Pharmaceuticals, Inc.
      Purdue Pharma
      Purdue  Pharma Inc.
                       Inc.
      Purdue Pharma
      Purdue  Pharma LPLP
      Teva  Pharmaceutical Industries,
      Teva Pharmaceutical                  Ltd.33
                              Industries, Ltd.
      Tev Pharmaceuticals USA,
      Tev Pharmaceuticals    USA, Inc.Inc.
      The Purdue Frederick
      The Purdue   Frederick Company
                               Company
      Watson Laboratories,
      Watson                   Inc.
              Laboratories, Inc.




3
3
    Incorrectly named as
    Incorrectly named as "Teva
                         “Teva Pharmaceutical
                               Pharmaceutical Industries, LTD.”
                                              Industries, LTD."
            APPENDIX C
            APPENDIX C

ORDER GRANTING MOTIONS TO TRANSFER
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued June 18, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


                                                                      224th District Court of
   The panel hereby appoints Judge David Peeples, senior judge of the 224th

Bexar County, previously approved by the Chief Justice pursuant to Administrative Rule 13.6, as

pretrial judge in the captioned proceeding and transfers all pending cases, together with any

                   him.
tagalong cases, to him
          APPENDIX D
          APPENDIX D

ORDER APPOINTING JUDGE PEEPLES
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued June 18, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


                                                                      224th District Court of
   The panel hereby appoints Judge David Peeples, senior judge of the 224th

Bexar County, previously approved by the Chief Justice pursuant to Administrative Rule 13.6, as

pretrial judge in the captioned proceeding and transfers all pending cases, together with any

                   him.
tagalong cases, to him
        APPENDIX E
        APPENDIX E

ORDER OF VOLUNTARY RECUSAL
                                    No. 2018-CI-12812
                                             *              IN THE DISTRICT COURT
                                             *
                                             *
 IN RE TEXAS OPIOID                          *              225TH JUDICIAL DISTRICT
      LITIGATION                             *
                                             *
                                             *                BEXAR COUNTY, TEXAS



                          ORDER OF VOUNTARY RECUSAL



       On August 3, while reading and preparing for the initial hearing in the captioned

litigation, the court noticed that one of the opioid drugs at issue had been used by the

court's wife in 2016. The court confirmed this recollection by discussing it with his wife

and by locating the bottle of remaining pills that were prescribed for her in May 2016.

       On the following day the court notified liaison counsel of this discovery and

summarized for them the circumstances of his wife's use of the opioid pills. The court

expressed concern that he was an eye witness to events involving the prescribing and use

of an opioid similar to some of the contested issues in the captioned litigation. The court

further stated that recusal might be required by Rule 18b (b), which says: "A judge must

recuse in any proceeding in which: . . . (3) the judge has personal knowledge of disputed

evidentiary facts concerning the proceeding."

      The court and liaison counsel agreed that the parties should be given the oppor-

tunity to waive this possible ground for recusal pursuant to Rule 18b (e) ("parties to a
proceeding may waive any ground for recusal after it is fully disclosed
                                                              disclosed on the record"),

but not all parties have agreed to waive the issue.

       The court has concluded that the prudent course of action is to recuse voluntarily.

The court therefore issues this order of voluntary recusal from the captioned litigation

and from MDL Cause No. 18-0358, In Re Texas Opioid Litigation. The
                                                               The MDL Panel Chair

has been notified of this recusal, and another judge will be assigned.

SIGNED: August 25, 2018



                                                       JUDGE DAVID PEEPLES




                                            2
           EXHIBIT F
           EXHIBIT F

ORDER APPOINTING JUDGE SCHAFFER
                ORDER OF MULITDISTRICT LITIGATION PANEL

                                   Order Issued September 5, 2018


       APPOINTMENT OF PRETRIAL JUDGE IN THE FOLLOWING MULTIDISTRICT
                            LITIGATION CASE:


18-0358        IN RE TEXAS OPIOID LITIGATION


   The Manufacturer Defendants Purdue Pharma L.P., et al. and the Distributor Defendants

McKesson Corporation, et al.'s
                         al.’s Motions to Transfer were granted on June 13, 2018. Pursuant to

Rule 13 of the Texas Rules of Judicial Administration, the cases listed in the Appendices of the

Motions for Transfer and all tag-along cases are transferred to Judge Robert Schaffer of the 152nd
                                                                                                nd



District Court of Harris County.
